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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                     09/02/2022
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                                                                       :            20-cv-08585 (LJL)
IN RE TURQUOISE HILL RESOURCES LTD.                                    :
SECURITIES LITIGATION                                                  :      OPINION AND ORDER
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---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiffs the Pentwater Funds bring a putative class action for violations of Sections

10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) and Securities and

Exchange Commission Rule 10b–5 against Turquoise Hill Resources Ltd. (“Turquoise Hill”),

Rio Tinto plc and Rio Tinto Limited (together, “Rio Tinto” or “Rio”), Rio Tinto International

Holdings Limited (“RTIH”), Jean-Sébastien Jacques (“Jacques”), Arnaud Soirat (“Soirat”), Ulf

Quellmann (“Quellmann”), Luke Colton (“Colton”), and Brendan Lane (“Lane”) (collectively,

“Defendants”).

        Defendants move to dismiss the Second Amended Consolidated Complaint (“SAC” or

the “Complaint”). Dkt. Nos. 129, 132.

                                               BACKGROUND

        The Court accepts as true for purposes of this motion the well-pled allegations of the

SAC as supplemented by the documents incorporated by reference.

I.      The Relevant Parties

        Turquoise Hill is a mineral-exploration and development company headquartered in

Montreal, Quebec, Canada, and a majority-owned subsidiary of Rio Tinto. Its sole business is
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the operation and development of the Oyu Tolgoi copper-gold mine in southern Mongolia, the

company’s only material mineral-resource property. Dkt. No. 127 ¶¶ 38, 58. Its common stock

trades on the New York Stock Exchange and the Toronto Stock Exchange (and previously also

traded on the Nasdaq) under the ticker symbol “TRQ.” Id. ¶ 41.

       Quellmann was the Chief Executive Officer (“CEO”) of Turquoise Hill from August 1,

2018 until his resignation on March 3, 2021. Before becoming CEO of Turquoise Hill,

Quellmann was Vice President of Strategic Projects, Copper and Diamonds at Rio Tinto from

March 2018 to July 2018, and Chief Financial Officer (“CFO”), Coppers and Diamonds at Rio

Tinto from August 2016 to February 2018. Id. ¶ 42. Colton has been the CFO of Turquoise Hill

since October 9, 2017 and briefly served as Turquoise Hill’s interim CEO after former CEO Jeff

Tygesen resigned on May 29, 2018 and before Quellmann assumed that role in August 2018. Id.

¶ 43. Lane served as Vice President, Operations and Development of Turquoise Hill from

February 2016 until his resignation in March 2019. He was Finance Director of Rio Tinto

Copper’s Minera Escondida Limitada and Grasberg operation from 2013 to January 2016 and

was a Rio Tinto employee while seconded to Turquoise Hill during the alleged class period—

here, from July 17, 2018 to July 31, 2019 (“Class Period”). Id. ¶ 44. Quellmann, Colton, and

Lane are referred to as the “Turquoise Executive Defendants.” Id. ¶ 45.

       Rio Tinto, which consists of Rio Tinto plc (a United Kingdom company) and Rio Tinto

Limited (an Australian company), is one of the world’s largest metals and mining companies. Id.

¶ 46. RTIH is a wholly owned subsidiary of Rio Tinto and holds a majority interest in the

common stock of Turquoise Hill. Id. ¶ 47. It also is the manager of Oyu Tolgoi and manager of

a substantial portion of Turquoise Hill’s receivables and liquid asset deposits. Id.




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       Jacques was the CEO of Rio Tinto from July 2016 until December 2020. Id. ¶ 49. He

became deputy CEO in March 2016 and CEO in July 2016, largely as a result of his work in

negotiating with the Mongolian government to restart underground development at Oyu Tolgoi.

Id. Soirat served as the chief executive of Rio Tinto’s Copper and Diamonds product group from

2016 to December 2020. Id. ¶ 50. Jacques and Soirat are sometimes referred to as the “Rio

Executive Defendants” and together with the Turquoise Executive Defendants are referred to as

the “Executive Defendants.”

II.    The Oyu Tolgoi Mine

       The Oyu Tolgoi (the “Mine” or “OT”) underground mine in southern Mongolia is

expected to be one of the largest copper mines in the world. Id. ¶¶ 3, 57. The Mine is jointly

owned by Turquoise Hill and the Government of Mongolia. Id. ¶ 3. OT is comprised of an

open-pit copper mine and an underground mine. Id. ¶ 5. The open-pit copper mine has been in

operation since 2013. Id. Drilling of the underground mine began in 2010 but was suspended in

2013 due to ongoing disputes between Rio Tinto and the Government of Mongolia as well as

insufficient project financing. Id. By far the largest amount of copper ore at the site, and 80% of

the mine’s reserve value, is located in the underground mine. Id.

       OT is owned by Oyu Tolgoi LLC, a company 66% of whose equity is owned by

Turquoise Hill, while the remainder is held by the Government of Mongolia. Id. ¶¶ 52, 61. In

turn, Rio Tinto owns just over 50% of Turquoise Hill’s common stock; manages the OT project

under agreements between OT, Rio Tinto, and the Government of Mongolia; and, through RTIH,

exercises near-total control over both the project and Turquoise Hill. Id. ¶ 52. During the Class

Period, Quellmann, Lane, Colton and Soirat served on the Board of Directors of OT. Id. ¶ 54.

       Rio Tinto has contractual rights with respect to Turquoise Hill’s public statements about

OT. In an April 2012 memorandum of agreement, Ivanhoe Mines (the predecessor for Turquoise


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Hill) entered into an agreement with Rio Tinto related to public disclosures about OT. It

provided:

       From the date of this Agreement that any and all public disclosure regarding the
       OT project (“OT Disclosure”) must be consistent with the information provided by
       the Rio Tinto Manager (unless Ivanhoe determines that other OT Disclosure must
       be made to comply with Ivanhoe’s disclosure obligations under applicable
       Securities Laws) and Ivanhoe covenants and agrees that it will not file or issue any
       OT Disclosure without providing the Rio Tinto Manager with a reasonable
       opportunity to review and comment thereon.

Dkt. No. 127 ¶ 53; Turquoise Hill Resources LTD, General Statement of Acquisition of

Beneficial Ownership - Amendment (Form SC 13D/A) (Apr. 20, 2012).1

       Turquoise Hill’s predecessor, Ivanhoe Mines, began initial work on the Mine as early as

2001, when it completed the first of five planned deep, large-diameter, concrete-lined shafts—

Shaft 1, a 1,385-meter-deep shaft to be used for preliminary exploratory and access work and

services on the underground-mine project. Dkt. No. 127 ¶¶ 61–62.

       In 2007, Ivanhoe Mines commenced work on a much larger shaft—Shaft 2—as part of

the development of the underground mine. Work on Shaft 2 was conducted in 2007 and again in

2010 to 2013, when the sinking reached a depth of 1,167 meters. Id. ¶ 62. In August 2013, the

underground work and funding for the project’s underground-expansion phase came to a

standstill amid a dispute between OT and the Mongolian government over financing and tax

payments. Id. ¶ 63.

       In 2015, Turquoise Hill, Rio Tinto, and the Government of Mongolia signed the 2015

Oyu Tolgoi mine-development and financing plan to begin Phase 2 of the underground

expansion. Id. ¶¶ 6, 64. The deal included a $4.4 billion financing plan for the project that



1
  The Complaint quotes a portion of this agreement. The full agreement is incorporated by
reference, and, in addition, the Court takes judicial notice of its contents from the SEC filing.
See In re Nine W. LBO Sec. Litig., 482 F. Supp. 3d 187, 203 (S.D.N.Y. 2020).

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Jacques personally negotiated with the then Prime Minister of Mongolia. Id. ¶ 64. In May 2016,

the Government of Mongolia gave OT formal notice to restart second-phase underground

construction, and Rio Tinto, Turquoise Hill, and the Government of Mongolia publicly

announced the approval of the development of the Mine. Id. ¶ 65. Defendants publicly reported

that the total development cost for the Mine would be $5.3 billion and that the first production

ramp-up would begin in the first quarter of 2021. Id. ¶¶ 7, 65, 80 n.6. Defendants refer to that

milestone as achieving “sustainable first production,” an event that occurs after the “first

drawbell” blasting. Id. ¶ 7.

        In June 2016, Rio selected Jacobs Engineering Group Inc. (“Jacobs”) as the principal

contractor for the underground expansion at Oyu Tolgoi. Id. ¶ 80.

III.    Development of OT

        The planned development of OT involved a mining method called “panel caving.” Id.

¶¶ 66–67. “Panel caving” involves a process by which mineral ore is undercut, drilled, and

blasted in order to break off the ore; the ore then is removed and conveyed to tunnels or shafts

that allow the ore to be brought to the surface. Id. ¶¶ 67–70. For panel caving to work, the

construction of appropriate mine shafts is critical, as it allows for people, equipment, supplies,

and mined ore to be moved between the surface and the underground mining area. Id. ¶¶ 71, 75.

        By the beginning of the Class Period, the Mine’s success depended on the construction

and completion of primary crusher 1 and two key mine shafts and associated infrastructure,

specifically, the Shaft 1 crusher and systems and Shaft 2. Id. ¶ 72. Shaft 2 was intended to be

the main logistics hub for OT for both personnel and equipment needed to build the remainder of

the underground Mine and, once finished, would increase mining expansion and productivity by

at least a factor of five. Id. ¶¶ 74, 77. The timely development of Shaft 2 was also critical to the




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Mine’s profitability as it would allow investors to capitalize on the Mine’s copper production just

as copper prices were expected to rise. Id. ¶ 77.

       However, as soon as the work on the underground project resumed in 2016, the project

was plagued by delays and cost overruns as a result of engineering, procurement, and

construction issues. Id. ¶ 8. The most significant of these issues concerned Shaft 2. Id. In

particular, during the shutdown of the project, inspections of the Mine revealed potentially

catastrophic issues with the work that had been done by a contractor on the steel headframes for

Shaft 2. Id. ¶ 81. Due to the severity of these issues, construction on Shaft 2 was delayed for

eight months and required over $30 million in additional costs (which alone accounted for 10%

of the Shaft 2 projected budget). Id. ¶¶ 82–83. According to a former employee, daily, weekly,

and monthly progress reports on work related to fixing the headframe problem were provided to

senior Oyu Tolgoi executive managers, including one individual who reported to Armando

Torres—Oyu Tolgoi’s CEO since May 2017; Torres in turn reported to and served on the OT

Board of Directors with certain of the Executive Defendants. Id. ¶ 84.

       Further delays to Shaft 2 resulted from engineering problems and faulty construction. Id.

¶¶ 88, 93. In particular, the steel supplied for Shaft 2 was consistently subpar and had structural

defects, which required 95% of the steel in Shaft 2 to be “worked on” before being installed. Id.

¶ 85. According to independent reports prepared for the Oyu Tolgoi Board Special Committee in

2021 (“ICG Report”), steelwork issues contributed significantly to cost overruns at OT. Id.

       Because of the extensiveness of the safety and design issues with Shaft 2, a former

employee reported that it became clear as of the summer of 2017 that the underground

development project was three to nine months behind schedule. Id. ¶¶ 104–105. And these

delays and costs only grew: from the end of 2017 to June 2019, OT’s monthly progress reports




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were consistently short around 100–200 meters per month. Id. ¶¶ 104–106. One employee

noted that by May of 2018, Shaft 2 was fourteen months behind its scheduled commissioning

deadline. Id. ¶ 98.

       According to a number of former Rio Tinto employees and Oyu Tolgoi managers, senior

leadership at Oyu Tolgoi, Rio Tinto, and Turquoise Hill were acutely aware of the schedule and

cost overruns resulting from these faulty construction and steel-quality problems. Id. ¶¶ 94, 103.

For example, Grant Brinkmann, Rio Tinto’s Senior Area Manager of Shafts at OT from June

2015 to May 2018 and the person with direct responsibility for Shaft 2, reported that Rio Tinto

senior management was fully aware of the delays and cost overruns, including due to the

problems with the Shaft 2 headframe. Id. ¶ 94. And another former employee noted that as of

October 2018, the former employee was directed to send weekly progress reports to Defendant

Jacques, which Jacques demanded as he was concerned about the extent of the delays. Id. ¶ 105.

IV.    Individuals Raise Concerns about OT

       Around 2017, two senior Rio Tinto executive hired an experienced mining executive,

Richard Bowley, to investigate the problems at OT. Id. ¶ 111. The executives were Defendant

Soirat and Craig Kinnell, who was the Chief Development Officer of Rio Tinto’s Copper and

Diamonds division in charge of the Oyu Tolgoi project from December 2014 to July 2018. Id.

Bowley was told by Kinnell that he was being hired to tell them the truth about how bad the

situation was. Id. ¶ 112. Bowley had previously worked at OT from 2011 through 2015 as an

employee of AMEC Foster Wheeler, which was at the time engaged to develop the underground

study, value, and detailed engineering for Phase 2 of the OT underground project.

       Bowley had identified one of the key problems with OT to be Jacobs, the primary

contractor for engineering, procurement, and construction at the Mine. Id. ¶¶ 79–80, 112–113,

115. In a July 3, 2017 exchange, Bowley reported to Kinnell that, as a result of his discussions


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with senior managers on the ground at OT, “two out of three of your senior guys on the project

have told me Jacobs are failing badly,” warning that “[w]e both know that mess will lead straight

to OTs door in the shape of schedule overruns and cost.” Id. ¶¶ 14, 115. Kinnell immediately

responded, agreeing that “it is all getting messy Richard and needs intervention to stop it from

getting significantly worse.” Id.

       Kinnell asked Bowley to write a paper discussing the issues at OT and how Bowley

would address them. Id. ¶ 116. In November 2017, Bowley met with Defendant Soirat for an

hour-long interview, during which he discussed his paper. Following the meeting, Bowley was

hired by Rio as General Manager for Strategic Projects and Chief Advisor for the OT project.2

Id.

       Shortly after he was hired, Bowley confirmed concerns that the underground project

could not be completed for the original budget of $5.3 billion nor achieve sustainable first

production in the first quarter of 2021. Id. ¶ 117. Upon speaking with people on the ground,

Bowley realized that the engineering, construction, and procurement on the project “could hardly

be worse” and that such poor engineering, construction, and procurement would result in delays

and cost overruns. Id. ¶ 120. Throughout the first half of 2018, Bowley reported the “potential

disaster” at OT to various senior executives at Rio, including Defendant Soirat. Id. ¶¶ 141–152.

On February 1, 2018, Bowley made a presentation at Rio’s London headquarters to Kinnell and

Rosemary Fagen and reviewed the cost overruns, schedule delays, and Shaft 2 problems. Id.

¶ 141. Fagen was the Vice President for Human Resources for Rio Tinto’s Copper and

Diamonds group since July 2016 and for Rio Tinto Copper since September 2014, reported




2
 Based on the allegations in the Complaint, it is unclear exactly when Bowley was hired. Dkt.
No. 127 ¶ 116.


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directly to Soirat, participated in the meeting on behalf of Soirat, and, according to Bowley,

reported the substance of the meeting to Soirat. Id.

       After the February meeting, Bowley followed up with Soirat and Fagen about the need

for immediate action to address the cost overruns and delays, and both of them were aware of the

problems at OT. Id. ¶ 143. Bowley spoke with Soirat for an hour in May 2018 about the

problems facing the expansion. Id. ¶ 144. And, on July 19, 2018, Bowley wrote to Fagen

stating: “12 months behind schedule. $300mill capital over budget. Expect this to rapidly

escalate.” Id. ¶¶ 141–142, 151.

       Due to his reports, Bowley was marginalized within Rio Tinto by Soirat, and Bowley’s

role was reduced, although he continued to report on the cost overruns and delays to Soirat and

Fagen, urging them to correct their misstatements to the public. Id. ¶¶ 208–214. In May 2018,

Soirat instructed Bowley to stop looking into delays and cost overruns at OT. Id. ¶ 281.

According to Bowley, during their one-on-one meeting in May 2018, Soirat “seemed to be

saying that he knew that there was a big problem with the project but he did not want anyone

else to know this.” Id. ¶ 282. In January 2019, Rio Tinto told Bowley that he was being

terminated without reason. Id. ¶ 221.

       In around 2016, Dr. Maurice Duffy, the head of GFI Blackswan (“Blackswan”), which

had served as an executive coaching consultant for Rio Tinto since 2007, started to report

concerns about unethical behavior and “potential overstatements” at OT. Id. ¶ 132–133.

Blackswan began performing executive coaching sessions in Mongolia in around 2005. Id.

¶ 133. In connection with that work, Duffy said that he began to hear reports and concerns from

senior leaders in Mongolia about unethical behavior and “potential overstatements” at OT in

around 2016. Id. Duffy provided regular reports about this feedback to the head of Rio’s human




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resources department, who then delivered the reports to the CEO, Executive Committee, and the

Board chairman of Rio Tinto. Id. Duffy stated that he knew that Rio’s Executive Committee—

which at the time included Soirat and Jacques—was briefed on these reports because the

Executive Committee provided feedback on them to Blackswan. Id.

       In mid-2017, Duffy was instructed to stop providing these reports, although he did not

stop until September 2017 when he was again instructed to stop providing them. Id. ¶ 134. This

instruction concerned Duffy who felt compelled, as a result, to bring his concerns about cost

overruns and schedule delays at OT to the attention of Rio Tinto’s senior leadership in London in

September 2017. Id. ¶ 135. He did so specifically by raising them with the Head of Human

Resources at Rio Tinto in a meeting on September 6, 2017. Id. During this meeting, Duffy

provided the Head of Human Resources with a document containing comments from coaching

assessments in 2016 and 2017, which included comments from senior leaders involved with OT

stating, among other things: “Soirat knows what’s going on and worry [sic] about renegotiation

by Mongolia Government,” “Delays and cost over-runs are understated in Mongolia,” and “I

have escalated issues of concern regarding scheduling at OT—no one wants to hear.” Id. ¶ 135.

The reports also stated that comments from senior leadership at OT made clear that Jacques

knew about these problems and was driving the effort to conceal the reality at OT. Id. ¶ 136.

The Head of Human Resources told Duffy to drop and disregard these concerns and that Jacques

would not appreciate hearing these concerns and he would regret reporting them to him. Id.

¶ 137. Duffy resigned and terminated his firm’s contract with Rio in December 2017 due to

concerns about unethical behavior in Mongolia, which he communicated to Rio’s senior

leadership. Id. ¶ 138. According to Duffy, Jacques “knew without a doubt” about the problems




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at OT by 2017, and it was clear Jacques knew the “wheels were coming off” the project at OT in

January 2018 when he traveled to Mongolia. Id. ¶ 140.

V.     Re-Forecast

       After May 2018, Rio Tinto and OT began to “manipulate the schedule” to hide the delays

by transferring costs and projects related to the major infrastructure of Shaft 2 to secondary

phases. Id. ¶ 169. The tasks that were de-scoped were critical infrastructure and had to be

completed before Shaft 2 could become active. Id. ¶ 170.

       Plaintiffs further allege that the Defendants attempted to conceal the cost overruns and

delays plaguing the project through a re-forecast in October 2018. Id. ¶ 173. On October 15,

2018, Turquoise Hill announced an underground development “update” and “re-forecast,”

disclosing a two-quarter delay to sustainable first production, which would push the scheduled

date from the end of the first quarter of 2021 to the end of the third quarter. Id. ¶ 174. Rio Tinto

made a similar disclosure the following day. Id. ¶ 175. Both companies reiterated that capital

costs remained in line with the $5.3 billion budget, and Rio Tinto reiterated that construction of

the first draw bell is still expected in mid-2020. Id. ¶¶ 174–175. Plaintiffs allege that this re-

forecast minimized the true extent of delays and denied the cost overruns, which were internally

understood to be between twelve and eighteen months and hundreds of millions of dollars. Id. ¶

176. Moreover, Defendants attributed delays to “ground conditions,” which was untrue as the

true cause of delays was related to construction, engineering, and procurement failures primarily

related to Shaft 2. Id. ¶ 176.

       Bowley stated that Rio Tinto knew that the disclosure was misleading because Bowley

had previously told Soirat that the project was twelve to fifteen months behind schedule and at

least a half a billion dollars over budget. Id. ¶ 180. Other former employees confirmed that it

was widely known and discussed internally that these public statements were false. Id. ¶ 182.


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The ICG Report, which was later published, confirmed that such reporting was misleading and

that it was “inconceivable that Senior Management both on the Project site and in the higher-

level committees were not aware of these shortcomings.” Id. ¶¶ 184–185.

       Bowley repeatedly expressed his concerns about the re-forecast to senior management.

Id. ¶¶ 214–217. For example, On October 30, 2018, Bowley wrote the following email to Fagen

about the re-forecast:




Id. ¶ 214. On December 10, 2018, Bowley again wrote to Fagen warning of the severe

implications for the business and reminding her of the delays, stating that they could only be

ignored for so long “before it will slap us in the face properly along with GOM and other TRQ

shareholders . . . sorry to be honest.” Id. ¶ 218. Fagen responded: “Hi Richard I hear you !!!! I

will have a discussion with Arshad [Sayed] and Arnaud [Soirat] – again!” Id. ¶ 219. As

mentioned, Bowley was terminated in January 2019. Id. ¶ 222.

VI.    Whistleblower

       The day after Bowley was terminated in January 2019, Bowley wrote a critical letter to

Arshad Sayed, Rio’s Copper and Diamonds Chief Development Officer, and Fagen stating that

Rio Tinto’s compliance was deficient. Id. Within three days of sending the letter, Bowley




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received a phone call from a Rio Tinto compliance manager who said he was coming to

Mongolia to investigate. Id. Bowley described the investigation as effectively a cover up; the

compliance manager completed his investigation in six days and concluded that there were no

compliance breaches. Id. ¶ 223–224.

       After the investigation was closed, Bowley sent a letter about his concerns to Ann

Godbehere, a member of Rio Tinto’s Board of Directors, on March 27, 2019. Id. ¶ 227. On

April 2, 2019, Bowley emailed Jacques and Godbehere, telling Jacques how behind schedule the

project was. Id. ¶ 228. Rio Tinto then engaged the law firm Baker McKenzie to do a

compliance review. Id. ¶ 229. Plaintiffs allege that rather than complete a proper investigation,

Rio Tinto’s lawyers at Baker McKenzie pursued Duffy throughout the Class Period seeking to

destroy the data his firm had collected from Rio executives. Id. ¶ 288.

       On May 21, 2019, the Australian Financial Review reported that Rio Tinto had retained a

law firm to investigate allegations by an unnamed whistleblower about when Rio knew about

problems with the underground-mine project. Id. ¶ 237. On July 8, 2019, the Australian

Financial Review published a report suggesting that the problems at OT that Rio had blamed on

newly available “geotechnical data” may have been known by Rio for a year. Id. ¶ 240. On July

10, 2019, Turquoise Hill disclosed that a Turquoise Hill director had abruptly resigned from the

Board. Id. ¶ 241.

       Five days later, Rio Tinto and Turquoise Hill publicly disclosed a substantial delay for

first production of sixteen to thirty months compared to the original feasibility study guidance in

2016 and disclosed that the capital spend for the project would increase by $1.2 billion to $1.9

billion over the $5.3 billion previously disclosed. Id. ¶ 242. In response to this news, Turquoise




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Hill’s common stock price decreased by approximately 43.9% from the prior day’s closing price.

Id. ¶ 244.

VII.     Defendants’ Alleged Misstatements

         Plaintiffs allege that Defendants made repeated misstatements concerning the schedule

and budget for Oyu Tolgoi during the Class Period, including that it was progressing on schedule

and that costs for the project were on budget. Id. ¶ 305. These statements are included below

and are detailed in the SAC in paragraphs 306 to 424.

         On July 16, 2018, Turquoise Hill issued a press release announcing its second quarter

2018 production and the completion of Shaft 5. The press release stated that Oyu Tolgoi had

“achieved an important underground development milestone with the completed commissioning

of Shaft 5” and that “[t]here is expected to be a step-up in underground activities with the

increased ventilation capacity from Shaft 5. The Company continues to expect the first drawbell

in mid-2020 and sustainable first production in 2021.” Id. ¶ 306. On July 17, 2018, Rio Tinto

issued a similar press release, stating that the “major growth projects remain on track with . . .

construction of the first drawbell at Oyu Tolgoi Underground anticipated in mid-2020.” Id.

¶ 307.

         On July 31, 2018, Turquoise Hill issued a press release and a Management Discussion

and Analysis (“MD&A”) announcing its financial and operating results for the second quarter of

fiscal year 2018. It reported a “record-level of equivalent underground development” for the

month of June. Id. ¶ 313. The press release stated that Rio Tinto had undertaken a schedule and

cost review and had provided Turquoise Hill with a “high-level overview of the review’s

outcomes.” The review concluded “that there were no material changes in project scope, cost or

schedule. Following analysis of the review’s conclusions, Turquoise Hill is in agreement with

the findings.” Id.


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       In a conference call with investors the following day, August 1, 2018, Lane, Colton and

Quellmann each independently stated and confirmed that Oyu Tolgoi was “on target” for “first

drawbell in mid-2020 and sustainable first production in 2021.” Id. ¶ 315. With respect to

funding, Colton stated that Turquoise Hill had at its “disposal” “about $2.6 billion left of project

financing [and] about $1.5 billion in TRQ cash” which it would “use . . . to continue to fund the

underground” and that there was an “additional $1.6 billion in supplemental debt” that Turquoise

Hill would be able to raise before it hit its debt cap. Id. ¶ 321.

       On August 1, 2018, Rio Tinto filed a Form 6-K, which included a report on the OT,

stating “construction of first drawbell expected in 2020” and “[a]ll material assumptions

underpinning that target continue to apply and have not materially changed.” Id. ¶ 323. That

same day, Rio Tinto held an investor conference call and a presentation for the call noted that the

Oyu Tolgoi underground development remained “on track” (in two places) and on budget with

“$5.3 billion Oyu Tolgoi underground first drawbell production in 2020.” Id. ¶ 324.

       On August 15, 2018, Soirat appeared on a Mongolian news network, MBN World, and

stated that he had recently visited Oyu Tolgoi and met with Mine employees, that Oyu Tolgoi

was “37% complete,” and that the underground project was “on plan and on budget.” Id. ¶ 328.

       On September 26, 2018, Jacques gave a presentation on behalf of Rio Tinto at the

Bernstein Pan European Strategic Decisions Conference in London. Id. ¶ 329. The presentation

stated that the “$5.3 billion Oyu Tolgoi underground first drawbell production” would take place

in 2020. Id. On October 2, 2018, Soirat gave a presentation at a roadshow held in the United

States, stating: “Underground project on budget and schedule”; “$5.3 billon capex projected”;

“First drawbell production expected mid-2020”; and “UG [underground] project on time to

deliver mid-2020.” Id. ¶¶ 331–332.




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       On October 15, 2018, Turquoise Hill issued a press release announcing its third quarter

2018 production results. Id. ¶ 334. Turquoise Hill disclosed that there would be a two- or three-

quarter delay in achieving sustainable production, which it attributed to unspecified delays

(which it called “schedule contingency”) and “challenging ground conditions” affecting the

completion of Shaft 2. At the same time, it stated that “[a]ccording to this re-forecast, lateral

development has progressed well, construction completion schedule remains on track for 2022

and the project is expected to be completed at the $5.3 billion budget estimate disclosed in the

2016 Oyu Tolgoi Feasibility Study and the 2016 Oyu Tolgoi Technical Report.” Id. at ¶¶ 334–

336. A table that accompanied the release reported that Turquoise Hill had achieved 2.3

kilometers in lateral development during the quarter. Id. ¶ 337.

       Rio Tinto echoed these comments in an October 16, 2018 press release. Id. ¶ 338. Rio

Tinto stated:

       Following an annual re-forecast of the Oyu Tolgoi underground development
       schedule and costs, capital costs remain in line with the overall $5.3 billion budget
       and construction of the first draw bell is still expected in mid-2020. The
       preliminary re-forecast assessment indicates ground conditions and shaft sinking
       challenges that are ultimately expected to result in a revised ramp-up schedule to
       sustainable first production.

Id. ¶ 338.

       On November 1, 2018, Turquoise Hill issued a press release announcing its financial

results for the third quarter of fiscal year 2018. Id. ¶ 344. In its press release, it reported on Rio

Tinto’s second annual re-forecast of the underground-development schedule and costs, stating

that “construction completion schedule remains on track for 2022 and the project is expected to

be completed at the $5.3 billion budget estimate.” Id. ¶ 345. It continued: “[S]ustainable first

production . . . is now expected to occur by the end of Q3’21 instead of Q1’21 [as] a result of

certain delays including, but not limited to, the completion of Shaft 2, which includes over four



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months of schedule contingency and challenging ground conditions.” Id. Finally, Turquoise Hill

stated, “[f]irst draw bell remains on track for mid-2020.” Id.

       During an investor call on November 2, 2018 regarding Turquoise Hill’s third quarter

financial results, Quellmann reassured investors that the delay “was not atypical in the mining

industry.” Id. ¶ 348. In response to questions about why the budget had not increased,

Quellmann also stated that “[f]or now, where we are with the information that we’ve provided,

we confirm the $5.3 billion total budget.” Id. ¶ 350. Defendant Lane reassured investors on the

call that “ground condition problems” were a cause of the delay. Id. ¶¶ 355–357.

       In a corresponding investor presentation on Turquoise Hill’s third quarter financial

results dated November 2, 2018, the company made further reassuring statements about the

status of underground development. Among other things, the presentation represented that the

“UG development project budget [was] unchanged,” that “key risks” were “well understood and

managed,” and that “Turquoise is Well Positioned to Address Key Challenges,” including having

sufficient funding to develop the mine. Id. ¶ 362.

       Following the October 2018 re-forecast, Defendants continued to provide investors with

assurances that OT was on budget and on schedule as that schedule had been modified. Id.

¶¶ 365–367.

       On November 12, 2018, at the UBS Australasia Conference in Sydney, Australia, Jacques

presented slides that described OT as “the largest and highest quality copper development” in the

world, with “$5.3 billion Oyu Tolgoi underground first drawbell production in 2020.” Id. ¶ 365.

       On January 17, 2019, Turquoise Hill gave an investor presentation at the TD Securities

Mining Conference. The slide deck accompanying the presentation, which noted that it included

information from Rio Tinto, stated that Turquoise Hill was “Well Positioned to Address Key




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Challenges,” that OT’s “UG development project [was] unchanged,” that the “Key risks” to the

project were “well understood and managed,” and that development was proceeding in

accordance with the revised schedule. Id. ¶ 366.

       On January 18, 2019, Rio Tinto issued a press release disclosing its third quarter

production results, which stated that: “Overall progress continues to track in-line with the re-

forecast undertaken in the third quarter of 2018.” Id. ¶ 367.

       Beginning on February 27, 2019, Plaintiffs allege that the Defendants began to disclose

the truth about the delays at OT, although they continued to mislead investors about the overall

project budget and the reason for the delays. Id. ¶ 369.

       On February 27, 2019, Turquoise Hill issued a press release stating that sustainable first

production was likely to be delayed beyond Q3’21 blaming “ground conditions.” Id. ¶ 230. The

company stated that it had conducted its own review of Rio Tinto’s schedule and cost reforecast

and “found that project cost was expected to remain within the $5.3 billion budget but that there

was an increasingly likely risk of a further delay to sustainable first production beyond Q3’21.”

Id. ¶ 230. The company stated that the delay was attributable to “certain delays to the

completion of Shaft 2, which contained to experience challenges during Q4’18 with structural,

mechanical, piping and electrical installation productivity below expectations,” as well as

“challenging ground conditions” and new “more detailed geotechnical data than what was

previously available.” Id. Turquoise Hill stated that the new geotechnical information could

require some “potentially significant changes to the design of some future elements of the

development, and the development schedule,” which together could result in an “overall

schedule delay to sustainable first production beyond the end of Q3’21.” Id.




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       That same day, Rio Tinto issued its year-end results and conducted a conference call. In

its announcement of year-end results, Rio Tinto stated that while “underground lateral

development has proceeding well,” the fit out of Shaft 2 would be “delayed by several months”

and that “difficult ground conditions encountered had slowed progress in some areas of

underground development.” Id. ¶ 231. On the conference call, Jacques responded to an analyst

question regarding “what exactly . . . you [are] experiencing,” by stating, among other things,

“[t]his is, absolutely, a normal process.” Id. ¶ 232.

       That same day, Rio Tinto issued a written presentation, which represented that the OT

underground project “Progressed well in 2018,” as well as its 2018 Annual Report. Id. ¶ 372.

The 2018 Annual Report made the same statements about the Oyu Tolgoi project (with

immaterial variations) as the year-end results, stating that the “[t]otal approved capital cost” of

the Oyu Tolgoi project was $5.3 billion and that “[b]y 2027, we expect our Oyu Tolgoi mine in

Mongolia to become one of the world’s top producers of copper.” Id. The 2018 Annual Report

also included a letter by Jacques that stated: “[t]he detailed engineering design work and overall

construction is mostly on track.” Id.

       Following the February 27, 2019 disclosures, TRQ shares dropped nearly 13% from

$2.10 per share on February 26, 2019 to close at $1.83 per share on February 27, 2019, on

trading volume of more than 18 million shares. The next day, TRQ shares dropped again by

nearly 7% from $1.83 per share to $1.71 per share on trading volume of almost 9 million shares.

Id. ¶ 233.

       Following the February disclosure, Defendants continued to misrepresent the true extent

of cost overruns at OT and their causes. Id. ¶ 381. For example, on March 14, 2019, Turquoise

Hill issued a press release stating that the OT project was expected to remain within the $5.3




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billion budget, but it added that there may be additional delays to sustainable first production.

Id. ¶¶ 235, 381.

       On or around July 16, 2019, Rio Tinto and Turquoise Hill announced a delay for

sustainable production of sixteen to thirty months compared to the original feasibility study

guidance in 2016, resulting in sustainable first production now being expected between May

2022 and June 2023, and announced that the capital spend for the project would be $1.2 to $1.9

billion more than the $5.3 billion previously disclosed. Id. ¶¶ 242, 403.

   In a press release issued by Rio Tinto that day, McIntosh stated:

       We have made significant progress on a number of key elements in the construction
       of the underground project during 2019. However, the ground conditions are more
       challenging than expected and we are having to review our mine plan and consider
       a number of options. Delays are not unusual for such a large and complex project
       but we are very focused as a team on finding the right pathway to deliver this high
       value project.

Id. ¶ 234.

       Following that news, the price of Turquoise Hill common stock dropped from the prior

day’s closing price of $1.07 per share to $0.60 per share, with over 50.2 million shares traded.

Id. ¶ 244.

       On July 31, 2019, Turquoise Hill issued a news release that added that new financing

would be needed to complete the project, that a definitive estimate review was not expected to be

completed until the second half of 2020, and that it would be required to take a $600 million

impairment charge. Id. ¶ 246. Turquoise Hill stock price fell 8.6% from a close of $0.58 per

share on July 31, 2019 to a close of $0.53 per share on August 1, 2019. Id. ¶ 247.

VIII. Post-Class Period Developments

       In early March 2020, Bowley reported Defendants’ alleged misconduct to securities

regulators, including to the U.S. Securities and Exchange Commission (“SEC”), the Australian



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Securities and Investments Commission, the U.K. Serious Fraud Office and Financial Conduct

Authority, and the Mongolia Financial Regulatory Commission. Id. ¶ 262. In connection with a

separate employment dispute before the U.K. Employment Tribunal, Bowley provided a 62-page

sworn statement in which he stated that he reported his concerns about schedule delay and cost

overruns to Kinnell and Fagen but that Rio Tinto withheld the “true facts” from investors and the

market and misled the market. Id. Bowley stated his belief that Rio Tinto was seeking to

suppress his reports and had made misleading statements to the market regarding the OT project.

Id.

       Around the same time, on March 20, 2020, Turquoise Hill disclosed that it would require

at least an additional $4.5 billion in financing to complete the Oyu Tolgoi underground

expansion and that this financing was required on top of the $2.2 billion Turquoise Hill had in

available liquidity. Id. ¶ 263.

       In December 2020, a Parliamentary Working Group (“PWG”), which Mongolia had

established to investigate the OT project, proposed resolutions that the Government should “take

comprehensive measures to improve the implementation” of its various agreement related to the

OT underground development project. Id. ¶ 264. These resolutions were unanimously passed

by the Mongolian Parliament. Id. In a December 18, 2020 videoconference, members of the

PWG, and in particular Minister Luvsannamsrain Oyun-Erdene, raised concerns with Rio’s

senior executives—including Soirat and Sayed—that the cost overruns in the OT underground

Mine and the decline in project benefits had confirmed the necessity to increase the project’s

benefits to Mongolia and that the Government would, if necessary, terminate the 2015

agreement. Id.




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       On February 8, 2021, Mongolia announced that it was seeking to cancel the OT deal with

Rio Tinto and would replace that deal with a new agreement, explaining that the significant cost

increases at OT eroded the economic benefits the Mongolian government expected to receive

from the mine. Id. ¶ 265.

       On November 30, 2022, the OT Board established a special committee consisting of two

representatives of Mongolia and two representatives of Turquoise Hill to investigate the causes

of cost overruns and schedule delays. Id. ¶ 266. A group referred to as the Independent

Consulting Group—i.e., the group who produced the ICG Report—was hired and was composed

of highly experienced and qualified mining professionals. Id. The ICG Report was submitted on

August 3, 2021 to the special committee and concluded that “the underground expansion

project’s delays and cost overruns began as soon as work resumed in 2016 and were caused by

engineering, procurement, and construction problems related to Shaft 2 and associated work in

completing Shafts 1 and 5—and not by any geotechnical issues.” Id. ¶ 267. The ICG Report

also reported that Rio had refused to cooperate fully with the ICG, refusing to release certain

documents. Id. ¶ 301–303.

                                  PROCEDURAL HISTORY

       The original class complaint in this action was accepted for filing on October 15, 2020,

Dkt. No. 1. The Pentwater Funds were appointed as lead plaintiffs on January 15, 2021 and filed

a consolidated complaint on March 16, 2021. Dkt. Nos. 103, 109. The operative complaint, the

SAC, was filed on September 16, 2021. Dkt. No. 127. Lead plaintiffs bring this action on behalf

of a class of investors who purchased or otherwise acquired Turquoise Hill securities during the

Class Period in domestic transactions or on United States exchanges. Id. ¶ 1.

       On October 19, 2021, Defendants Rio Tinto, RTIH, Jacques, and Soirat (collectively the

“Rio Defendants”) moved to dismiss all claims asserted against them in the Complaint. Dkt.


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Nos. 129–31. Also on October 19, 2021, Defendants Turquoise Hill, Colton, Lane, and

Quellmann (collectively, the “Turquoise Defendants”) moved to dismiss all claims asserted

against them in the Complaint. Dkt. Nos. 132–34. Plaintiffs filed their memorandum of law in

opposition to the motions to dismiss on November 16, 2021. Dkt. Nos. 135–36, 144.3 The Rio

Defendants and the Turquoise Defendants separately filed reply memoranda in further support of

their motions to dismiss on December 17, 2021. Dkt. Nos. 137–39. On August 4, 2022,

Plaintiffs filed a letter to the Court addressing the Second Circuit’s decision in SEC v. Rio Tinto

plc, -- F.4th --, 2022 WL 2760323 (2d Cir. July 15, 2022). The Rio Defendants and Turquoise

Defendants each responded to that letter on August 10, 2022, and Plaintiffs filed their reply on

August 11, 2022. Dkt. Nos. 141–144.

        The Court heard oral argument on the motions on August 25, 2022. Following oral

argument, the Turquoise Defendants wrote a letter to the Court addressing the Turquoise Hill

Board of Directors’ obligations with respect to the company’s minority shareholders. Dkt. No.

147.

                                     LEGAL STANDARDS

I.      Motion to Dismiss

        On a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), a court must accept as true

all factual allegations in the complaint and draw all possible inferences from those allegations in

favor of the plaintiff. See Rombach v. Chang, 355 F.3d 164, 169 (2d Cir. 2004). This

requirement “is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).




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 Plaintiffs filed a corrected memorandum of law in opposition to the motions to dismiss on
August 22, 2022 after discovering errors in the citations to certain paragraph numbers in the
SAC. Dkt. Nos. 144–145.

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Thus, “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id.

        A complaint must offer more than “labels and conclusions” or “a formulaic recitation of

the elements of a cause of action” or “naked assertion[s]” devoid of “further factual

enhancement” in order to survive dismissal. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). The ultimate question is whether “[a] claim has facial plausibility, [i.e.,] the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. “Determining whether a complaint

states a plausible claim for relief will . . . be a context-specific task that requires the reviewing

court to draw on its judicial experience and common sense.” Id. at 679. Put another way, the

plausibility requirement “calls for enough fact to raise a reasonable expectation that discovery

will reveal evidence [supporting the claim].” Twombly, 550 U.S. at 556; see also Matrixx

Initiatives, Inc. v. Siracusano, 563 U.S. 27, 46 (2011) (same).

II.     Section 10(b) and Rule 10b–5(b)

        To plead a claim for damages under Section 10(b) of the Exchange Act and Securities

and Exchange Commission Rule 10b–5(b), a plaintiff must satisfy each of the following six

elements: “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

connection between the misrepresentation or omission and the purchase or sale of a security; (4)

reliance upon the misrepresentation; (5) economic loss; and (6) loss causation.” Halliburton Co.

v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014); see Matrixx, 563 U.S. at 37–38;

Waggoner v. Barclays PLC, 875 F.3d 79, 93 n.23 (2d Cir. 2017).

        “‘The test for whether a statement or omission is materially misleading’ . . . is not

whether the statement is misleading in and of itself, but ‘whether the defendants’ representations,

taken together and in context, would have misled a reasonable investor.’” In re Vivendi S.A. Sec.


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Litig., 838 F.3d 223, 250 (2d Cir. 2016) (quoting Rombach, 355 F.3d at 172 n.7). This test is

objective and looks to the understanding of the “ordinary investor.” Omnicare, Inc. v. Laborers

Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 187 (2015). Moreover, under the

federal securities laws, “literal accuracy is not enough. An issuer must as well desist from

misleading investors by saying one thing and holding back another.” Id. at 192. Companies

have a duty of disclosure “only when necessary ‘to make . . . statements made, in light of the

circumstances under which they were made, not misleading.’” Matrixx, 563 U.S. at 44 (quoting

17 C.F.R. 240.10b-5(b)). “Even when there is no existing independent duty to disclose

information, once a company speaks on an issue or topic, there is a duty to tell the whole truth.”

Meyer v. Jinkosolar Holdings Co., Ltd., 761 F.3d 245, 250 (2d Cir. 2014).

       To be actionable, a misrepresentation or omission also must be material, i.e., a plaintiff

must allege facts showing that there is “a substantial likelihood that the disclosure of the omitted

fact would have been viewed by the reasonable investor as having significantly altered the ‘total

mix’ of information made available.” Ganino v. Citizens Utils. Co., 228 F.3d 154, 162 (2d Cir.

2000) (quoting Basic Inc. v. Levinson, 485 U.S. 224, 231–32 (1988)). Thus, “[i]n judging

whether an alleged omission was material in light of the information already disclosed to

investors, [the court] consider[s] whether there is ‘a substantial likelihood that the disclosure of

the [omitted material] would have been viewed by the reasonable investor as having significantly

altered the total mix of information [already] made available.’” In re ProShares Tr. Sec. Litig.,

728 F.3d 96, 102 (2d Cir. 2013) (quoting TSC Indus., Inc. v. Northway, Inc., 426 U.S. 438, 449

(1976)).

        However, Section 10(b) and Rule 10b–5(b) “do not create an affirmative duty to disclose

any and all material information.” Matrixx, 563 U.S. at 44. “Materiality alone does not demand




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disclosure, nor does the duty to disclose encompass non-material information.” In re ProShares,

728 F.3d at 102 (quoting Panther Partners, Inc. v. Ikanos Comm’ns, Inc., 538 F. Supp. 2d 662,

668 (S.D.N.Y. 2008)).

       When a claim sounds in fraud, such as claims brought under Section 10(b) and Rule 10b–

5, the heightened pleading requirement of Federal Rule of Civil Procedure 9(b) also applies.

Under Rule 9(b), a “party must state with particularity the circumstances constituting fraud.” A

complaint making such allegations must “(1) specify the statements that the plaintiff contends

were fraudulent, (2) identify the speaker, (3) state where and when the statements were made,

and (4) explain why the statements were fraudulent.” Rombach, 355 F.3d at 170 (internal

quotation marks and citation omitted).

        The Private Securities Litigation Reform Act of 1995 (“PSLRA”) imposes additional

requirements on a plaintiff bringing a private securities fraud action. See 15 U.S.C. § 78u-

4(b)(1). The “complaint [must] specify each statement alleged to have been misleading, the

reasons or reason why the statement is misleading, and, if an allegation regarding the statement

or omission is made on information and belief, the complaint [must] state with particularity all

facts on which that belief is formed.” Id. The plaintiff cannot plead “the materiality of the

alleged misstatements or omissions . . . in a conclusory or general fashion.” In re JP Morgan

Chase Sec. Litig., 363 F. Supp. 2d 595, 626 (S.D.N.Y. 2005).

       Moreover, under the PSLRA, where the complaint alleges scienter, the plaintiff must

“state with particularity facts giving rise to a strong inference that the defendant acted with the

requisite state of mind.” 15 U.S.C. 78u-4(b)(2). Under this heightened pleading standard for

scienter, a plaintiff will sufficiently allege scienter and a complaint will survive, “only if a

reasonable person would deem the inference of scienter cogent and at least as compelling as any




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opposing inference one could draw from the facts alleged.” Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 324 (2007). In determining whether a strong inference exists, the

allegations are not to be reviewed independently or in isolation, but the facts alleged must be

“taken collectively,” and “the court must take into account plausible opposing inferences.” Id. at

323.

                                          DISCUSSION

        Plaintiffs bring claims for Defendants’ false statements and omissions under Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and under Rule 10b–5(b) promulgated

thereunder, 17 C.F.R, § 240.10b–5(b), against all Defendants. They also bring a claim against all

Defendants under Section 10(b) and Rule 10b–5(a) and (c), promulgated thereunder, 17 C.F.R, §

240.10b–5(a) & (c), alleging that Defendants engaged in deceptive and manipulative acts in a

scheme to defraud investors, as well as for making false statements and omissions. Finally,

Plaintiffs bring a control-person claim against the Executive Defendants, Rio Tinto, and RTIH

under Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a).

        The Rio Defendants argue that Plaintiffs lack standing to sue them and that the Rio

Defendants are not liable under Rule 10b–5(b) for Turquoise Hill’s statements. The Rio and

Turquoise Defendants both argue that the Complaint does not state a claim under Rule 10b–5(b)

because it fails to allege an actionable misstatement or omission and does not sufficiently allege

scienter. The Defendants also move to dismiss the scheme liability claims under Rule 10b–5(a)

and (c) as well as the control person claims under Section 20(a) of the Exchange Act. Finally,

the Rio Defendants argue that the Complaint against them should be dismissed as Plaintiffs do

not adequately allege loss causation.




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I.     Standing

       The Rio Defendants assert that Plaintiffs lack standing to sue them because “Plaintiffs’

alleged losses stem solely from their purchases of stock in another company—Turquoise Hill.”

Dkt. No. 131 at 10.

       The Supreme Court first addressed what standing is required to bring a private cause of

action for damages under Rule 10b–5 in Blue Chip Stamps v. Manor Drug Stores, 421 U.S. 723

(1975). In that case, the Supreme Court held—in line with the Second Circuit’s decision in

Birnbaum v. Newport Steel Corp., 193 F.2d 461 (2d Cir. 1952)—that to assert a claim for

damages under Rule 10b–5, Plaintiff “must be either a purchaser or seller of securities,” as

opposed to a holder, i.e., someone who decided not to purchase or sell stock as a result of the

misrepresentation. Blue Chip Stamps, 421 U.S. at 749. The Court noted that such a rule was

required as, in the absence of such a rule, the difficulties of proof would be significant. Id. at

742–47. Without such a rule, the Supreme Court noted that “Plaintiff’s proof would not be that

he purchased or sold stock, a fact which would be capable of documentary verification in most

situations, but instead that he decided not to purchase or sell stock,” which would turn almost

entirely on “oral testimony.” Id. at 746–47. The Supreme Court thus concluded that standing is

limited to the “class of plaintiffs [] who have at least dealt in the security to which the

prospectus, representation, or omission relates.” Id. at 747.

       Since then, the Second Circuit has further elaborated on what standing is required to

bring a private cause of action under Rule 10b–5 in two key cases. In Ontario Pub. Service

Employees Union Pension Trust Fund v. Nortel Networks Corp. (“Nortel”), the Second Circuit

considered whether an individual who owns stock in one company has standing to sue a non-

issuer of that stock pursuant to Rule 10b–5 for misstatements made by the non-issuer. 369 F.3d

27 (2d Cir. 2004). In that case, investors in JDS sued Nortel for material misstatements that


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Nortel had made about Nortel’s own revenue and earnings, which in turn positively affected

JDS’s share price. Id. at 29. Nortel was JDS’s largest customer, accounting for 10–15% of

JDS’s revenues, and, around the time of the false statements, sold its laser business to Nortel in

exchange for Nortel stock. Id. The JDS investors claimed that they had standing under Blue

Chip Stamps because they were “purchasers” of securities affected in some way by the relevant

misrepresentations. Id. at 32. The Second Circuit disagreed and stated broadly that

“[s]tockholders do not have standing to sue under Section 10(b) and Rule 10b–5 when the

company whose stock they purchased is negatively impacted by the material misstatement of

another company, whose stock they do not purchase.” Id. at 34.

       However, only a few years later, the Second Circuit clarified that Nortel should not be

read so broadly. In In re NYSE Specialists Securities Litigation (“In re NYSE”), the Second

Circuit addressed whether Nortel barred plaintiff’s claims against the New York Stock Exchange

(the “NYSE”) for misrepresentations it made about its integrity and internal operations, upon

which plaintiffs relied in trading on the NYSE. 503 F.3d 89 (2d Cir. 2007). The plaintiffs in In

re NYSE were investors who purchased and/or sold NYSE-listed stock during the relevant class

period. Id. at 287–88. The Second Circuit stated that, despite language to the contrary, Nortel

should not be read to hold that “an action under Rule 10b–5 for false statements about a security

purchased by the plaintiff lies only against the issuer of the security, or that only statements

about a security issuer are actionable.” Id. at 102. The Second Circuit stated that the Rule 10b–5

claim of the JDS investors in Nortel was based on Nortel’s “knowingly made falsely optimistic

public statements about its own financial prospects,” which Plaintiffs claimed resulted in JRS’s

own purchase price being inflated “[o]n the basis of a business relationship” between JDS and




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Nortel. Id..4 The court therefore held that Nortel stood for the proposition that based on the

“particular circumstances of the case” “the connection between Nortel Networks’ false

statements about itself and the plaintiff’s purchase of JDS Uniphase stock was too remote to

sustain an action under Rule 10b–5.” Id. at 102 (emphasis added). The Second Circuit further

noted that a contrary reading of Nortel “would place beyond the reach of Rule 10b–5 false

statements made by underwriters, brokers, bankers, and non-issuer sellers.” Id. Accordingly,

the Second Circuit rejected a request to dismiss the claims of investors in various companies

against the NYSE under Nortel.

       The Rio Defendants urge this Court to conclude that these cases stand for the proposition

that, except “in very limited circumstances,” investors do not have standing to bring claims under

Rule 10b–5 against a non-issuer company whose stock they did not purchase or sell. Dkt. No.

131 at 10. But this gets the relationship between Nortel and In re NYSE backwards. In re NYSE

did not, as the Rio Defendants claim, “carve” out certain narrow exceptions to Nortel’s general

holding. Id. at 12. Instead, In re NYSE confined the potential reach of Nortel’s holding

substantially. The In re NYSE court clearly stated that Nortel should not be read broadly to hold

that “an action under Rule 10b–5 for false statements about a security purchased by the plaintiff

lies only against the issuer of the security.” 503 F.3d at 102. Instead, per the In re NYSE court,




4
  At oral argument, the Rio Defendants noted that JDS sold its laser business to Nortel in
exchange for Nortel stock and therefore stood to become a shareholder in Nortel. Transcript of
Oral Argument (Aug. 25, 2022) at 94:9–19. But those facts are distinguishable from those
alleged here, including because, unlike in Nortel, Plaintiffs allege that Rio Tinto made statements
directly about Turquoise Hill. Moreover, the Nortel court specifically contemplated that
standing may exist where there is a “more significant relationship between companies than” the
sale of a business unit. 369 F.3d at 34. It thus is incorrect to state that the Nortel court somehow
anticipated and decided the issue in this case—whether statements that a majority owner makes
about the business of its subsidiary whose business it operates are subject to securities law claims
from minority interest holders in the subsidiary.

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Nortel held that plaintiffs lack standing for a Rule 10b–5 action where the “connection between”

the false statements of the non-issuer and “plaintiff’s purchase” of stock is “too remote.” Id.

And such a connection is “too remote” where, as in the “particular circumstances of” Nortel,

plaintiffs’ claims are based merely on (i) false statements by a non-issuer of the security about

itself and (ii) nothing more than a “business relationship” exists between the issuer and non-

issuer company. Id.

       That Nortel, as clarified by In re NYSE, foreclosed only “remote” claims against non-

issuers similar to the claims at issue in Nortel and was not intended to broadly bar all claims

against non-issuers, except in limited circumstances, is consistent with the reasoning of Nortel

itself. Id. In reaching its decision, the Nortel court reasoned that to find that plaintiffs had

standing would be at “odds with the purchaser-seller requirement in Blue Chip Stamps that

‘limits the class of plaintiffs to those who have at least dealt in the security to which the

prospectus, representation, or omission relates.’” Nortel, 369 F.3d at 32 (quoting Blue Chip

Stamps, 421 U.S. at 747). But while it is certainly true that “remote” claims against a non-issuer

related to misstatements the non-issuer made about itself (as was the case in Nortel) would be

inconsistent with the purchaser-seller requirement, claims against a non-issuer related to

misstatements the non-issuer made about the company in which plaintiffs directly dealt would

plainly not be inconsistent with this requirement. In the latter types of cases, plaintiffs would

still fall within the class “who have at least dealt in the security to which the prospectus,

representation, or omission relates.’” Id. (quoting Blue Chip Stamps, 421 U.S. at 747).

       In addition, in reaching its decision, the Nortel court reasoned that if plaintiffs were found

to have standing, “oral testimony would play a crucial role in proving that plaintiffs relied on

Nortel’s financial projections when they purchased JDS’s securities” and therefore would raise




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the same concerns that were present in Blue Chip Stamps. Id. at 33. But, again, while it is

undoubtedly true that oral testimony would “play a crucial role” in proving that plaintiffs relied

on a non-issuer’s overly optimistic false statements about itself in purchasing securities of an

entirely separate company, oral testimony would play a much lesser role in many other claims

against non-issuers, such as where a non-issuer and the issuer effectively operate as one

company and therefore any statement about one is effectively a statement about the other. Id.

       Subsequent case law in this Circuit supports that Nortel’s holding is much narrower than

the Rio Defendants claim and applies to cases with similar facts to those present in Nortel—that

is, where the non-issuers’ misstatements do not directly relate to the issuer and there is no more

than a “business relationship” between the two parties. For example, in Menora Mivtachim

Insurance v. International Flavors & Fragrances Inc., which the Rio Defendants cite in support

of their position, the court repeatedly made clear that it read Nortel as extending only to cases in

which, as in Nortel, the non-issuer made misrepresentations “about itself.” 2021 WL 1199035,

at *30–31 (S.D.N.Y. Mar. 30, 2021) (emphasis added) (summarizing Nortel’s holding as

“plaintiffs lack standing to bring a lawsuit against [a company] for self-referential statements

made by a company in which plaintiffs never invested” (emphasis added)). Similarly, in

Harbinger Capital Partners LLC v. Deere & Co., the Second Circuit dismissed Plaintiffs’ claims

against a non-issuer defendant for lack of standing because, as in Nortel, the claims against the

non-issuer related to fraudulent omissions and misrepresentations that the non-issuer made about

its own design product. 632 F. App’x 653 (2d Cir. 2015) (summary order). The court stated that

“[t]here is no relevant difference between [the plaintiffs in this case] and the plaintiffs in Nortel

Networks,” and therefore “just as in Nortel Networks, the connection between defendants’

omissions about the shortcomings of its receivers and [plaintiffs’] purchase of LightSquared’s




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stock was ‘too remote to sustain an action’ under § 10(b) and Rule 10b–5.” Id. at 656 (emphasis

added) (quoting In re NYSE, 503 F.3d at 102). In In re Barclays Liquidity Cross & High

Frequency Trading Litig., the court, after considering Nortel’s impact on the standing analysis

for Rule 10b–5 claims against non-issuers, appeared to find that its impact was miniscule and

concluded that “the scope of the Section 10(b) private action has not substantially changed since

the Second Circuit first described it: Section 10(b) and Rule 10b–5 ‘extend[ ] protection only to

the defrauded purchaser or seller’ of securities.” 390 F. Supp. 3d 432, 447 (S.D.N.Y. 2019)

(quoting Birnbaum, 193 F.2d at 464).

       Moreover, the Rio Defendants’ reading of Nortel proves too much. If it were true that

investors do not have standing to bring claims under Rule 10b–5 against a non-issuer company

whose stock they did not purchase or sell, except in a few limited circumstances, then the

Supreme Court’s key holdings in cases such as Janus Capital Group, Inc. v. First Derivative

Traders, 564 U.S. 135 (2011) and Stoneridge Investment Partners, LLC v. Sci.-Atlanta, 552 U.S.

148 (2008)—both of which are described in greater detail in Sections II and V.A— which

concern when a third-party may be liable under Rule 10b–5 to another company’s shareholders,

would largely be nullities. The Supreme Court, in those cases, could have instead held that

Plaintiffs would not have standing to bring Rule 10b–5 claims against the third parties.

Defendants’ argument would also undercut the Supreme Court’s statements in Stoneridge and

Central Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A. that “the implied right of

action in § 10(b) continues to cover secondary actors who commit primary violations.”

Stoneridge, 552 U.S. at 166; see also Cent. Bank of Denver, N.A. v. First Interstate Bank of

Denver, N.A., 511 U.S. 164, 191 (1994) (“The absence of § 10(b) aiding and abetting liability

does not mean that secondary actors in the securities markets are always free from liability under




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the securities Acts. Any person or entity, including a lawyer, accountant, or bank, who employs

a manipulative device or makes a material misstatement (or omission) on which a purchaser or

seller of securities relies may be liable as a primary violator under 10b–5, assuming all of the

requirements for primary liability under Rule 10b–5 are met.”).

       The argument the Second Circuit rejected in Nortel—that Section 10(b) reaches any

statement that affects in any way the securities of which the plaintiff is a purchaser—admitted of

no limiting principle. The securities of any company are subject to being “negatively impacted”

in all manners of speaking by statements made by others about their own business—whether it

be statements about the general state of the economy or demand for a particular type of product,

or statements about competition in an industry. Once accepted, the proposition that a statement

that one company makes about its own business can subject it to liability for securities fraud by

shareholders of a different company could not be easily cabined. It could subject to potential

liability any well-heeled or deep-pocket company for the misfortunes of the shareholders of

another no matter how remote the first company was from the shareholders of the second. Cf.

Blue Chip Stamps, 421 U.S. at 739 (“There has been widespread recognition that litigation under

Rule 10b–5 presents a danger of vexatiousness different in degree and in kind from that which

accompanies litigation in general.”). A company which made statements to its own shareholders

about its own business or about the economic environment affecting its operations could

unwittingly be held liable to shareholders of a potentially limitless number of other companies,

each of whom claimed that the statements the company made—though only directed to that

company’s business— spoke to the business prospects of others.

       By the same token, however, the Rio Defendants’ reading of Nortel also admits of no

limiting principle. It would seem to leave out a number of third-party actors whose false




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statements about a company could easily have been relied upon by investors in the issuer and

whose conduct would constitute a primary violation of Rule 10b–5. For example, would a

majority shareholder who makes misstatements about the company whose shares she owns in

order to drive up its share price and increase the value of her holdings (perhaps because they

serve as collateral for other business transactions), be immune from a private securities lawsuit

by the persons who relied on those statements? Could the majority shareholder avoid such a

lawsuit if she cleverly avoids a board seat and, from a position of presumed authority, uses a

megaphone to make the misstatements rather than a corporate filing? Similarly, what if a

prospective acquiring company makes false statements about a target company in order to drive

down the price of that company and to be able to make the acquisition on the cheap, would

investors who sold their shares in the company lack standing against the acquirer? The

definition of a security under the Exchange Act includes a note, bond, or debenture. 15 U.S.C. §

78c(a)(10). Would the Rio Defendants argue that a company that decides—for tax planning or

other efficiency reasons—to raise capital for the operations of a wholly owned subsidiary

through the issuance of debt by that subsidiary is immune from liability under the Exchange Act

for fraudulent misstatements it makes about the subsidiary? At oral argument, the Rio

Defendants admitted that in such a scenario, the investors of the subsidiary could have standing

to sue the parent company if the parent company’s statements sufficiently related to the issuance

of the debt related to that asset. Transcript of Oral Argument (Aug. 25, 2022) at 10:19–11:19.

But that concession gives up the ghost. From the perspective of Section 10(b) and Rule 10b–5,

equity securities are indistinguishable from debt securities. See Nortel, 369 F.3d at 32 (stating

that reference in Section 10(b) to fraud “in connection with the purchase or sale of any security”

refers to the type of security and captures all types of securities). If a parent is not immune from




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liability for false statements about the subsidiary when it chooses to finance its operations

through the issuance of debt, there is no reason why it should be immune from suit when the

financing is in the form of a small minority interest in equity. In either case, the purchasers of a

security of the company (the subsidiary) are equally injured as a direct result of a false statement

made by the parent about the subsidiary.

       In addition, the Rio Defendants apparent position that the In re NYSE exception should be

read only to apply to third parties who are “directly involved in the marketing and sale of the

issued securities,” see Dkt. No. 131 at 11, would mean that Rule 10b–5 claims against auditors—

who are neither directly involved in the marketing or sale of an issued securities—would lack

standing. See, e.g., In re Glob. Crossing, Ltd. Sec. Litig., 322 F. Supp. 2d 319 (S.D.N.Y. 2004)

(concluding that plaintiffs adequately stated a Rule 10b–5 claim against outside auditor); In re

Lernout & Hauspie Sec. Litig., 230 F. Supp. 2d 152 (D. Mass. 2002) (denying motion to dismiss

Rule 10b–5 claim against outside auditor).

       For these reasons, the Court rejects the Rio Defendants’ expansive reading of Nortel and

instead reads Nortel, as clarified by In re NYSE, as standing for the proposition that investors

lack standing where the “connection between” the false statements of the non-issuer and

“plaintiff’s purchase” of stock is “too remote,” and such a connection is too remote where, as in

that case, the third party makes self-referential public statements and the third party and the

issuer are connected only by a “business relationship.” In re NYSE, 503 F.3d at 102.

Accordingly, Nortel would not bar a claim against a third party where that third party had

substantial connections to the issuer and, more importantly, made statements directly about the

issuer’s own securities.




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       In light of this understanding of Nortel, it is apparent that Plaintiffs have standing for

their claims against the Rio Defendants. Plaintiffs allege a connection between Rio Tinto’s

misstatements and their purchase of Turquoise Hill stock that is significantly less remote than the

connection in Nortel. In fact, the facts alleged here are very similar to the hypothetical this Court

asked the Rio Defendants about at oral argument. Rio Tinto owns a majority interest in

Turquoise Hill. Like the parent company in the hypothetical, Rio Tinto appears to have used its

interest in Turquoise Hill to invest in Oyu Tolgoi, and then exercised, through RTIH, near-total

control over the management and operations of the Mine. See Dkt. No. 127 ¶ 52 (“Rio Tinto

owns just over 50% of Turquoise Hill’s common stock, manages the Oyu Tolgoi project under

agreements between OT, Rio Tinto, and the Government of Mongolia, and exercises near total

control over both the project and Turquoise Hill, including control over Turquoise Hill’s public

statements about OT.”). And, while the public float of Turquoise Hill appears to be a legacy of a

time before Rio Tinto built up its majority ownership, the position it espouses would apply even

if the public ownership was a consequence of a decision by Rio Tinto to spin off a portion of the

equity. While, unlike the hypothetical, Rio Tinto would have chosen to finance that investment

through the issuance of stock in Turquoise Hill, the consequences are ultimately no different than

if it had chosen to finance it by issuing debt at the subsidiary level. Moreover, unlike Nortel, Rio

Tinto elected to make statements directly about the operation of Turquoise Hill’s Oyu Tolgoi

project. See, e.g., Dkt. No. 127 ¶¶ 324, 328, 331–334. These misstatements are not “self-

referential” and directly concern the company in which Plaintiffs invested: as the SAC states

repeatedly, the operation and development of OT was the “sole business” of Turquoise Hill and

therefore any statement about OT was necessarily about Turquoise Hill. E.g., id. ¶¶ 3, 38. They




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“relate[]” to the company whose securities Plaintiffs purchased. Blue Chip Stamps, 421 U.S. at

747. The liability to which it exposed itself is anything but unwitting.

       Accordingly, this Court declines to dismiss Plaintiffs’ claims against the Rio Defendants

for lack of standing.5

II.    Rio Defendants Liability for Statements Made by Turquoise Hill

       In the Complaint, Plaintiffs allege that Rio and RTIH were “the maker[s] of both [their]

own and Turquoise Hill’s false and misleading statements and omissions.” Dkt. No. 127 ¶¶ 54,

450. On that theory, Rio and RTIH would themselves be primarily liable for those alleged

misstatements and omissions; no scienter on the part of Turquoise Hill would be necessary. The

Rio Defendants move to dismiss this theory of liability, claiming that Rio and RTIH are plainly

not the “makers” of Turquoise Hill’s statements under the Supreme Court’s holding in Janus,

564 U.S. 135. Dkt. No. 131 at 15. Although Plaintiffs do not appear to contest this point with

respect to RTIH,6 Plaintiffs claim that Rio is liable for Turquoise Hill’s statements as it exercised

“complete control” over Turquoise Hill’s public statements regarding the Oyu Tolgoi project.

Dkt. No. 135 at 34.



5
  In a footnote, the Rio Defendants claim that “for similar reasons, Plaintiffs cannot satisfy the
‘in connection with’ requirement of the Exchange Act” and cite to a case stating that the “in
connection” requirement is not satisfied where plaintiffs’ claims are “against a second company
based on alleged misstatements pertaining to the second company’s stock.” Dkt. No. 131 at 14
n.14 (citing Fogel v. Wal-Mart de Mexico SAB de CV, 2017 WL 751155, at *12 n.14 (S.D.N.Y.
Feb. 27, 2017)). But, as discussed, the Rio Defendants’ alleged misstatements relate to
Turquoise Hill, not to themselves, and the Court therefore rejects this argument.
6
  In response to the Rio Defendants’ motion to dismiss on this claim, Plaintiffs only argue that
Rio is the maker of Turquoise Hill’s statements. Dkt. No. 135 at 54. Plaintiffs have therefore
waived this argument with respect to RTIH, see In re Kingate Mgmt. Ltd. Litig., 746 F. App’x
40, 43 (2d Cir. 2018) (summary order) (finding waiver for failing to raise an argument before the
district court in response to a motion to dismiss), and, regardless, this Court finds that Plaintiffs
have not sufficiently pled that RTIH is the “maker” of Turquoise Hill’s statements, as the
Complaint only alleges that Rio Tinto exercised control over Turquoise Hill’s public statements
about OT. See, e.g., Dkt. No. 127 ¶ 52.


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       “Under Rule 10b–5, it is unlawful for ‘any person, directly or indirectly . . . [t]o make any

untrue statement of a material fact’ in connection with the purchase or sale of securities.” Janus,

564 U.S. at 141 (quoting 17 CFR § 240.10b–5(b)). In other words, a party must have “made” the

material misstatements in order to be liable under Rule 10b–5. Id.

        The Supreme Court’s decision in Janus is the seminal case on when a party has “made”

a statement for purposes of Rule 10b–5(b) liability. Id. In that case the Court was asked to

determine whether Janus Capital Management LLC (“JCM”), a mutual fund investment advisor,

could be held liable for making the false statement included in the prospectuses of Janus

Investment Fund, JCM’s client mutual fund. Id. at 137–41. According to the allegations in the

complaint, JCM’s parent company Janus Capital Group, Inc (“JCG”) had created Janus

Investment Fund. Id. at 138. And although Janus Investment Fund was a separate legal entity

owned entirely by mutual fund investors, all of the officers of Janus Investment Fund were also

officers of JCM, and one member of Janus Investment Fund’s board of trustees was associated

with JCM. Id. Plaintiffs also alleged that JCM was “significantly involved in preparing the

prospectuses” at issue. Id. at 147–48.

       Despite these facts, the Supreme Court held that JCM was not the maker of the

statements in the Janus Investment Fund prospectuses; Janus Investment Fund was. Id. at 146–

47. The Court explained that “[f]or purposes of Rule 10b–5, the maker of a statement is the

person or entity with ultimate authority over the statement, including its content and whether and

how to communicate it.” Id. at 142. The Court noted that: “Without such authority, it is not

‘necessary or inevitable’ that any falsehood will be contained in the statement.” Id. at 144.

“And in the ordinary case,” according to the Court, “attribution within a statement or implicit

from surrounding circumstances is strong evidence that a statement was made by—and only




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by—the party to whom it is attributed.” Id. at 142–43. The Court likened this rule to the

relationship between a speechwriter and a speaker: “Even when a speechwriter drafts a speech,

the content is entirely within the control of the person who delivers it. And it is the speaker who

takes credit—or blame—for what is ultimately said.” Id. at 143.

       In reaching its decision, the Supreme Court clarified what type of conduct does not result

in a party becoming the “maker” of a statement. The Court noted that “entities that contribute

‘substantial assistance’ to the making of a statement but do not actually make it” cannot be

considered the maker of a statement. Id. (quoting Cent. Bank of Denver, 511 U.S. at 169).

Furthermore, a person who “provides the false or misleading information that another person

then puts into the statement” is not the “maker” of the statement. Id. at 145. Finally, the Court

noted that a “well-recognized and uniquely close relationship” between Company A and

Company B or evidence that Company A exerts “significant influence” over Company B does

not make Company A the maker of Company B statements, where Company A and Company B

“remain legally separate entities.” Id. at 145–46.

       Here, Plaintiffs argue that, unlike in Janus, Rio “had ‘ultimate authority’ over [Turquoise

Hill’s] statements, including their ‘content and whether and how to communicate [them],’ and

[Turquoise Hill] told investors of this fact.” Dkt. No. 135 at 34 (quoting Janus, 564 U.S. at 142–

43). In support of this contention, Plaintiffs points to the allegation that Rio Tinto exercised

complete control over the dissemination of the misleading information to Turquoise Hill and Rio

Defendants were Turquoise Hill’s controlling majority stockholder and the manager of its sole

asset. Id. at 34–35. In addition, Plaintiffs allege that Rio Tinto controlled Turquoise Hill’s

public statements through a contract requiring that those statements be “consistent with the

information provided by the Rio Tinto Manager,” RTIH, and that Turquoise Hill would “not file




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or issue any OT Disclosure without providing the Rio Tinto Manager with a reasonable

opportunity to review and comment thereon.” Id. at 34.

       The Court separates its analysis of this argument into: (1) those statements that Turquoise

Hill made that are not explicitly attributed to Rio Tinto7; and (2) those statements that Turquoise

Hill made to investors, which it explicitly attributed in some form to Rio Tinto (e.g., “Rio Tinto

has provided Turquoise Hill with a high-level overview of the review’s outcomes, in which Rio

Tinto concluded there were no material changes in project scope, cost or schedule.” Dkt. No.

127 ¶ 313).8

       As to the first category of statements, the Complaint alleges insufficient facts to plead

that Rio was the “maker” of Turquoise Hill’s statements. Conclusory allegations of one party’s

ultimate control over another party’s statements generally do not suffice to support that the first

party was the “maker” of those statements. See, e.g., City of Pontiac Gen. Employees’ Ret. Sys.

v. Lockheed Martin Corp., 875 F. Supp. 2d 359, 374 (S.D.N.Y. 2012) (“Plaintiff’s conclusory

pleading that each defendant had ‘ultimate authority’ over the statements is clearly insufficient to

adequately plead Gooden made these statements.”); see In re Cannavest Corp. Sec. Litig., 307 F.

Supp. 3d 222, 242 (S.D.N.Y. 2018) (“Plaintiffs’ generic and conclusory allegation that Mackay




7
  See, e.g., id. ¶ 336 (“According to this re-forecast, lateral development has progressed well,
construction completion schedule remains on track for 2022.”); id. ¶ 348 (“The work delays are
of course not desirable, developing the OT underground blockade is a very large undertaking and
these types of delays are certainly not atypical in the mining industry for projects of this scale
and complexity.”); id. ¶ 362 (“key risks” were “well understood and managed,” and “Turquoise
is Well Positioned to Address Key Challenges”).
8
  See also, e.g., id. ¶ 335 (“Rio Tinto has undertaken a second annual re-forecast of underground
development schedule and costs and preliminary results have concluded that capital costs remain
in line with the overall $5.3 billion budget and the project remains on schedule to complete in
2022.”); id. ¶ 336 (“Rio Tinto has notified Turquoise Hill, based on preliminary results, of a
delay to achievement of sustainable first production which is now expected to occur by the end
of Q3’21 instead of Q1’21.”).


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(and the other individual Defendants) ‘did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements that Plaintiff contends are false in misleading’ is not sufficient.” (citation omitted)).

Thus, Plaintiffs cannot successfully plead that Rio was the “maker” of Turquoise Hill’s

statements through general allegations that Rio exercises “control over Turquoise Hill’s public

statements about OT” or that “any communication disseminated outside of Turquoise Hill

concerning Oyu Tolgoi or any communication that could impact Turquoise Hill’s stock price

was dictated by Rio Tinto, which controlled all of Turquoise Hill’s communications and access

to information about OT.” Dkt. No. 127 ¶¶ 52, 450.

       That Rio exercised control over Turquoise Hill’s access to relevant information about the

Oyu Tolgoi project does not itself make Rio the “maker” of Turquoise Hill’s statements. That

argument is foreclosed by Janus. There, the mutual fund investment advisor JCM conducted the

business of the investment fund. It “manage[d] the purchase, sale, redemption, and distribution

of the Fund’s investments,” “prepare[d], modifie[d], and implement[ed] the Janus Fund’s long-

term strategies,” and “carrie[d] out the Fund’s daily activities.” Janus, 564 U.S. at 149 (Breyer,

J. dissenting); see also id. at 138 (noting that JCM provided the fund with the management and

administrative services necessary for its operation). The Court accepted the analogy that the

investment advisor played the role of a “playwright whose lines are delivered by an actor,” the

fund, id. at 145, but held that such facts were insufficient for the advisor to be the maker of the

fund’s statements. Janus held that a person who “provides the false or misleading information

that another person than puts into the statement” is not the maker of the “false public

statements,” as this is merely an “undisclosed act preceding the decision of an independent entity

to make a public statement.” Id. at 144–45.




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        Rio’s status as a majority stockholder and manager of Oyu Tolgoi also does not result in

Rio being the “maker” of Turquoise Hill’s statements. See In re Weight Watchers Int’l Inc. Sec.

Litig., 504 F. Supp. 3d 224, 262 (S.D.N.Y. 2020) (finding allegations that defendant “owns a

large stake in [other company] and has placed board members” is insufficient). Ownership

might confer generally the right of the parent to control a subsidiary by, for example, selecting

members of its board of directors and, through the directors, the officers of the corporation. But

it does not establish that it had control over those directors and officers, and the statements they

made, once they were appointed. As discussed below, infra Section VI, courts have held that it

is not sufficient for control-person liability for the defendant to have the theoretical ability to

control the primary violator. The defendant must possess the practical ability to direct the

primary violator and “have ‘actual control over the transaction in question.’” In re Alstom SA

Sec. Litig., 406 F. Supp. 2d 433, 487 (S.D.N.Y. 2005) (quoting in re Global Crossing, Ltd. Sec.

Litig., 2005 WL 1875445, at *3 (S.D.N.Y. Aug. 5, 2005)). Plaintiffs’ theory would have the

Court impose on a parent corporation primary liability for the misstatements of its partially

owned subsidiary where it is a close question at best whether Congress even intended for it to

have secondary liability.

        Plaintiffs allege generally that Rio Tinto has an “extraordinarily close relationship” with

Turquoise Hill and exercises significant influence over it. Dkt. No. 135 at 6. But Turquoise Hill

is a “legally independent entity with its own board of trustees” and is separately listed and

traded.9 Janus, 564 U.S. at 147. It enjoys its own corporate form, and there are no allegations




9
 These, among other facts, distinguishes this case from IOP Cast Iron Holdings, LLC v. J.H.
Whitney Cap. Partners, LLC, 91 F. Supp. 3d 456 (S.D.N.Y. 2015) in which the company was
effectively solely owned by the defendant and its affiliates, and the defendant formed a majority
of the company’s board. Id. at 473–74.


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that “corporate formalities were [not] observed here.” Id. at 146. Indeed, minority shareholders

make up almost 50% of the company. Those facts are legally dispositive. As officers and

directors of an independently incorporated company with minority shareholders, the persons in

control of Turquoise Hill cannot act solely at the behest of their majority shareholder. They owe

legal duties to all of Turquoise Hill’s stakeholders and must “act honestly and in good faith with

a view to the best interest of the corporation.” Canada Business Corporations Act § 122. If they

were to have made a false and misleading statement, the excuse “Rio Tinto made us do it” would

not suffice. Cf. McMullin v. Beran, 765 A.2d 910, 925 (Del. 2000) (“In properly discharging

their fiduciary responsibilities, directors of Delaware corporations must exercise due care, good

faith and loyalty whenever they communicate with shareholders about the corporation’s

affairs.”); Teamsters Union 25 Health Servs. & Ins. Plan v. Baiera, 119 A.3d 44, 70 (Del. Ch.

2015) (“[O]ne cannot act loyally as a corporate director by causing the corporation to violate the

positive laws it is obliged to obey.”). Nor would Rio Tinto’s majority ownership relieve

Turquoise Hill of its own independent regulatory obligations. See Janus, 564 U.S. at 147

(concluding JCM was not the maker of the statements as “[o]nly Janus Investment Fund—not

JCM—bears the statutory obligation to file the prospectuses with the SEC”); IOP Cast Iron

Holdings, LLC, 91 F. Supp. 3d at 474 (“Because federal law determined which entity had a duty

to file the prospectus, it would have been anomalous for another provision of securities law, Rule

10b–5, to recognize a different entity as the maker of the statements in the prospectus.”). As a

New York Stock Exchange listed company, for example, it is subject to its own requirement that

its financial reporting be truthful or it risks being delisted. See NYSE Listed Company Manual §

802.01 (noting that a company can be suspended or delisted if the Exchange believes that it is

advisable to do so in the event of “allegations of financial fraud” “in relation to the company’s




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financial reporting.”).10 And the well-pled allegations of the Complaint are inconsistent with the

claim that the directors and officers of Turquoise Hill simply abandoned their corporate

responsibilities. Even if they relied on Rio Tinto for the information that they reported to their

shareholders, the Complaint alleges that members of Turquoise Hill were sufficiently

independent to vote—along with the representatives of the Mongolian government—to form a

special committee to investigate the causes of cost overruns and schedule delays. Dkt No. 127 ¶

266.

        Rio’s ability—as a majority stockholder—to influence Turquoise Hill’s statements is

distinct from showing that Rio, in fact, exerted “ultimate control” over the statements at issue in

this case. Janus, 564 U.S. at 143; see Noto v. 22nd Century Grp., Inc., 35 F.4th 95, 104 (2d Cir.

2022) (“The complaint made no sufficient factual allegation that the articles were published by

anyone except the authors. Nor did it sufficiently allege that those authors lacked final control

over the articles’ contents or did not make the ultimate decision as to what specific information

to include. The complaint also does not contain sufficient factual allegations that defendants

collaborated with the authors to such an extent that they controlled the articles’ publication.”).

        Plaintiffs attempt to cure their lack of allegations that Rio had “ultimate” control over the

particular statements at issue by pointing to a contract between Rio and Turquoise Hill that (1)

required Turquoise Hill’s public statements to be “consistent with the information provided by

the Rio Tinto Manager,” RTIH; and (2) provided that Turquoise Hill would “not file or issue any

OT Disclosure without providing the Rio Tinto Manager with a reasonable opportunity to review

and comment thereon.” Dkt. No. 135 at 34 (quoting Dkt. No. 127 ¶ 53). But, again, both of



10
  The Court takes judicial notice of the NYSE Listed Company Manual under Rule 201(b) and
201(d) of the Federal Rules of Evidence. See, e.g., Gee v. Doe, 2022 WL 125342, at *2 n.2
(S.D.N.Y. Jan. 13, 2022) (taking judicial notice of Department of Corrections procedures).

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these allegations, if taken as true, do not establish Rio Tinto’s “ultimate control” over Turquoise

Hill’s statements under Janus. It is not uncommon for two businesses who engage in a joint

venture to attempt to coordinate the statements regarding that joint venture. The contractual

obligation of each party to ensure that its statements are consistent with the statements of the

other does not make each such party the “maker” of the statements by the other. “Ultimate

authority” is critical. Here, although the contract stated that Turquoise Hill’s public statements

“must be consistent with the information provided by the Rio Tinto Manager,” it also provided

that this clause was limited where Turquoise Hill “determines that other OT Disclosure must be

made to comply with Ivanhoe’s disclosure obligations under applicable Securities Laws.”

Turquoise Hill Resources LTD, General Statement of Acquisition of Beneficial Ownership -

Amendment (Form SC 13D/A) (Apr. 20, 2012). In other words, the contract expressly

acknowledged that Turquoise Hill had “ultimate authority” over the content of its own

disclosures and that it was not required to make a statement consistent with the information

provided by the Rio Tinto manager if making that statement violated the securities laws. See

Janus, 564 U.S. at 142 (“For purposes of Rule 10b–5, the maker of a statement is the person or

entity with ultimate authority over the statement, including its content and whether and how to

communicate it. (emphasis added)). And with respect to (2), Janus rejected the notion that a

party who reviews and comments on a statement is transformed into the “maker” of that

statement. See id. at 148 (finding JCM did not “make” statements in prospectuses for purposes

of Rule 10b–5 even though JCM “was significantly involved in preparing the prospectuses”); see

also Noto, 35 F.4th at 104 (“[E]ven if Sicignano had provided some input on the content of the

articles, the complaint does not support the conclusion that Sicignano had the ‘ultimate authority’

necessary to brand him the articles’ maker.”).




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        For these reasons, Plaintiffs have not sufficiently pled that Rio Tinto was the “maker” of

the first category of Turquoise Hill’s statements (i.e., those statements that Turquoise Hill made

that are not explicitly attributed to Rio Tinto).

        As to the second category of statements (i.e., those statements that Turquoise Hill made

to investors, which it explicitly attributed in some form to Rio Tinto), Plaintiffs’ argument that

Rio Tinto is the “maker” of these statements is much more compelling. As the Court stated in

Janus, “attribution within a statement or implicit from surrounding circumstances is strong

evidence that a statement was made by—and only by—the party to whom it is attributed.” 564

U.S. at 142–43; see UA Loc. 13 Pension Fund v. Sealed Air Corp., 2021 WL 2209921, at *7

(S.D.N.Y. June 1, 2021). The Court, however, does not decide whether Rio Tinto is liable for

these statements under Rule 10b–5(b). As discussed infra Section III.A.1, regardless of who the

speaker of these statements is, these statements are forward-looking statements accompanied by

meaningful cautionary language and are therefore protected under the PSLRA safe harbor.11

III.    The Alleged False and Misleading Statements and Omissions

        A.      Turquoise Hill

        The Turquoise Defendants seek to dismiss Plaintiffs’ claims related to the following

alleged statements as either protected by the PSLRA safe harbor, inactionable statements of

opinion, or inactionable puffery:


11
   See, e.g., Dkt. No. 127 ¶¶ 313 (“During Q4’17, Rio Tinto undertook a schedule and cost
review. Rio Tinto has provided Turquoise Hill with a high-level overview of the review’s
outcomes, in which Rio Tinto concluded there were no material changes in project scope, cost or
schedule.”); 335 (“Rio Tinto has undertaken a second annual re-forecast of underground
development schedule and costs and preliminary results have concluded that capital costs remain
in line with the overall $5.3 billion budget and the project remains on schedule to complete in
2022.”); 336 (“Rio Tinto has notified Turquoise Hill, based on preliminary results, of a delay to
achievement of sustainable first production which is now expected to occur by the end of Q3’21
instead of Q1’21.”); 348 (“We did announce on October 15 that Rio Tinto now projects a 9-
month delay of the start of sustainable production from the underground development.”).

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         (1) statements related to the expected timeline for the first draw bell and sustainable
         first production, as well as statements related to the expected amount of capital
         expenditures required to complete development of the underground mining project;

         (2) statements that delays experienced were “not atypical”;

         (3) statements that the key risks were “well understood and managed,” and that
         things were “progressing well.”

Dkt. No. 133 at 33–43. The Court examines each of the categories of challenged statements in

turn.

         1.     Statements related to the expected timeline and expected capital
                expenditures

         According to the allegations in the Complaint, starting at the beginning of the Class

Period on July 16, 2018, Turquoise Hill made several statements that the underground

development project at the Mine continued to be “on track” and that it continued to “expect the

first draw bell in mid-2020 and sustainable first production in 2021.”12 Turquoise Hill also

represented at various points throughout the Class Period that there were “no material changes in

project . . . cost,” that “capital costs remain in line with the overall $5.3 billion budget,” and that

it “confirm[ed] the $5.3 billion total budget” based on “where we are with the information that

we’ve provided.”13 According to Plaintiffs, these statements were false, as internal reports

directedly contradicted these schedules and showed that the OT project was months behind

schedule and hundreds of millions of dollars over budget. Dkt. No. 127 ¶¶ 79–161, 165–186,

208–220.




12
   See Dkt. No. 127 ¶¶ 306–307 (July 16, 2018 Press Release); 313–315 (July 31, 2018 Press
Release & MD&A); 315 (Aug. 1, 2018 Conference Call); 334–336 (Oct. 15, 2018 Press
Release); 344–345 (Nov. 1, 2018 Press Release).
13
   See Dkt. No. 127 ¶¶ 334–336 (Oct. 15, 2018 Press Release); 345 (Nov. 1, 2018 Press
Release); 348 (Nov. 2, 2018 Investor Conference Call); 370 (Feb. 26, 2019 Press Release); 381
(Mar. 15, 2019 Press Release); 388 (2018 Form 40-F).

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       The Turquoise Defendants move to dismiss the Section 10(b) claims related to these

statements, arguing that they are forward-looking statements that are protected by the PSLRA

safe harbor. Dkt. No. 133 at 33–40.

       Subject to certain limited exceptions, the PSLRA bars private actions for federal

securities law violations based on “any forward-looking statement, whether written or oral.” 15

U.S.C. § 78u-5(c)(1). Under the PSLRA, forward-looking statements include:

       (A) A statement containing a projection of revenues, income (including income
       loss), earnings (including earnings loss) per share, capital expenditures, dividends,
       capital structure, or other financial items;

       (B) a statement of the plans and objectives of management for future operations,
       including plans or objectives relating to the products or services of the issuer;

       (C) a statement of future economic performance, including any such statement
       contained in a discussion and analysis of financial condition by the management or
       in the results of operations included pursuant to the rules and regulations of the
       Commission;

       (D) any statement of the assumptions underlying or relating to any statement
       described in subparagraph (A), (B), or (C);

       (E) any report issued by an outside reviewer retained by an issuer, to the extent that
       the report assesses a forward-looking statement made by the issuer; or

       (F) a statement containing a projection or estimate of such other items as may be
       specified by rule or regulation of the Commission.

15 U.S.C. § 78u-5(i)(1).

       “‘[A] statement may contain some elements that look forward and others that do not,’ and

‘forward-looking elements’ may be ‘severable’ from ‘non-forward-looking’ elements.” Gray v.

Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d 366, 385 (S.D.N.Y. 2020), aff’d, 847 F. App’x 35

(2d Cir. 2021) (summary order) (quoting In re Vivendi, S.A. Securities Litig., 838 F.3d at 246).

Under the PSLRA, a defendant is not liable “with respect to any forward-looking statement,

whether written or oral, if and to the extent” that:




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       (A) the forward-looking statement is –

               (i) identified as a forward-looking statement, and is accompanied by
               meaningful cautionary statements identifying important factors that could
               cause actual results to differ materially from those in the forward-looking
               statement; or (ii) immaterial; or

       (B) the plaintiff fails to prove that the forward-looking statement—

               (i) if made by a natural person, was made with actual knowledge by that
               person that the statement was false or misleading; or

               (ii) if made by a business entity, was—

                       (I) made by or with the approval of an executive officer of that
                       entity, and

                       (II) made or approved by such officer with actual knowledge by that
                       officer that the statement was false or misleading.

15 U.S.C. § 78u-5(c). “The safe harbor is written in the disjunctive.” Wesco Aircraft Holdings,

Inc., 454 F. Supp. 3d at 385 (quoting Slayton v. Am. Exp. Co., 604 F.3d 758, 766 (2d Cir. 2010)).

Accordingly, a defendant is not liable for a forward-looking statement if (1) “the forward-

looking statement is identified and accompanied by meaningful cautionary language,” or (2) the

forward-looking statement “is immaterial,” or (3) “the plaintiff fails to prove that [the forward-

looking statement] was made with actual knowledge that it was false or misleading.” Slayton,

604 F.3d at 766. “As long as the plaintiff fails to satisfy one of those elements (e.g., the

statement is accompanied by meaningful cautionary language or is immaterial), the presence of

one of the other elements (e.g., the statement was known to be false or misleading) will not

subject to the defendant to liability.” Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d at 385–86;

see In re Vivendi, 838 F.3d at 245–46 (“Because the safe harbor is written in the disjunctive, a

forward-looking statement is protected under the safe harbor if any of the three prongs applies.”

(internal quotation marks and citation omitted)).




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       Here, each of Turquoise Hill’s public statements about the expected timeline and capital

expenditures/budget of the underground expansion project—to the extent they are false—are

protected under the PSLRA as forward-looking statements. Statements about the schedule for

the underground mine project, such as that they “expect the first draw bell in mid-2020 and

sustainable first production in 2021,” plainly qualify as forward-looking statements. Such

statements are, under the PSLRA, “statement[s] of the plans and objectives of management for

future operations, including plans or objectives relating to the products or services of the issuer.”

15 U.S.C. § 78u-5(i)(1)(B); see, e.g., Moshell v. Sasol Ltd., 481 F. Supp. 3d 280, 287 (S.D.N.Y.

2020) (concluding that schedule estimates are forward-looking statements under this provision of

the PSLRA); In re Barrick Gold Sec. Litig., 2015 WL 1514597, at *8 (S.D.N.Y. Apr. 1, 2015)

(same). Similarly, statements about the expected capital costs/budget of the project are forward-

looking statements “containing a projection of . . . capital expenditures . . . or other financial

items” under the PSLRA. 15 U.S.C. § 78u-5(i)(1)(A); see, e.g., Moshell, 481 F. Supp. 3d at 287

(concluding that capital expenditure estimates to be forward-looking looking statements under

this provision of the PSLRA); In re Barrick Gold Sec. Litig., 2015 WL 1514597, at *8 (same).

       Turquoise Hill’s statements that the project was “on track” and “on schedule” and that

capital costs remain “in line” with the original budget are similarly forward-looking statements

protected by the safe harbor. Stating that the project is “on track” or capital costs remain “in

line” is just another way of affirming the expected timeline or the budget, respectively. See

Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d at 387 (“Courts within this Circuit have found

that statements which merely endorse or state the speaker’s belief in a certain future outlook

satisfy the PSLRA forward-looking requirement.”). In other words, such statements are virtually

indistinguishable from the future projections of which they are part, as they turn on the




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reasonableness of the projections: If the budgetary and schedule projections are reasonable, then

there is no basis to challenge statements that the project is “on track” or costs are “in line” with

those projections as false or misleading. And, if the projections were not reasonable, then these

statements are false or misleading. See id. at 387; see also Institutional Invs. Grp. v. Avaya, Inc.,

564 F.3d 242, 255 (3d Cir. 2009) (holding that “the ‘on track’ and ‘position us’ portions of the []

statements, when read in context, cannot meaningfully be distinguished from the future

projection of which they are a part”). As this Court has stated, “[t]hat is precisely the inquiry

that the safe harbor puts off-limits to the courts.” Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d

at 387.

          Further, while these statements arguably reflect a belief in the attainability of these future

schedule and budget projections based on current facts about the progress and costs of the

project, this alone is not sufficient to take these statements out from under the shelter of the

PSLRA safe harbor. To find that it did would “rip a large hole in that statute and deprive issuers

and makers of such statements of the precise protection the safe harbor was intended to provide.”

Id. at 390. As this Court explained in Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d 366:

          [A]ll statements of projections come with the implied statement that they are
          believed and are based on recent trends in the industry and the market and the
          performance of the business. That is inherent in the notion of a projection—it is
          “the phenomenon of making calculated guess into the future according to past
          trends.” Black’s Law Dictionary Online, “projection” (2d ed.). The PSLRA says
          that projections are protected unless they are both (a) actually known to be false
          and (b) not accompanied by meaningful cautionary language. Slayton, 604 F.3d at
          766; 15 U.S.C. § 78u-5(c). To hold that such projections should be excepted from
          the PSLRA’s coverage on the theory that management did not appropriately
          consider recent trends in the industry or the performance of the business would rip
          a large hole in that statute and deprive issuers and makers of such statements of the
          precise protection the safe harbor was intended to provide.

Id. at 390.




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        Moreover, even if severed, the assertions of current fact inherent in these statements are

too vague to be actionable separate from the future projections. According to the Second Circuit,

“[a] statement may contain some elements that look forward and others that do not,” and, where

that is true, the “the forward-looking elements and the non-forward-looking are severable.” In re

Vivendi Universal, S.A. Sec. Litig., 765 F. Supp. 2d 512, 569 (S.D.N.Y. 2011) (quoting Iowa

Pub. Employees’ Ret. Sys. v. MF Glob., Ltd., 620 F.3d 137, 144 (2d Cir. 2010)). “However,

when the present-tense portion of mixed present and future statements does not provide specific

information about the current situation, but merely says that, whatever the present situation is, it

makes the future projection attainable, the present-tense portion of the statement is too vague to

be actionable apart from the future projection.” In re Supercom Inc. Sec. Litig., 2018 WL

4926442, at *21 (S.D.N.Y. Oct. 10, 2018); see also In re Adient plc Sec. Litig., 2020 WL

1644018, at *19 (S.D.N.Y. Apr. 2, 2020); Gissin v. Endres, 739 F. Supp. 2d 488, 505 (S.D.N.Y.

2010) (“[T]o the extent that there are assertions of current fact in the statements proffered as

fraudulent, they refer to the present only as a means for gauging future possibilities and, ‘when

read in context, cannot meaningfully be distinguished from the future projection of which they

are a part.’” (citation omitted)).

        Here, the statements that the schedule was “on track” and that capital costs were “in line”

on their own contain no details about Turquoise Hill’s current situation; they are forward-

looking. The underground development project was a multi-year project. These statements say

very little about Turquoise Hill’s current situation apart from the future projections of which they

are a part. Accordingly, even if severed, the assertions of current fact are too vague to be

actionable apart from the future projects. These statements are therefore forward-looking




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statements entitled to the PSLRA safe harbor.14 See In re Adient plc Sec. Litig., 2020 WL

1644018, at *19 (“[S]tatements that the Company was ‘on track’ to reach the projected margin

expansion and related growth are ‘too vague to be actionable apart from the future projection.’”

(citation omitted)); see also Avaya, Inc., 564 F.3d at 255 (“[T]he ‘on track’ and ‘position us’

portions of the January 25, 2005 statements, when read in context, cannot meaningfully be

distinguished from the future projection of which they are a part” and are therefore

nonactionable).

       Because Turquoise Hill’s projections about the underground project’s budget and

schedule are forward-looking statements, the Court next must consider whether the statements

are identified as such and accompanied by meaningful cautionary language or were not made

with actual knowledge that they were false or misleading. “A determination of either in the

affirmative is sufficient to confer safe harbor protection.” In re Adient plc Sec. Litig., 2020 WL

1644018, at *20.

       As detailed more fully in the scienter analysis below, infra Section IV.A, Plaintiffs do not

sufficiently allege that the Turquoise Defendants acted with recklessness, let alone actual

knowledge. See Slayton, 604 F.3d at 776 n.9 (“We emphasize that under this prong of the

statutory safe harbor, the plaintiffs must show more than recklessness—an objective inquiry—

they must show actual subjective knowledge. Therefore, even if we were to conclude, based on



14
  Plaintiff notes that along with these statements, the Turquoise Defendants made other false
misrepresentations about current facts, such as that Shaft 5 was “fully operational” during the
second quarter of 2018 and that Shaft 2 equipping was “well under way,” Dkt. No. 127 ¶¶ 307–
308, 319–320, and such statements about current facts are not forward-looking and entitled to
protection under the PSLRA. Dkt. No. 135 at 53–54. The Turquoise Defendants, however, do
not appear to base their motion to dismiss on these statements about the status of the Mine on
any grounds other than that Plaintiffs have failed to sufficiently allege that the Turquoise
Defendant possessed scienter with respect to them. Therefore, the Court does not address
whether such statements by Turquoise Hill are entitled to the safe harbor.


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the alleged facts, that [a certain issue was] ‘so obvious that . . . of defendant[s] must have been

aware it,’ . . . this would not avail the plaintiffs.” (citations omitted)). Plaintiffs cite to various

paragraphs in the SAC for the proposition that “Defendants had access to and obtained

information that rendered their purported forward-looking statements false when made.” Dkt.

No. 135 at 53 (citing Dkt. No. 127 ¶¶ 73–112, 119–130, 143–150, 156–160, 182–194).

However, only one of those paragraphs mentions the Turquoise Defendants as opposed to the

Rio Defendants. Dkt. No. 127 ¶ 146. That paragraph states that the Turquoise Defendants were

members of the OT Board that approved a $120 million budget increase for the principal

contractor on the underground development project. Id. However, as discussed infra Section

IV.A.2, without more, this allegation is insufficient to establish that the Turquoise Defendants

knew that the project—which was at that time was budgeted to cost over 44 times the amount of

that increase—was seriously delayed or over budget. Cf. City of N. Miami Beach Police

Officers’ & Firefighters’ Ret. Plan v. Nat’l Gen. Holdings Corp., 2021 WL 212337, at *9

(S.D.N.Y. Jan. 21, 2021) (finding lack of scienter, in part, because “Plaintiffs have not alleged

that the CPI scorecard or business review decks included any specific information detailing, for

example, an unusually high number of customer complaints or an abnormally low number of

claims payments”).

        These forward-looking statements are also not actionable as they were accompanied by

meaningful cautionary language. “A defendant who publishes a forward-looking statement is

protected against liability in a private action under the federal securities laws if that statement is

accompanied by ‘meaningful cautionary language.’” Wesco Aircraft Holdings, Inc., 454 F.

Supp. 3d at 392 (quoting Slayton, 604 F.3d at 771)). To be meaningful, the cautionary language

need not directly precede or follow the forward-looking statement. Id.; see Slayton, 604 F.3d at




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768–69 (noting that the cautionary language was several pages away). The language, however,

cannot merely be boilerplate and must contain “important factors that could realistically cause

results to differ materially.” Slayton, 604 F.3d at 773. In other words, the language must be

“extensive and specific,” id. at 772 (quoting Avaya, 564 F.3d at 256), and contain “substantive

company-specific warnings.” Id. (quoting Southland Secs. Corp. v. INSpire Ins. Solutions, Inc.,

365 F.3d 353, 372 (5th Cir. 2004)). “As the Conference Report accompanying the PSLRA

explains, ‘the cautionary statements must convey substantive information about factors that

realistically could cause results to differ materially from those projected in the forward-looking

statement, such as, for example, information about the issuer’s business.’” Wesco Aircraft

Holdings, Inc., 454 F. Supp. 3d at 392 (quoting Conference Report at 43, 1995 U.S.C.C.A.N. at

742).

         The statements at issue come from three sources: (i) Turquoise Hill’s Forms 40-F; (ii)

press releases filed as exhibits to Forms 6-K; and (iii) investor conference calls.

         Turquoise Hill’s 2017 and 2018 Forms 40-F include extensive and specific warnings

concerning the estimated schedule and budget of the OT underground development project. For

example, they refer to several factors that could cause the schedule and budget to differ

materially, including: (i) “the availability and cost of skilled labor”; (ii) “round and rock mass

conditions and stability”; (iii) “the impact of fluctuations in commodity prices, process water,

power and transportation”; (iv) the “annual usage fees payable to the local province for sand,

aggregate and water”; and (v) the “need to obtain necessary and other government permits.”

Dkt. No. 134-15 at ECF p. 49 (2018 Form 40-F); see Dkt. No. 134-4 at ECF pp. 49–50 (2017

Form 40-F). Turquoise Hill also noted that the “cost, timing, and complexities for mine

construction and development are increased by the remote location of a property such as Oyu




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Tolgoi.” Dkt. No. 134-15 at ECF p. 49 (2018 Form 40-F). The Forms 40-F further provided:

“It is common in mining operations and in the development, construction, or expansion of

existing facilities to experience unexpected problems and delays during such activities, which

may cause delays in the commencement or expansion of mineral production or sustainable

production.” Id.; see Dkt. No. 134-4 at ECF pp. 49–50 (2017 Form 40-F).

       Turquoise Hill’s Forms 40-F also contained substantial forward-looking disclosures.

Specifically, those disclosures noted:

       Forward-looking statements and information are made based upon certain
       assumptions and other important factors that, if untrue, could cause the actual
       results, performance or achievements of the Corporation to be materially different
       from future results, performance or achievements expressed or implied by such
       statements or information. There can be no assurance that such statements or
       information will prove to be accurate. Such statements and information are based
       on numerous assumptions regarding present and future business strategies, local
       and global economic conditions, and the environment in which the Corporation will
       operate in the future, including the price of copper, gold and silver and projected
       gold, copper and silver grades, anticipated capital and operating costs, anticipated
       future production and cash flows, and the status of the Corporation’s relationship
       and interaction with the Government of Mongolia on the continued operation and
       development of Oyu Tolgoi (as defined in the section entitled “Definitions” in the
       AIF) and Oyu Tolgoi LLC internal governance.

                                               ...

       With respect to specific forward-looking information concerning the continued
       operation and development of Oyu Tolgoi, the Corporation has based its
       assumptions and analyses on certain factors which are inherently uncertain.
       Uncertainties and assumptions include, among others: the timing and cost of the
       construction and expansion of mining and processing facilities; the timing and
       availability of a long-term domestic power source (or the availability of financing
       for the Corporation to construct such a source) for Oyu Tolgoi; the ability to secure
       and draw down on the supplemental debt under the Project Finance Facility (as
       defined in the AIF) and the availability of additional financing on terms reasonably
       acceptable to Oyu Tolgoi LLC, Rio Tinto plc (together with its affiliates, “Rio
       Tinto”) and the Corporation to further develop Oyu Tolgoi; the impact of changes
       in, changes in interpretation to or changes in enforcement of, laws, regulations and
       government practices in Mongolia; the availability and cost of skilled labour and
       transportation; the obtaining of (and the terms and timing of obtaining) necessary
       environmental and other government approvals, consents and permits; delays, and
       the costs which would result from delays, in the development of the underground


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       mine (which could significantly exceed the costs projected in the Statutory
       Feasibility Study and the 2016 OTTR (as defined in the section entitled
       “Definitions” in the AIF)); projected copper, gold and silver prices and their market
       demand; and production estimates and the anticipated yearly production of copper,
       gold and silver at Oyu Tolgoi.


Dkt. No. 134-15 at ECF p. 4 (2018 Form 40-F); see Dkt. No. 134-4 at ECF p. 5 (2017

Form 40-F).

       Similar cautionary language is present in the press releases that Turquoise Hill released

and publicly filed with the SEC. For example, Turquoise Hill’s July 16, 2018 press release

provided that “[c]ertain important factors that could cause actual . . . achievements to differ

materially from those in the forward-looking statements and information include, among others”:

(i) “mining operational and development risks”; (ii) “regulatory restrictions (including

environmental regulatory restrictions and liability)”; (iii) “events or circumstances (including

strikes, blockages or similar events outside of the Company’s control) that may affect the

Company’s ability to deliver its products in a timely manner”; (iv) “the global economic

climate”; (v) “loss of key employees”; and (vi) “capital and operating costs, including with

respect to the development of additional deposits and processing facilities.” The press release

also noted that:

       Readers are cautioned not to place undue reliance on forward-looking information
       or statements. By their nature, forward-looking statements involve numerous
       assumptions, inherent risks and uncertainties, both general and specific, which
       contribute to the possibility that the predicted outcomes will not occur. Events or
       circumstances could cause the Company’s actual results to differ materially from
       those estimated or projected and expressed in, or implied by, these forward-looking
       statements.

Dkt. No. 134-6 at ECF p. 19 (July 31, 2018 Press Release). The press release also

directed readers to the risk factors listed in the Company’s Forms 40-F: “Important

factors that could cause actual results to differ from these forward-looking statements are



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included in the ‘Risk Factors’ section in the Company’s Annual Information Form.”15 Id.

After February 2019, Turquoise Hill’s press releases also warned that mining operational

and technical risks included “geotechnical risks and ground conditions.” Dkt. No. 134-13

at 3 (Feb. 27, 2019 Press Release); Dkt. No. 134-16 at ECF p. 21 (Mar. 15, 2019 Press

Release).

       Further, on investor conference calls during which the rest of the statements about

OT’s estimated budget and schedule were made,16 Turquoise Hill would start by

referring listeners to the “forward-looking language included in our press release and

MD&A.” Transcripts of the calls also noted that:

       In the conference calls upon which Event Transcripts are based, companies may
       make projections or other forward-looking statements regarding a variety of items.
       Such forward-looking statements are based upon current expectations and involve
       risks and uncertainties. Actual results may differ materially from those stated in
       any forward-looking statement based on a number of important factors and risks,
       which are more specifically identified in the companies’ most recent SEC filings.
       Although the companies may indicate and believe that the assumptions underlying
       the forward-looking statements are reasonable, any of the assumptions could prove
       inaccurate or incorrect and, therefore, there can be no assurance that the results
       contemplated in the forward-looking statements will be realized.

Dkt. No. 134-7 at 2, 13 (Aug. 1, 2018 Investor Call); Dkt. No. 134-11 at 13 (Nov. 2, 2018

Investor Call) (same).

       As an initial point, cautionary language may be incorporated by reference. See In

re Dynagas LNG Partners LP Sec. Litig., 504 F. Supp. 3d 289, 319 (S.D.N.Y. 2020)

(“[C]onference calls both contained meaningful cautionary language about the nature of


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   See also Dkt. No. 134-8 at 4 (Oct. 15, 2018 Press Release) (similar disclosures); Dkt. No. 134-
9 at 19 (Nov. 1, 2018 Press Release) (similar disclosures)
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   Specifically, on an August 1, 2018 conference call, Turquoise Hill executives stated, among
other things, that: we “maintain our expectation of first draw bell in mid-2020 and sustainable
first production in 2021.” Dkt. No. 127 ¶ 314 (emphasis omitted). Moreover, on the November
2, 2018 investor conference call, Turquoise Hill executives stated: “where we are with the
information that we’ve provided, we confirm the $5.3 billion total budget.” Id. ¶ 348.


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the forward-looking statements . . . on the contemporaneously filed press releases, which

were incorporated by reference into the conference calls.”); City of Austin Police Ret. Sys.

v. Kinross Gold Corp., 957 F. Supp. 2d 277, 303 (S.D.N.Y. 2013) (determining that

cautionary language incorporated by reference “was more than sufficient to bring it

within the protection of the bespeaks caution doctrine”); Fort Worth Employers’ Ret.

Fund v. Biovail Corp., 615 F. Supp. 2d 218, 233 (S.D.N.Y. 2009) (concluding that

reference during conference call to risk disclosures in press release sufficient to satisfy

PSLRA safe harbor). “Courts in this Circuit routinely find that references to SEC filings

that expound more fully on the risks suffice to adequately convey the risks.” In re

Dynagas LNG Partners LP Sec. Litig., 504 F. Supp. 3d at 319. Turquoise Hill press

releases therefore incorporated by reference the cautionary language in the Forms 40-F

and the investor conference calls incorporated by reference the cautionary language in the

press releases and, in turn, the cautionary language in the Forms 40-F. See Kinross Gold

Corp., 957 F.Supp.2d at 303 (“For similar reasons, Kinross’s statements during its

February 17, 2011 conference call are protected as forward-looking. At the beginning of

the call, Kinross’s moderator stated that the speakers would ‘be making forward-looking

statements during the presentation,’ and directed the call participants to the cautionary

language in Kinross’s February 16, 2011 news release for a discussion of the relevant

risks, uncertainties, and assumptions.”).

       The extensive and specific risk disclosures in the press releases and Forms 40-F

constitute meaningful cautionary language adequate to invoke the PSLRA’s safe harbor.

Turquoise Hill explicitly warned investors that “the timing and cost of the construction”

were uncertain, could differ materially from what was estimated based on delays as well




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as the costs which would result from delays, and depended on a host of factors, including

the availability and cost of skilled labor, ground conditions, and the timing and cost of the

construction of the Mine. Turquoise Hill also warned investors that the complexities of

the property were increased by its remote location. Turquoise Hill therefore specifically

warned investors of the significant uncertainty surrounding the construction timeline and

budget of the underground development project, and a reasonable investor would have

understood that the schedule and capital expenditures projections were subject to change.

See In re NovaGold Res. Inc. Sec. Litig., 629 F. Supp. 2d 272, 294 (S.D.N.Y. 2009)

(“Given the warnings regarding capital costs, it would be unreasonable to demand that a

cost estimate must hold steady over a multi-year period requiring considerable amounts

of construction of a large mine in a remote location by a company just getting its start in

the mineral production business.”). The risks were also company-specific, with

Turquoise Hill noting, for example, that these risks were increased by the remote location

of OT. Accordingly, “a reasonable investor could have been misled into thinking that the

risk that materialized and resulted in his loss did not actually exist.” Halperin v. eBanker

USA.com, Inc., 295 F.3d 352, 359 (2d Cir. 2002).

       Plaintiffs nonetheless argue that such risk disclosures are insufficient because the

cautionary language was virtually unchanged throughout the Class Period despite

Defendants’ knowledge of costs overruns and schedule delays before the Class Period,

which were only expected to rapidly escalate, and the conclusion of Defendants’ own

advisor that there was a 0% likelihood that the schedule would be met. Dkt. No. 135 at

56–57 (citing Dkt. No. 127 ¶¶ 73–131, 134–161, 300, 312). In support of this argument,

Plaintiffs cite to Slayton, in which the Second Circuit held that: “[t]he consistency of the




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defendants’ [cautionary] language over time” “bolstered their conclusion that the

cautionary language at issue was not meaningful and entitled to protection under the

PSLRA.” 604 F.3d at 773. In Slayton, defendants had failed to update their cautionary

language in spite of “the new information they received in early May 2001,” which the

court noted “belie[d] any contention that the cautionary language was ‘tailored to the

specific future projection.’” Id.

       The Court rejects Plaintiffs’ argument that Slayton should be read to allow courts

to consider the defendant’s knowledge in assessing whether cautionary language is

sufficiently meaningful. While the Court in Slayton did note that the consistency of the

language over time despite new information bolstered the conclusion that such language

was not meaningful, the court’s decision in that case primarily rested on the fact that the

language at issue—a single sentence warning—verged on “mere boilerplate.” 604 F.3d

at 772–73. In fact, Slayton expressly declined to address this issue of whether an “issuer

[may] be protected by the meaningful cautionary language prong of the safe harbor even

where his cautionary statement omitted a major risk that he knew about at the time he

made the statement.” Id. at 771.

       Moreover, such an inquiry would be plainly contrary to the disjunctive nature of

the PSLRA safe harbor. As this Court stated in Wesco Aircraft Holdings:

       This argument conflates the actual knowledge and meaningful cautionary language
       prongs of the PSLRA. If the Court were to accept it, an allegation of actual
       knowledge of falsity would suffice to deprive a forward-looking statement of the
       protections of safe harbor even if there were meaningful cautionary language
       otherwise. Such a result would be contrary to the disjunctive nature of the safe
       harbor elements.

454 F. Supp. 3d at 394. This conclusion is further bolstered by the Conference Report

accompanying the PSLRA, which stressed that “[c]ourts should not examine the state of



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mind of the person making the statement.” Conference Report at 43, 1995 U.S.C.C.A.N.

at 742; see Auburn Hous. Auth. v. Martinez, 277 F.3d 138, 147 (2d Cir. 2002) (“The

conference report is generally the most reliable evidence in legislative history of

congressional intent because it represents the final statement of the terms agreed to by

both houses.”).

       However, even if Slayton were read as broadly as Plaintiffs request, it still would

not apply here. Unlike in Slayton, Plaintiffs do not point to any specific new information

that the Turquoise Defendants—as opposed to the Rio Defendants—received that would

have alerted them to the need to update their risk disclosures. As discussed infra Section

IV.A, the Complaint does not plausibly allege that the Turquoise Defendants were aware

of cost overruns and schedule delays outside of what they disclosed to investors. Further,

while the Complaint does allege that Defendants’ own advisor “analyzed the 2017 and

2018 ‘reforecasts’ showing that the publicly stated schedules had a 2% and 0% chance of

being completed on-time, respectively,” Dkt. No. 127 ¶ 300, it does not state when this

analysis was completed, whether it was provided to the Turquoise Defendants, and, if so,

when that was relative to the disclosures at issue. Without such facts, it cannot be

inferred that the Turquoise Defendants would have been alerted to the facts that Plaintiff

alleges required updating. Accordingly, the Court cannot conclude that the cautionary

language was not meaningful on this basis.

       For these reasons, Turquoise Hill’s statements related to the expected timeline and

capital expenditures of the underground development project are protected by the PSLRA




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safe harbor for forward-looking statements. Plaintiffs’ Section 10(b) claims with respect

to these statements are therefore dismissed.17

       2.      Statements that the delays were “not atypical”

       The SAC also alleges that the Turquoise Defendants’ statement after the October 15,

2018 “re-forecast” that “these types of delays are certainly not atypical in the mining industry for

projects of this scale and complexity” was false or misleading. Dkt. No. 127 ¶¶ 348, 353. This

statement was made by Quellmann on an investor conference call regarding Turquoise Hill’s

third quarter fiscal year 2018 financial results on November 2, 2018.18 Id. The SAC alleges that

this statement was false or misleading as “the delays at Oyu Tolgoi were atypical and material

because, as described by former OT managers, they resulted from abysmal construction and

procurement work, and were like nothing they had ever experienced in their long careers in

mining.” Id. ¶ 353. Defendants respond that such statements are “quintessential opinion




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   Plaintiffs also argue that even if certain of these statements are protected by the PSLRA safe
harbor, Defendants are still liable for their omission of material information—i.e., the cost
overruns and delays—in their disclosures. Dkt. No. 135 at 55. However, while it is true that
courts “in this circuit have consistently held that neither the PSLRA safe harbor, nor the
bespeaks-caution doctrine protects material omissions,” Wilson v. LSB Indus., Inc., 2017 WL
7052046, at *3 (S.D.N.Y. Mar. 2, 2017); see also In re Bemis Co. Sec. Litig., 512 F. Supp. 3d
518, 537 (S.D.N.Y. 2021), Plaintiffs may not recharacterize their false-statement claims as
material-omission claims on the basis that the statements were false because they omitted
material contrary information. Otherwise, the PSLRA would have no force. Regardless,
Plaintiffs have failed to sufficiently allege that Turquoise Hill acted with scienter. See infra
Section IV.A.
        The Turquoise Defendants also argue that even if these statements were not protected by
the PSLRA safe harbor, these statements are nonetheless protected as vague statements of
corporate optimism or puffery. Dkt. No. 133 at 50. Because this Court finds that they are
nonactionable as forward-looking statements entitled to the PSLRA safe harbor, it does not
address this argument.
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   The full statement was “[t]he work delays are of course not desirable, developing the OT
underground blockade is a very large undertaking and these types of delays are certainly not
atypical in the mining industry for projects of this scale and complexity.” Dkt. No. 127 ¶ 348.

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statements” and that Plaintiffs have not adequately alleged that they were false when made. Dkt.

No. 133 at 40–42.

       To adequately allege that a statement of opinion is false or misleading, a plaintiff must

sufficiently allege that the defendant: (1) “did not hold the belief [defendant] professed”; (2) the

“supporting fact[s] [defendant] supplied were untrue”; or (3) “omit[ted] information whose

omission ma[d]e[] the statement[s] misleading to a reasonable investor.” Tongue v. Sanofi, 816

F.3d 199, 210 (2d Cir. 2016) (citation omitted); see also Martin v. Quartermain, 732 F. App’x

37, 40 (2d Cir. 2018) (summary order).

       Plaintiffs appears to argue that Turquoise Hill’s statement that “these types of delays are

certainly not atypical” does not qualify as a statement of opinion. Citing the Supreme Court’s

opinion in Omnicare, 575 U.S. 175, Plaintiffs cursorily state that “[a] statement is an opinion

only when it is expressly stated as such.” Dkt. No. 135 at 58.

       However, “Omnicare may not be construed so simplistically.” Axar Master Fund, Ltd. v.

Bedford, 308 F. Supp. 3d 743, 755 (S.D.N.Y. 2018). The Supreme Court’s opinion in Omnicare

addressed when an opinion may be actionable as a false or misleading statement for purposes of

securities fraud liability. 575 U.S. 175. It did not address what qualifies as a statement of

opinion as opposed to a statement of fact in the first place. And, although the examples the

Supreme Court gave of opinion statements in Omnicare were expressly stated as opinion (e.g., “I

think the coffee is hot” or “I believe our marketing practices are lawful”), the Court decidedly

did not hold that a statement must be qualified by a “I think” or “I believe” or “it is my opinion

that” to qualify as one of opinion. Id. at 183–84. To read Omnicare in such a way would

produce absurd results. Prototypical opinion statements—such as “I like how things are going”




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or “we have a good amount of talent on board”—would, under such a reading of Omnicare, all

of a sudden qualify as statements of facts.

       Moreover, since the Supreme Court’s decision in Omnicare, the Second Circuit has held

that productivity estimates—that were not expressly stated as opinions—“were statements of []

opinion, rather than assertions of purported fact.” Martin, 732 F. App’x at 40 & n.1. The court

noted that “[e]stimates, in particular, constitute a well-established species of opinion” as they

“‘will vary depending on the particular methodology and assumptions used,’ rendering them

‘subjective.’” Id. (citing Fait v. Regions Fin. Corp., 655 F.3d 105, 111 (2d Cir. 2011)). In other

words, the court did not interpret Omnicare as establishing new law on what an opinion

statement was and instead continued to find that statements are opinions —even if not expressly

identified as such—where they “vary depending on the particular methodology and assumptions

used,’ rendering them ‘subjective.’” Id. (quoting Fait, 655 F.3d at 111)

        For the same reasons that estimates are well-established species of opinion, the statement

in isolation that delays were “not atypical” is one of opinion. An estimate depends “on the

particular methodology and assumptions used,” “rendering [it] ‘subjective.’” Martin, 732 F.

App’x at 40 n.1 (quoting Fait, 655 F.3d at 111); see Chapman v. Mueller Water Prod., Inc., 466

F. Supp. 3d 382, 398 (S.D.N.Y. 2020) (“[A]ccounting estimates that depend on management’s

determination or assumptions are ‘subjective’ opinions and ‘not matters of objective fact.’”

(internal quotation marks and citation omitted)); In re Avon Sec. Litig., 2019 WL 6115349, at

*16 (S.D.N.Y. Nov. 18, 2019) (“Actuarial or accounting assumptions ‘depend on the particular

methodology and assumptions used’ and are not ‘objective factual matters.’” (cleaned up)); In re

MF Glob. Holdings Ltd. Sec. Litig., 982 F. Supp. 2d 277, 312–13 (S.D.N.Y. 2013) (applying this

standard and finding that statements about the value of company’s deferred tax assets were




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statements of opinion). It cannot be decided as a “matter[] of objective fact.” Fait, 655 F.3d at

110. So too is the statement that the cause of a delay is or is not “atypical.” Among other things,

it will depend on whether there is a publicly understood general (and not “particular”) metric of

what is typical, how frequently an event must occur for it to be considered metric, and how

broadly the speaker classifies the type of delays. See In re Nielsen Holdings PLC Sec. Litig., 510

F. Supp. 3d 217, 233 (S.D.N.Y. 2021); In re Lehman Bros. Sec. & Erisa Litig., 131 F. Supp. 3d

241, 253 (S.D.N.Y. 2015) (holding that statement that proposed merger offers a fair price was an

opinion statement, as “[w]hether a particular deal is ‘fair’ is, after all, not a determinate,

verifiable statement like ‘this ring is 24–carat gold’”). As counsel for Turquoise Hill admitted at

argument, there is no categorical rule that a statement regarding typicality can never be one of

fact. Transcript of Oral Argument (Aug. 25, 2022) at 50:21–22. But in the absence of any

allegation that there exists an objective metric by which to determine which types of events are

typical and which are not, the statement that the delay is not atypical is one of opinion. It

depends on management’s views on what is typical and what is atypical and will vary on the

methodology management uses to determine typicality. Accordingly, the statement that delays

are not “atypical,” while presumably based on supporting facts, is not itself a statement of fact

but instead a statement of opinion. See Omnicare, 575 U.S. at 182 (“[A] statement of belief may

make an implicit assertion about the belief’s ‘subject matter.’”); Bedford, 308 F. Supp. 3d at 755

(“Whether a statement is a matter of fact is a question of whether the statement sets forth

something verifiable.”).

        To be actionable, therefore, Plaintiffs must sufficiently allege that (1) Turquoise Hill did

not hold the belief that such delays were “not atypical,” (2) that the facts supplied in support of




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the belief were untrue, or (3) Turquoise Hill omitted information which led the statements to be

misleading to a reasonable investor.

       In their opposition, Plaintiffs do not address which of these factors applies to Turquoise

Hill’s statement that the delays were “not atypical.” Dkt. No. 135 at 58–61. In fact, Plaintiffs’

opposition does even respond to Defendants’ argument that if this particular statement is an

opinion, it is inactionable. See Dkt. No. 135 at 58–61 (only addressing why the statement that

OT remained on track would be actionable if it were an opinion). The Court therefore will

consider this point conceded. See Sussman Sales Co., Inc. v. VWR Int’l, LLC, 2021 WL

1165077, at *20 (S.D.N.Y. Mar. 26, 2021) (“Plaintiff does not directly respond to this argument

in its opposition briefing, and the Court will consider this point conceded.”); AT & T Corp. v.

Syniverse Techs., Inc., 2014 WL 4412392, at *7 (S.D.N.Y. Sept. 8, 2014) (“Perhaps recognizing

the futility of contesting this issue, AT & T did not even discuss it in its opposition brief. AT &

T’s silence concedes the point.”).

       Even if this claim, however, were not conceded, any attempt to oppose it would likely be

futile. See Omnicare, 575 U.S. at 194 (stating that this “is no small task for an investor”). The

Complaint merely notes that the “delays at Oyu Tolgoi were atypical and material because, as

described by former OT managers, they resulted from abysmal construction and procurement

work, and were like nothing they had ever experienced in their long careers in mining.” Dkt. No.

127 ¶ 353. However, this statement does not allege that the Turquoise Defendants themselves

did not hold the belief that such delays were not atypical, or that the Turquoise Defendants

omitted information that they had in their possession that led the statement to be misleading to a

reasonable investor. See Omnicare, 575 U.S. at 189 (explaining that an opinion may actionable

due to an omission if the opinion did not fairly align “with the information in the issuer’s




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possession at the time”). Regardless of whether other managers had seen such delays in their

careers, the managers who made the statements could have believed that the delays were not

unprecedented and were typical. Moreover, other than a conclusory remark that the “delays at

Oyu Tolgoi were atypical,” Dkt. No. 127 ¶ 353 Plaintiffs do not allege any facts indicating that

such delays are not typical at complex mining companies or that “any of the facts supplied by”

Turquoise Hill in support of its estimate that such delays were atypical were objectively false.

Martin, 732 F. App’x at 41.

       Accordingly, Plaintiffs 10(b) claim related to Turquoise Hill’s November 2, 2018

statement that the delays were “not atypical” is dismissed.

       3.      Statements that the “key risks were well understood and management,” that
               Turquoise Hill is “well positioned” to address key challenges, and that things
               were “progressing well”

       The SAC also alleges that Turquoise Hill’s statements that the “Key risks” were “well

understood and managed,” that “Turquoise is Well Positioned to Address Key Challenges,” and

that things were “progressing well” were false and misleading because, at this time, the OT

expansion project was severely overbudget, the key risks were out of control, and Turquoise Hill

lacked the funding to deal with these issues. See Dkt. No. 127 ¶¶ 336, 362–363, 366.

Defendants respond that such statements are vague statements of optimism that are not

actionable. Dkt. No. 133 at 42–43.

       General statements of corporate optimism are non-actionable puffery. Unlike “specific,

factual” statements, “vague descriptions [that] offer only generally optimistic opinions” are not

actionable under section 10(b) and Rule 10b–5. In re Synchrony, 988 F.3d at 170. A speaker

engages in puffery when he claims to be “‘pretty confident’ and ‘pretty positive’” about the

future, or when he makes “[v]ague positive statements regarding a corporate entity’s risk

management strategy, asset quality, and business practices . . . .” Id. Such statements “are ‘too


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general to cause a reasonable investor to rely upon them’ and therefore are ‘precisely the type of

puffery that this and other circuits have consistently held to be inactionable.’” Id. (quoting ECA,

Loc. 134 IBEW Joint Pension Tr. of Chicago v. JP Morgan Chase Co., 553 F.3d 187, 206 (2d

Cir. 2009)).

       As an initial point, in their opposition, Plaintiffs do not specifically respond to the

Turquoise Defendants’ argument that the first two statements—i.e., that “key risks” were “well

understood and managed” and that “Turquoise is Well Positioned to Address Key Challenges”

—are inactionable. Dkt. No. 135 at 51–52 (only responding to question of whether Defendants’

“on track,” “on plan,” and “progressing well” statements were inactionable puffery). The Court

asked Plaintiffs at oral argument whether they intended to oppose Turquoise Defendants’

argument that these statements were not actionable, and Plaintiffs responded that they did not

“disagree [as to] some of those peripheral comments.” Transcript of Oral Argument (Aug. 25,

2022) at 86:9–24. Accordingly, Plaintiff has indicated that they do not oppose the Turquoise

Defendants’ motion to dismiss as to these two statements. Plaintiffs have therefore abandoned

their Section 10(b) claims with respect to these statements. See, e.g., Colbert v. Rio Tinto PLC,

2019 WL 10960490, at *3 (S.D.N.Y. July 29, 2019) (“It is well established that where a plaintiff

does not oppose a defendant’s argument with respect to an alleged misstatement, it has

abandoned its Section 10(b) claim in connection with th[e] misstatement.” (cleaned up));

DoubleLine Cap. LP v. Odebrecht Fin., Ltd., 323 F. Supp. 3d 393, 449 (S.D.N.Y. 2018)

(“Plaintiffs do not oppose this argument and have, therefore, abandoned their Section 10(b)

claim in connection with this misstatement.”); Black Lives Matter v. Town of Clarkstown, 354 F.

Supp. 3d 313, 328 (S.D.N.Y. 2018) (“[I]n their opposition to Defendants’ motions to dismiss,

Plaintiffs failed to address Defendant Sullivan’s claim that he is not personally involved. ‘The




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failure to oppose a motion to dismiss a claim is deemed abandonment of the claim.’” (quoting

Johnson v. City of New York, 2017 WL 2312924, at *18 (S.D.N.Y. May 26, 2017))). Plaintiffs’

Section 10(b) claims with respect to these statements are therefore dismissed.

       In their opposition, Plaintiffs do, however, contest Turquoise Hill’s argument that its

statement that things were “progressing well” was puffery. Dkt. No. 135 at 50–52. Plaintiffs

argue that such a statement cannot be puffery because it was made in response to analysts’

questions and investors’ concerns about the Oyu Tolgoi mine’s schedules and costs, and they

note that whether a representation is puffery depends on the context in which it is made. Dkt.

No. 135 at 51–52. Further, Plaintiffs argue that even if this statement is puffery, Defendants may

still be liable for such an expression of puffery if it is in tension with facts known to a defendant.

Dkt. No. 135 at 50–51.

       As to the second point, even if Plaintiffs are correct that statements of puffery may be

actionable if they contradict facts known to the defendant, Dkt. No. 135 at 50, Plaintiffs do not

point to any facts known to Turquoise Hill that clearly contradicted its statement that things were

progressing well. As noted infra Section IV.A, Plaintiffs do not sufficiently allege that

Turquoise Hill was aware of the true state of delays and cost overruns at the Mine. See In re

Diebold Nixdorf, Inc., Sec. Litig., 2021 WL 1226627, at *11 (S.D.N.Y. Mar. 30, 2021)

(“Critically, Plaintiff points to no data—such as documents, reports, analyses, etc.—suggesting

that Defendants’ statements regarding DN’s integration efforts were false or misleading when

made, let alone that Defendants knew of such data but made their representations anyway.”).

Therefore, assuming that such an exception exists, it does not apply here.

       As to Plaintiffs first point, Plaintiffs correctly note that “[w]hether a representation is

‘mere puffery’ depends, in part, on the context in which it is made.” In re Petrobras Sec. Litig.,




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116 F. Supp. 3d 368, 381 (S.D.N.Y. 2015); Arkansas Teacher Ret. Sys. v. Bankrate, Inc., 18

F.Supp.3d 482, 485 (S.D.N.Y.2014); U.S. Bank Nat. Ass’n v. PHL Variable Ins. Co., 2013 WL

791462, at *7 (S.D.N.Y. Mar. 5, 2013). Specifically, where the context makes it such that “a

reasonable investor could rely on them as reflective of the true state of affairs at the Company,”

courts in this District routinely hold that such statements will not be found to be inactionable

puffery. In re Petrobras Sec. Litig., 116 F. Supp. 3d at 381; see Villare v. Abiomed, Inc., 2021

WL 4311749, at *15 (S.D.N.Y. Sept. 21, 2021).

       Applying that principle, courts have found that statements that generally would be

puffery in one context are not puffery in another if made to reassure investors as to “specific

risks.” Washington State Inv. Bd. v. Odebrecht S.A., 461 F. Supp. 3d 46, 74 (S.D.N.Y. 2020);

see In re Banco Bradesco S.A. Sec. Litig., 277 F. Supp. 3d 600, 660 (S.D.N.Y. 2017); In re

Petrobras Sec. Litig., 116 F. Supp. 3d at 381. For example, in In re Banco Bradesco S.A.

Securities Litigation, the court found that while certain statements “may be mere puffery when

viewed in isolation, context shows they were made in an effort to reassure the investing public

about the Company’s integrity, specifically with respect to bribery, during a time of concern, and

that therefore ‘a reasonable investor could rely on them as reflective of the true state of affairs at

the Company.’” 277 F. Supp. 3d at 660 (quoting Petrobras, 116 F. Supp. 3d at 381). Similarly,

in Odebrecht S.A., the court held that defendant’s statements about its “competitive advantage”

“were made to reassure investors as to specific risks regarding international competition, and

accordingly they cannot be dismissed as ‘mere puffery.’” 461 F. Supp. 3d 46, 74; see Constr.

Laborers Pension Tr. for S. California v. CBS Corp., 433 F. Supp. 3d 515, 532 (S.D.N.Y. 2020)

(stating that a code of conduct, while generally inactionable puffery, “could be viewed as




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material statements of fact” where it is wielded “to reassure investors that nothing was amiss

when faced with suspicions of internal malfeasance”).

       This holding—i.e., that a statement that may be puffery in one context is not puffery

where it reassures investors as to specific risks—makes sense. A statement of mere puffery is

inactionable because it is “too general to cause a reasonable investor to rely upon [it].” Gross v.

GFI Grp., Inc., 784 F. App’x 27, 29 (2d Cir. 2019) (summary order). However, where a

company makes a statement in direct response to concerns raised by investors about a specific

risk, it is fair to read the statement in context. See In re Vivendi, S.A., 838 F.3d at 250

(statements must be read “together and in context”). The statement is no longer the general one

that all companies would make about their business or their integrity (and thus insufficient to

support the reasonable reliance of an investor on the statement as applied to the particular

company); it is a statement about a distinctive risk. A statement that a chief executive officer is

“law-abiding,” on its own may mean very little. Corporate officers are presumed to be law-

abiding; it would be an unusual company that was unwilling to say that about its officers

generally. The same statement, given in response to the question whether a particular officer

who was then under investigation for violating the law, could take on an entirely different

meaning altogether.

       Applying this reasoning, Turquoise Hill’s statement that “lateral development has

progressed well” is not puffery. Dkt. No. 127 ¶ 335. This statement was made in the same press

release that Turquoise Hill announced on October 15, 2018 that there would be a two to three

quarter delay in achieving sustainable production at OT. Id. ¶ 334. Specifically, the press

release announced:

       However, there are certain delays, most notably to the completion of Shaft 2, which
       includes schedule contingency, that are ultimately expected to result in a revised



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       sustainable production start from the first quarter of 2021 to late in the third quarter
       2021. We are undertaking a review of the cause and the impact of these delays and
       will announce the results as soon as possible.

                                                 ...

       Rio Tinto, in its role as manager of Oyu Tolgoi and underground construction
       contractor, has undertaken its second annual schedule and cost re-forecast for the
       project. According to this re-forecast, lateral development has progressed well,
       construction completion schedule remains on track for 2022 and the project is
       expected to be completed at the $5.3 billion budget estimate disclosed in the 2016
       Oyu Tolgoi Feasibility Study and the 2016 Oyu Tolgoi Technical Report.

Dkt. No. 127 ¶¶ 335–336 (emphasis added).

       As in In re Banco Bradesco S.A. Securities Litigation and Odebrecht S.A., the statement

that “lateral development has progressed well”—viewed in context—was addressed to the

particular concern of investors about the announced delay. Specifically, and in connection with

the statements directly surrounding it, Turquoise Hill’s statement about “progress” reassured

investors that construction related to the underground development was not substantially

impaired by any delay, a representation that a “reasonable investor could rely on [] as reflective

of the true state of affairs at the Company.” In re Petrobras Sec. Litig., 116 F. Supp. 3d at 381.

Accordingly, it cannot be dismissed as mere puffery. However, because Plaintiffs fail to allege

that Turquoise Hill acted with scienter about the underground development project’s delays, see

infra Section IV.A, Plaintiffs’ Rule 10b–5 claim with respect to this statement is nonetheless

dismissed.19




19
   The Court does not address whether this statement would nonetheless be protected as a
statement of opinion as Defendants do not move to dismiss this statement on that basis.


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       B.      Rio Tinto

       The Rio Defendants seek to dismiss the following two categories of statements as not

actionable either because they are forward-looking statements protected by the PSLRA’s safe

harbor, are inactionable statements of opinion, or are not material:

       (1) Statements that the project was “on track,” “on budget,” and would meet
       construction expectations; and

       (2) Statements that the OT underground development was the “Highest Quality
       Copper Development” in the world and “Progress[ing] Well.”

Dkt. No. 143 at 21–29 & App. A (Categories I, II, III, IV). The Rio Defendants also argue that

the Sarbanes-Oxley (“SOX”) certifications and risk disclosures are inactionable and that none of

the alleged misstatements were materially false or misleading. Id. at 29–34.

       1.      Statements that the project was “on track,” “on budget,” and would meet
               construction expectations

       The Complaint alleges that, similar to Turquoise Hill, Rio Tinto made several statements

through the Class Period that the OT project was “on track,” “on schedule,” and “on plan” and

that “[a]ll material assumptions underpinning these production targets continue to apply and have

not materially changed.” Dkt. No. 127 ¶¶ 324–372. The Complaint also alleges that Rio Tinto

represented that the “First drawbell production [was] expected mid-2020,” “with average annual

production of 560 thousand tonnes between 2025 and 2030,” and that “the main production shaft

(Shaft 2) is now expected to complete in October 2019.” Id. ¶¶ 323, 324, 329, 365, 371–372,

396. Similarly, Rio Tinto allegedly stated that a “$5.3 billion capex [was] projected” for the

project, the project remained “on budget,” and “capital costs remain in line with the overall $5.3

billion budget.” Id. ¶¶ 324–372.




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       Rio Tinto moves to dismiss Plaintiffs’ claims related to these statements, arguing that

they are protected by the PSLRA’s statutory safe harbor for forward-looking statements or,

alternatively, are statements of opinion or inactionable puffery. Dkt. No. 133 at 21–29.

       For the same reasons discussed supra Section III.A.1, these are all forward-looking

statements under the PSLRA. The vast majority of these statements either concern the projected

schedule for or future operations of the Mine and therefore are, under the PSLRA, “statement[s]

of the plans and objectives of management for future operations, including plans or objectives

relating to the products or services of the issuer,” 15 U.S.C. § 78u-5(i)(1)(B), or concern the

expected capital costs/budget of the project and are forward-looking statements “containing a

projection of . . . capital expenditures . . . or other financial items” under the PSLRA, 15 U.S.C.

§ 78u-5(i)(1)(A). See, e.g., Moshell, 481 F. Supp. 3d at 287 (finding schedule and capital

expenditure estimates to be forward-looking looking statements under these provisions of the

PSLRA); In re Barrick Gold Sec. Litig., 2015 WL 1514597, at *8 (same).

       Moreover, statements that project was “on track” and “on schedule,” that capital costs

remain “in line,” and “[a]ll material assumptions underpinning these production targets continue

to apply and have not materially changed” are similarly forward-looking statements under the

safe harbor. As explained in Section III.A.1, such statements are virtually indistinguishable from

the project projections of which they are part and, even if they implicitly assert a statement of

current fact, that assertion is too vague to be actionable separate from the future projection. See

Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d at 387 (“Courts within this Circuit have found

that statements which merely endorse or state the speaker’s belief in a certain future outlook

satisfy the PSLRA forward-looking requirement.”); In re Supercom Inc. Sec. Litig., 2018 WL

4926442, at *21 (“[W]hen the present-tense portion of mixed present and future statements does




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not provide specific information about the current situation, but merely says that, whatever the

present situation is, it makes the future projection attainable, the present-tense portion of the

statement is too vague to be actionable apart from the future projection.”); Gissin, 739 F. Supp.

2d at 505 (“[T]o the extent that there are assertions of current fact in the statements proffered as

fraudulent, they refer to the present only as a means for gauging future possibilities and, ‘when

read in context, cannot meaningfully be distinguished from the future projection of which they

are a part.’” (quoting Avaya, 564 F.3d at 255)).

        Because these statements are forward-looking, they are protected under the PSLRA safe

harbor if they are accompanied by meaningful cautionary language. See Wesco Aircraft

Holdings, Inc., 454 F. Supp. 3d at 385–86. Rio Tinto’s statements at issue are alleged to have

come largely from four sources: (i) Rio Tinto’s 2018 Annual Report filed as an exhibit to its

Form 20-F filed with the SEC; (ii) press releases filed as exhibits to Forms 6-K filed with the

SEC; (iii) presentations associated with earnings calls and other public presentations; and (iv) an

interview of Soirat on MBN World.

        The first three sources—i.e., Rio Tinto’s annual report, press releases filed as Forms 6-K

with the SEC, and public presentations—contained specific and extensive cautionary language.

See Slayton, 604 F.3d at 773. The annual report listed four pages of “principal risks and

uncertainties” that could “materially affect Rio Tinto or its ability to meet its strategic

objectives.” Dkt. No. 130-2 at 6. Those risks included: (i) “The Group’s ability to raise

sufficient funds for planned expenditure;” (ii) “operational difficulties through the value chain”;

(iii) operational failure; (iv) natural disasters; and (v) “[t]he inability to attract or retain key talent

[that] will constrain the Group’s ability to reach its goals within planned timeframes.” Id. at 6–9.

Moreover, as particularly relevant here, the annual report warned of the “inherent risk and




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uncertainty” of “[c]apital project development,” stating that the “[a] delay or overrun in a project

schedule could negatively impact the Group’s profitability, cash flows, ability to repay project-

specific indebtedness, asset carrying values, growth aspirations and relationships with key

stakeholders.” Id. at 7. The cautionary language therefore “convey[ed] substantive information

about factors that realistically could cause results to differ materially from those projected in the

forward-looking statement,” Wesco Aircraft Holdings, Inc., 454 F. Supp. 3d at 392 (quoting

Conference Report at 43, 1995 U.S.C.C.A.N. at 742), and directly “relate[d] to the risk that

brought about plaintiffs’ loss,” Halperin, 295 F.3d at 359.

       Rio Tinto’s press releases contained similarly substantive warnings about the risk that

results could differ materially from what was projected. The press releases stated:

       Such forward-looking statements involve known and unknown risks, uncertainties
       and other factors which may cause the actual results, performance or achievements
       of Rio Tinto, or industry results, to be materially different from any future results,
       performance or achievements expressed or implied by such forward-looking
       statements. Such forward-looking statements are based on numerous assumptions
       regarding Rio Tinto’s present and future business strategies and the environment in
       which Rio Tinto will operate in the future. Among the important factors that could
       cause Rio Tinto’s actual results, performance or achievements to differ materially
       from those in the forward-looking statements are levels of actual production during
       any period, levels of demand and market prices, the ability to produce and transport
       products profitably, the impact of foreign currency exchange rates on market prices
       and operating costs, operational problems, political uncertainty and economic
       conditions in relevant areas of the world, the actions of competitors, activities by
       governmental authorities such as changes in taxation or regulation and such other
       risk factors identified in Rio Tinto’s most recent Annual Report and Accounts in
       Australia and the United Kingdom and the most recent Annual Report on Form 20-
       F filed with the United States Securities and Exchange Commission (the "SEC") or
       Form 6-Ks furnished to, or filed with, the SEC. Forward looking statements should,
       therefore, be construed in light of such risk factors and undue reliance should not
       be placed on forward-looking statements. These forward-looking statements speak
       only as of the date of this announcement.

Dkt. No. 130-5 at 7 (emphasis added). Notably, the press releases warned investors of the

potential for performance or achievements “to differ materially from those in the forward-

looking statements,” including due to “operational problems.” Id. And the press releases


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directed investors to the risk factors identified in the Form 20-F filed with the SEC and therefore

incorporated those risk factors by reference. See Biovail Corp., 615 F. Supp. 2d at 233

(concluding that reference during conference call to risk disclosures in press release sufficient to

satisfy PSLRA safe harbor); In re Dynagas LNG Partners LP Sec. Litig., 504 F. Supp. 3d at 319

(“[C]onference calls both contained meaningful cautionary language about the nature of the

forward-looking statements . . . on the contemporaneously filed press releases, which were

incorporated by reference into the conference calls.”); Kinross Gold Corp., 957 F. Supp. 2d at

303 (determining cautionary language incorporated by reference “was more than sufficient to

bring it within the protection of the bespeaks caution doctrine”).

       Finally, Rio Tinto’s public presentations also contained meaningful cautionary language

warning investors about relying on the forward-looking statements contained therein. Plaintiffs’

presentations contained a “forward-looking statements” slide, which specifically warned that

“anticipated production or construction dates, costs, outputs and productive lives of assets or

similar factors” may vary depending on certain factors:

       Examples of forward-looking statements include those regarding estimated ore
       reserves, anticipated production or construction dates, costs, outputs and productive
       lives of assets or similar factors. Forward-looking statements involve known and
       unknown risks, uncertainties, assumptions and other factors set forth in this
       presentation. For example, future ore reserves will be based in part on market
       prices that may vary significantly from current levels. These may materially affect
       the timing and feasibility of particular developments. Other factors include the
       ability to produce and transport products profitably, demand for our products,
       changes to the assumptions regarding the recoverable value of our tangible and
       intangible assets, the effect of foreign currency exchange rates on market prices and
       operating costs, and activities by governmental authorities, such as changes in
       taxation or regulation, and political uncertainty.

       In light of these risks, uncertainties and assumptions, actual results could be
       materially different from projected future results expressed or implied by these
       forward-looking statements which speak only as to the date of this presentation.
       Except as required by applicable regulations or by law, the Rio Tinto Group does
       not undertake any obligation to publicly update or revise any forward-looking
       statements, whether as a result of new information or future events. The Group


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       cannot guarantee that its forward-looking statements will not differ materially from
       actual results.

Dkt. No. 130-4 at ECF p. 3. This slide contained “meaningful cautionary language that

identified with specificity the types of risks that might lead the estimates to be inaccurate” and

specifically identified “production or construction dates” and “costs” as forward-looking

statements that could “be materially different” from projections. See In re Barrick Gold Sec.

Litig., 2015 WL 1514597, at *8. Such language is sufficient to trigger the safe harbor under the

PSLRA.

       Yet, while the first, second, and third sources of Rio Tinto’s statements were

accompanied by meaningful cautionary language, the Rio Defendants do not address whether

similar cautionary language accompanied the fourth source of statements—i.e., television

interviews. As relevant here, Soirat allegedly stated during an interview on August 15, 2018 on

MBN World, a Mongolian news network, that the underground project was “on plan and on

budget.” Dkt. No. 127 ¶ 328. Defendants “carry the burden of demonstrating that they are

protected by the meaningful cautionary language prong of the safe harbor.” Slayton, 604 F.3d at

73. Because the Rio Defendants have not proffered any evidence that meaningful cautionary

language accompanied Soirat’s statements on MBN World, these forward-looking statements are

not entitled to protection under the PSLRA safe harbor on that basis.

       This, however, does not end the inquiry. The Rio Defendants also argue that the

statements that the project are “on plan and on budget” are entitled to the PSLRA safe harbor

because Plaintiffs have not adequately pled that the statements were not honestly believed when

they were made. Dkt. No. 131 at 25. In addition, the Rio Defendants argue that these statements

are inactionable statements of opinion and puffery and are not alleged to have been materially

false or misleading when made. Id. at 26–34.



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       As an initial point, for the reasons discussed in greater detail below, see infra Section

IV.B, Plaintiffs adequately pled that Soirat, prior to the Class Period, knew that the underground

development project was behind schedule and over budget. For example, Plaintiffs allege that

approximately one month prior to Soirat’s statement on MBN World, Bowley—who Soirat had

hired to investigate problems at the Mine—told Soirat’s direct report, Fagen, who had acted as

his intermediary in the past, that the project was “12 months behind schedule” and “$300 mill

capital over budget,” numbers that were expected to “rapidly escalate.” Dkt. No. 127 ¶ 143.

Plaintiffs also allege that in May 2018, Soirat instructed Bowley to stop looking into delays and

cost overruns at OT and that Bowley was later fired after continuing to report his concerns to

Soirat. Id. ¶¶ 143, 281–282. These allegations, along with others, sufficiently raise the inference

that Soirat had “actual knowledge” that his statements on MBN World that the project was “on

plan and on budget” were false or misleading when made.

       That is fatal to the Rio Defendants’ arguments that: (i) the statements are entitled to the

PSLRA safe harbor under the actual knowledge prong, see Wesco Aircraft Holdings, Inc., 454 F.

Supp. 3d at 385 (explaining that third prong only applies where plaintiff “fails to prove that [the

forward-looking statement] was made with actual knowledge that it was false or misleading”

(quoting Slayton, 604 F.3d at 766)); and (ii) are inactionable statements of opinion, see

Omnicare, 575 U.S. at 185–86 (holding that liability for a statement of opinion will follow “if

the speaker did not hold the belief she professed”).

       What is left is whether these statements—i.e., that the underground project was “on plan

and on budget”—were inactionable puffery. A statement of puffery is a “statement that is so

vague, broad, and non-specific that a reasonable investor would not rely on it.” Villare v.

Abiomed, Inc., 2021 WL 4311749, at *13 (internal quotation marks and citation omitted).




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“Whether a representation is ‘mere puffery’ depends, in part, on the context in which it is made.”

Doe v. Uber Techs., Inc., 551 F. Supp. 3d 341, 368 (S.D.N.Y. 2021) (quoting In re Petrobras

Sec. Litig., 116 F. Supp. 3d at 381). Accordingly, while “simple economic projections” are

generally not actionable, they may be actionable “if they are worded as guarantees or are

supported by specific statements of [then-existing] fact.” Villare, 2021 WL 4311749, at *13

(quoting In re Adient plc Sec. Litig., 2020 WL 1644018, at *22); see also In re Int’l Bus.

Machines Corp. Sec. Litig., 163 F.3d 102, 107 (2d Cir. 1998). The key inquiry in deciding

whether a statement constitutes puffery is “the nature of the specific statement and whether it

concretely assured investors of anything.” Villare, 2021 WL 4311749, at *13 (quoting Lopez v.

Ctpartners Exec. Search Inc., 173 F. Supp. 3d 12, 29 (S.D.N.Y. 2016)).

       Applying these principles, Soirat’s statements that the underground project was “on plan

and on budget” were not puffery. According to the allegations in the Complaint, Rio Tinto had

publicly announced on numerous prior occasions that the first draw bell would be in mid-2020,

first production would be obtained in early 2021, and the total capital development cost for the

Mine would be $5.3 billion. See, e.g., Dkt. No. 127 ¶¶ 7, 16, 78. In that context, Soirat’s

statements that the underground project was on plan and on budget were specific, as they related

to those earlier projections and confirmed their ongoing accuracy. These statements implicitly

confirmed that the OT underground project was still able to meet its production target in early

2021 and that the underground development project was projected to be at or under budget. A

reasonable investor therefore could have relied on these statements in assessing an investment in

OT through Turquoise Hill, including as to whether the Mine’s copper production was likely to

begin “just as copper prices” were expected to “ris[e].” Dkt. No. 127 ¶ 77.




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       That these statements that the project was “on plan” and “on budget” were made in the

context of prior specific statements about what that budget and schedule plan were distinguishes

this from In re EDAP TMS S.A. Securities Litigation, which the Rio Defendants cite. 2015 WL

5326166, at *9–10 (S.D.N.Y. Sept. 14, 2015). Although there, the court found that statements

indicating that the Food and Drug Administration (“FDA”) approval process was “on track” and

making continued “progress” were inactionable puffery, there were no allegations that the

defendants had guaranteed or predicted FDA approval by a certain date. Id. at *9–10.20

       Thus, while the remaining statements discussed above are dismissed as protected by the

PSLRA safe harbor, Rio Defendants’ request to dismiss Plaintiffs’ Rule 10–5 claims with respect

to this August 15, 2018 statement is denied.

       2.      Statements that the OT underground development was the “Highest Quality
               Copper Development” in the world and “Progress[ing] Well”

       In a footnote, the Rio Defendants argue that Plaintiffs’ claims related to certain

statements that Oyu Tolgoi was the “highest quality copper development” in the world and

“progress[ing] well” are inactionable puffery or, in the alternative, statements of opinion that are

not alleged to be false when made. Dkt. No. 131 at 28 n.27 (citing Dkt. No. 127 ¶¶ 365, 372).

       Plaintiffs, however, do not address these statements in their opposition, nor do they allege

that they were false or misleading in their Complaint. Dkt. No. 127 ¶¶ 365–368, 372–373

(mentioning that Rio Tinto made these statements but not specifically alleging that they were

false or misleading).21 Thus, assuming that Plaintiffs even intended to raise Rule 10b–5(b)


20
   Defendants also cite Elliott Associates, L.P. v. Covance, Inc., 2000 WL 1752848 (S.D.N.Y.
Nov. 28, 2000) in support of this argument; however, in that case there was no allegation that the
merger discussions were not “on track” when made. Id. at *10.
21
   Although Plaintiff allege that Rio Tinto’s statement that the underground project was
“proceeding well” was materially false and misleading, this statement was made in Rio Tinto’s
Year-End Results in 2018, see Dkt. No. 127 ¶¶ 371, 373, and is different from Rio Tinto’s
statement that the underground project “Progressed well in 2018” in its written presentation


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claims with respect to any of these statements, those claims do not pass muster under the PSLRA

as the Complaint does not “specify each statement alleged to have been misleading” and “the

reason or reasons why the statement is misleading.” 15 U.S.C. § 78u–4(b)(1).

       3.      SOX certification

       The Complaint alleges that the Sarbanes-Oxley (“SOX”) certification included in Rio

Tinto’s 2018 Form 20-F and executed by Jacques was false and misleading. Dkt. No. 127 ¶ 412.

The Rio Defendants move to dismiss this claim. Dkt. No. 131 at 29–30.

       The SOX certification signed by Jacques represented that: “Based on my knowledge, this

report does not contain any untrue statement of a material fact or omit to state a material fact

necessary to make the statements made, in light of the circumstances under which such

statements were made, not misleading with respect to the period covered by this report.” Rio

Tinto plc, (Form 20-F, Ex. 12.1) (Mar. 4, 2019).22 This SOX certification “contained an

important qualification that the certifying officer’s statements are true based on his knowledge.”

Das v. Rio Tinto PLC, 332 F. Supp. 3d 786, 812 (S.D.N.Y. 2018) (cleaned up) (quoting Menaldi

v. Och-Ziff Cap. Mgmt. Grp., 277 F. Supp. 3d 500, 517 (S.D.N.Y. 2017)). As will be discussed,

infra Section IV.B, Plaintiffs do not sufficiently allege that Jacques possessed the requisite

scienter as to the delays and cost overruns at the Mine, “undermin[ing] the allegations that [he]

knew that the SOX certifications were false.” Id. (quoting Menaldi, 277 F. Supp. 3d at 517).

Moreover, “[t]he law in this District is clear and uniform that [] SOX certifications do not

provide a stand-alone basis for liability.” Rosi v. Aclaris Therapeutics, Inc., 2021 WL 1177505,



concerning its 2018 annual results, see id. ¶ 372. And Defendants do not appear to move to
dismiss Plaintiffs’ claim on the basis of the statement that the underground project was
“proceeding well.” See Dkt. No. 131 at 28 n.27 & 131-1 (Appendix A).
22
   The Court takes judicial notice of this SEC filing. See In re Nine W. LBO Sec. Litig., 482 F.
Supp. 3d at 203.


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at *21 (S.D.N.Y. Mar. 29, 2021). Therefore, the SOX certification is not actionable. See Aclaris

Therapeutics, Inc., 2021 WL 1177505, at * 21; Chapman, 466 F. Supp. 3d at 410.

       4.      Risk disclosures

       Defendants also move to dismiss Plaintiffs’ claims that the risk disclosures contained in

Rio’s 2017 and 2018 annual reports and Forms 20-F were false and misleading. Dkt. No. 127

¶¶ 420–424. The key risk disclosure that Plaintiffs point to is Rio’s risk disclosure providing

that: “A delay or overrun in a project schedule could negatively impact the Group’s profitability,

cash flows, ability to repay project-specific indebtedness, asset carrying values, growth

aspirations and relationship key stakeholders.” Id. ¶ 421. Plaintiffs allege that such a disclosure

was misleading as Rio failed “to disclose to investors that there were catastrophic undisclosed

engineering, construction, and procurement problems at Oyu Tolgoi that caused significant

delays and cost overruns in the construction of the underground project at the time they were

made.” Id. ¶ 424.

       Although Defendants acknowledge that a risk disclosure can itself be a material

misrepresentation” “where the company warns only that a risk may impact its business when that

risk has already materialized,” Dkt. No. 131 at 30 (citing In re Coty Inc. Sec. Litig., 2016 WL

1271065, at *10 (S.D.N.Y. Mar. 29, 2016)), Defendants nonetheless argue that the “Complaint

does not adequately allege that the Defendants knew of and attempted to conceal any irreparable

delays or cost overruns that had materialized at the time the risk disclosures were issued,” id.

However, as discussed infra Section IV.B, Plaintiffs do sufficiently allege that Rio knew of

delays or cost overruns shortly before the Class Period and, instead of trying to fix them or

disclose them to investors, attempted to silence those who spoke out about them. The Court

therefore rejects Defendants’ request to dismiss this claim on this basis.




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       5.      Falsity of the statements

       The Rio Defendants also contend that Plaintiffs do not sufficiently plead that their

statements were actually false or misleading when made. Dkt. No. 131 at 30. Specifically, the

Rio Defendants contend that the Complaint does not sufficiently allege: (i) specific facts

regarding the delays and cost overruns; (ii) that their statements regarding the date of the first

draw bell were false; (iii) that the October 2018 re-forecast was false; (iv) that construction

issues with Shaft 2 were not disclosed to the market in October 2018; and (v) that Defendants

falsely attributed delays to ground conditions. The Rio Defendants also contend that Plaintiffs’

attempt to establish falsity in March 2019 based on an impairment charge disclosed on July 31,

2019 is classic pleading-by-hindsight. Id. at 30–34.

       First, contrary to the Rio Defendants’ contention, Plaintiffs allege sufficient specific facts

that demonstrate that, by the beginning of the Class Period, the project was significantly behind

schedule and over budget, problems that were only expected to get worse. Plaintiffs specifically

allege that Bowley—who had been hired to investigate problems at the Mine—determined,

shortly before the Class Period, that the project was twelve months behind schedule and $300

million over budget, numbers that they should expect “to rapidly escalate.” Dkt. No. 127 ¶ 151.

Another former employee who was the surface construction manager at OT allegedly stated that

when he left the project in May 2018, it was $2 billion over budget and at least a year and a half

behind schedule, facts which were documented in cost and schedule reports. Id. ¶ 158. Plaintiffs

also allege that Defendants’ independent consultant determined in 2017 that there was a mere 2%

chance that the schedule would be met and a month later a 0% chance, id. ¶ 312, and, despite

being warned about the delays and cost overruns, Defendants made no effort to get either the

budget or schedule back on track, see id. ¶¶ 160–161. Further, Plaintiffs allege that, as per a

report from Jacobs (OT’s key contractor) to Rio’s senior management, the Shaft 2 project—as of


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August 2018—was behind the original plan by approximately 14%—a fact that confirmed the

project was fourteen months behind schedule and was approximately $750 million over budget.

Id. ¶ 273.

       Second, the Rio Defendants correctly state that the SAC does not sufficiently allege that

their statements regarding the date of the first draw bell were false. As the Rio Defendants note,

while the 2017 Broadleaf analysis stated that the then-schedule for the first draw bell (which was

April 26, 2020) had a 2% chance of being completed on time, Defendants only represented

during the Class Period that the draw bell was projected for “mid-2020”—a sufficiently broad

timeframe that allowed for a completion date after April 26, 2022. Dkt. No. 131 at 31.

Moreover, after the 2018 Broadleaf report suggested that there was no chance of a May 2020

first draw bell, Plaintiffs allegedly transferred costs and projects related to the major

infrastructure of Shaft 2 to secondary phases, which allowed them to maintain the mid-2020

schedule for the first draw bell. On October 15, 2018, Defendants publicly disclosed what they

had done, noting that the projected draw bell date was maintained because OT management had

changed the “draw bell sequencing strategy.” Dkt. No. 127 ¶¶ 17, 169, 336 (“First draw bell

remains on track for mid-2020, partly due to a change in the draw bell sequencing strategy.”).

These facts do not allege falsity. Instead, these facts support that the Rio Defendants updated

their projected schedule for the first draw bell in line with new information and, at one point,

changed how they measured the draw bell schedule, which they then disclosed to the market.

Although Plaintiffs respond that the re-sequencing was ineffectual and intended to conceal OT’s

true status, Dkt. No. 135 at 44 n.16, Plaintiffs do not actually claim that the re-sequencing of the

draw bell schedule, which was publicly disclosed, was misleading or false. See id. (citing Dkt.

No. 127 ¶¶ 165–173, 300).




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       Third, the Court rejects the Rio Defendants’ argument that Plaintiffs do not sufficiently

allege that the October 2018 re-forecast was fraudulent except in hindsight. Dkt. No. 131 at 31.

On October 16, 2018, Rio Tinto announced an underground development “re-forecast,”

disclosing a two-quarter delay to sustainable first production, but it continued to note that capital

costs remain in line with the overall $5.3 billion budget. Dkt. No. ¶ 175. Contrary to

Defendants’ contention, Plaintiffs do not rely on inferences of fraud by hindsight. As detailed

above, Plaintiffs allege sufficient facts that prior to the reforecast the OT project was already

recognized to be a year behind schedule and several hundreds of millions of dollars over budget,

figures that were only anticipated to get worse. Dkt. No. 127 ¶¶ 151, 158, 160–161, 273, 312.

Accordingly, Plaintiffs sufficiently allege that the re-forecast was false or misleading as it did not

account for the true extent of the delays and cost overruns at that time.

       Fourth, Plaintiffs do not appear to contest the Rio Defendants’ argument that they cannot

be liable for concealing issues with Shaft 2 after Rio explicitly disclosed in an October 16, 2018

Form 6-K that “shaft sinking challenges” would push back the date of the first sustainable

production. Dkt. No. 131 at 32. Plaintiffs have therefore conceded this issue as to any claim

based solely on a failure to disclose those issues with Shaft 2 after October 16, 2018. See VWR

Int’l, LLC, 2021 WL 1165077, at *20 (“Plaintiff does not directly respond to this argument in its

opposition briefing, and the Court will consider this point conceded.”); Syniverse Techs., Inc.,

2014 WL 4412392, at *7 (“Perhaps recognizing the futility of contesting this issue, AT & T did

not even discuss it in its opposition brief. AT & T’s silence concedes the point.”).23



23
   The Rio Defendants in a footnote also state that Plaintiffs do not sufficiently allege that Rio’s
statement in July 2018 that “the shaft five ventilation system has been fully commissioned and is
now operational” was false based solely on allegations that the heating unit for OT was not
functional. Dkt. No. 131 at 32 n.28 (citing Dkt. No. 127 ¶ 307). The Rio Defendants state: “the
fact that the heating unit was not yet functional is a separate issue that does not render Rio’s


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       Fifth, the Rio Defendants’ argument that Defendants’ statements attributing delays to

ground conditions were not false because ground conditions did, in part, account for delays and

cost overruns mistakes the allegations in the Complaint. Plaintiffs do not allege that ground

conditions had no involvement in the delays. See, e.g., Dkt. No. 127 ¶ 341 (“The ICG Report

confirms that ‘ground conditions’ or geotechnical issues were not a significant contributor to the

schedule delays and cost overruns at Oyu Tolgoi.” (emphasis added)); id. (“[T]hese statements

were false and misleading because the undisclosed true 12- to 18-month delay and associated

cost overruns were not driven by geotechnical issues.”). Instead, they argue that these statements

were false and misleading as they implied that the delays and cost overruns were primarily

caused by ground conditions when they were actually primarily caused by engineering,

procurement, and constructions problems in Shaft 2. Id. “Even when there is no existing

independent duty to disclose information, once a company speaks on an issue or topic, there is a

duty to tell the whole truth.” See Jinkosolar, 761 F.3d at 250. The Court therefore denies the

request to dismiss the claim based on these statements on this basis.24




statement about Shaft 5 false or misleading.” Id. But this argument oversimplifies the alleged
relationship between Shaft 5 and the heating unit. The Complaint alleges that “Shaft 5 could not
properly perform its ventilation function” (which was Shaft 5’s principal function) without the
“CHP heating unit.” Dkt. No. 127 ¶¶ 91, 311. Accordingly, the Complaint plausibly states if the
heating unit were not functional, Shaft 5 would not be operational, and the July 2018 statement
was false or misleading.
24
   The Court, however, agrees with the Rio Defendants that Jacques’s response on a February 27,
2019 investor conference call to an investor question directly about the “concerns around ground
conditions,” Dkt. No. 131 at 33 n.29; Dkt. No. 127 ¶ 379, is not actionable as false or
misleading. Jacques was asked a specific question, which he answered. “The requirement to be
complete and accurate [] does not mean that ‘by revealing one fact . . . one must reveal all others
that, too, would be interesting . . . but means only such others, if any, that are needed so that
what was revealed would not be so incomplete as to mislead.” In re Bristol Myers Squibb Co.
Sec. Litig., 586 F. Supp. 2d 148, 160 (S.D.N.Y. 2008) (citation omitted); see Finger v. Pearson
PLC, 2019 WL 10632904, at *11 (S.D.N.Y. Sept. 16, 2019).



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        Finally, the Court agrees with Defendants that Plaintiffs’ have failed to plead a violation

based on a failure to take an impairment charge. Dkt. No. 131 at 33; see Dkt. No. 127 ¶ 374.

“Failure to take an impairment charge” may constitute securities fraud “when the need to write-

down the asset was so apparent to the defendant before the announcement, that a failure to take

an earlier write-down amounts to fraud.” City of Sterling Heights Police & Fire Ret. Sys. v.

Vodafone Grp. Pub. Ltd. Co., 655 F. Supp. 2d 262, 268–69 (S.D.N.Y. 2009) (quoting Caiafa v.

Sea Containers Ltd., 525 F. Supp. 2d 398, 410 (S.D.N.Y. 2007) (internal quotation marks and

alteration omitted)). To sufficiently plead a violation due to a failure to take an impairment

charge, the complaint must generally show, at a minimum, “the amount by which certain assets

should have been written down” and “when the write-down[ ] should have occurred.” Vodafone,

655 F. Supp. 2d at 269 (citing Caiafa, 525 F. Supp. 2d at 410–11 & 411 n.10); see also In re

Adient plc Sec. Litig., 2020 WL 1644018, at *23 (finding failure to plead facts with particularity

because “[w]hile Plaintiffs allege that Adient should have written down an additional impairment

charge for long-lived assets in the second quarter of 2018, when the Company took the

impairment charge for goodwill, they nonetheless do not allege ‘the amount by which certain

assets should have been written down’”); Caiafa, 525 F. Supp. 2d at 411 & n.10 (dismissing

claim based on failure to take an impairment charge because “the Complaint fails to state the

basis for its book-value allegations and fails to specify the amounts by which the ferries and

containers were allegedly overvalued”). “When the impairments became so severe as to require

specific accounting charges, and whether the requirements of the accounting principles were

satisfied, necessarily involved issues of judgment.” In re Loral Space & Commc’ns Ltd. Sec.

Litig., 2004 WL 376442, at *17 (S.D.N.Y. Feb. 27, 2004). The eventual decision to impair an




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asset does not itself provide an actionable basis to claim that the failure to do so earlier was

fraudulent. See In re Adient plc Sec. Litig., 2020 WL 1644018 at *24.

       Although Plaintiffs plead generally that the failure to take an impairment was “materially

false and misleading because the project was impaired and had been since before the Class

Period,” Dkt. No. 127 ¶ 375, and allege the amount of the write-down ultimately taken, id. ¶ 240,

they do not specifically allege when those write downs “should have occurred.” In re Adient plc

Sec. Litig., 2020 WL 1644018 (stating that this must be pled at a “minimum”). Moreover,

Plaintiffs fail to allege sufficient facts to show that an “earlier impairment charge was so clearly

required by accounting principles that the failure to take such a charge was fraudulent.” See In

re Loral Space & Commc’ns Ltd. Sec. Litig., 2004 WL 376442, at *17. That Plaintiffs would

later take an impairment that was disclosed on July 31, 2019 does not change this analysis. See

Stevelman v. Alias Research Inc., 174 F.3d 79, 84 (2d Cir. 1999) (“Mere allegations that

statements in one report should have been made in earlier reports do not make out a claim of

securities fraud.” (citation omitted)); Lopez, 173 F. Supp. 3d at 40 (“The fact of a later

correction, made a short time after an initial statement is made, does not connote that that [sic]

the Company’s earlier statement about its earnings expectations was false or misleading when

made.” (citation omitted)).

IV.    Inference of Scienter

       Defendants also contend that Plaintiffs have failed to sufficiently plead scienter.

       As mentioned above, to plead scienter sufficiently under the PSLRA, a plaintiff must

allege “with particularity facts giving rise to a strong inference that the defendant acted with the

required state of mind.” JP Morgan Chase Co., 553 F.3d at 198 (quoting 15 U.S.C. § 78u–

4(b)(2)). The scienter required under Section 10(b) and Rule 10b–5 to sustain a private civil

claim is an “an intent to deceive, manipulate or defraud.” Kalnit v. Eichler, 264 F.3d 131, 138


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(2d Cir. 2001) (quoting Ganino, 228 F.3d at 168). Recklessness may also suffice to plead

scienter for securities fraud in the Second Circuit. See JP Morgan Chase Co., 553 F.3d at 198.

       To create a strong inference, the inference of scienter must be “more than merely

plausible or reasonable—it must be cogent and at least as compelling as any opposing inference

of nonfraudulent intent.” Id. (citation omitted). In assessing whether this inference exists, courts

consider both the inferences urged by plaintiffs as well as any reasonable competing inferences

drawn. Id. “Moreover, the facts alleged must support an inference of an intent to defraud the

plaintiffs rather than some other group.” Id.

       “A plaintiff may establish scienter by alleging facts that either (1) show that the

defendant had both the ‘motive and opportunity’ to commit the alleged fraud, or (2) constitute

‘strong circumstantial evidence of conscious misbehavior or recklessness.’” Francisco v.

Abengoa, S.A., 559 F. Supp. 3d 286, 317 (S.D.N.Y. 2021) (quoting JP Morgan Chase Co., 553

F.3d at 198). A strong inference of scienter through “motive and opportunity” will only be

raised where plaintiffs allege that defendants “benefitted in some concrete and personal way

from the purported fraud.” JP Morgan Chase Co., 553 F.3d at 198 (quoting Novak v. Kasaks,

216 F.3d 300, 307–08 (2d Cir. 2000)). “Motives that are common to most corporate officers,

such as the desire for the corporation to appear profitable and the desire to keep stock prices high

to increase officer compensation, do not constitute ‘motive’ for purposes of this inquiry.” Id.

(quoting Novak, 216 F.3d at 307). If plaintiffs do not make this showing of “motive and

opportunity,” they may adequately allege scienter through the circumstantial evidence prong

misbehavior “‘though the strength of the circumstantial allegations must be correspondingly

greater’ if there is no motive.” Id. (quoting Kalnit, 264 F.3d at 142).




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       A.      Turquoise Defendants

       The Turquoise Defendants contend that the Complaint does not raise a strong inference

either that they had motive and opportunity to commit the fraud or that they had knowledge of

contrary facts about the cost overruns and delays at OT. Dkt. No. 133 at 20–32.

       1.      Motive and opportunity

       With respect to motive and opportunity, the Turquoise Defendants argue that Plaintiffs

fail to allege that either Quellmann, Lane, Colton, or Turquoise Hill stood to benefit in any

concrete and personal way from the alleged fraud. Dkt. No. 133 at 37.

       Plaintiffs respond that “Defendants were highly motivated to conceal the project’s

problems from the Mongolian Government in light of the fact that disclosing them would

provide the government with leverage to renegotiate the terms of the OT partnership.” Dkt. No.

135 at 68. Plaintiffs also imply that the Turquoise Defendants were motivated to conceal issues

to avoid inquiries by the Mongolian government into the Mine and because of the Turquoise

Defendants’ “deep personal commitments to the OT project,” and that Quellmann was personally

motivated to conceal the problems as they posed great risk to him. Id. at 68–69 n.31, 84. In

support of the latter point, Plaintiffs point to allegations in the Complaint that, beginning in

March 2018, Swiss and Mongolian government prosecutors initiated a criminal corruption

investigation into the Mongolian government officials responsible for negotiating the core

agreements related to OT and, in connection with those investigations, arrested and jailed several

top government officials. Id.; see also Dkt. No. 127 ¶¶ 194–196.

       The Complaint does not sufficiently allege that the Turquoise Defendants had motive and

opportunity to commit the alleged fraud. Every corporate executive presumptively has a

commitment to the projects in which he or she is engaged that could be characterized generally

as personal. Plaintiffs do not allege that Quellmann, Lane, or Colton had any personal stakes in


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the OT project short of those that would be possessed by every other corporate executive. The

desire to conceal problems from the Mongolian government to prevent a potential renegotiation

of the OT agreement—which would presumably reduce potential profits to Turquoise Hill—

ultimately reduces to just a “desire for the corporation to appear profitable and the desire to keep

stock prices high to increase officer compensation.” JP Morgan Chase Co., 553 F.3d at 198. As

the Second Circuit has held, such allegations do not constitute “motive” for purposes of the

scienter inquiry for a Rule 10b–5 private cause of action. Id.; see also Inter-Loc. Pension Fund

GCC/IBT v. Gen. Elec. Co., 445 F. App’x 368, 370 (2d Cir. 2011) (summary order).

       Similarly, the desire to avoid an inquiry by the Mongolian government into the status of

the Mine does not separate the motives here from those “that are common to most corporate

officers.” JP Morgan Chase Co., 553 F.3d at 198. Plaintiffs do not allege that Quellmann, Lane,

or Colton personally feared prosecution from the Swiss or Mongolian governments or that their

individual conduct was being investigated or how an investigation into the circumstances under

which a contract was awarded could create peril with respect to how the project was executed.

The motive to avoid governmental inquiry can be ascribed to any company—every corporate

executive would prefer that his or her company not be investigated whether the investigation is

justified or not. At a minimum, investigations can distract management; few companies invite

them. See In re Sanofi-Aventis Sec. Litig., 2009 WL 3094957, at *7 (S.D.N.Y. Sept. 25, 2009)

(stating that proffered motive of concealing information to avoid increased scrutiny by regulatory

body may be ascribed to any pharmaceutical company). The allegations that the Turquoise

Defendants desired to avoid an investigation are therefore “too generalized to demonstrate

scienter.” Kalnit, 264 F.3d at 139.




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       Plaintiffs’ allegations that the Turquoise Executive Defendants had “deep personal

commitments to the OT project” and that Quellmann was personally motivated to conceal

information out of fear of potential criminal action also are not sufficient to satisfy Plaintiff’s

burden to plead scienter. In support of their contention that the Turquoise Executive Defendants

had “deep personal commitments,” Dkt. No. 135 at 84, Plaintiffs cite to paragraph 135 in the

SAC, which does not mention Turquoise Hill or the Turquoise Executive Defendants. Dkt. No.

127 ¶ 135. The allegation regarding deep personal commitments thus is entirely conclusory.

And with regard to Plaintiffs’ allegations about Quellmann, while it may be true that certain

senior officials in the Mongolian government were arrested in connection with a corruption

investigation, Plaintiffs tellingly do not allege facts that Quellmann was involved in such conduct

or that would support a reasonable inference that Quellmann himself feared he would be

investigated.25

       2.         Circumstantial evidence of misbehavior or recklessness

       The Turquoise Defendants argue that Plaintiffs also fail to sufficiently allege

circumstantial evidence of scienter. Specifically, the Turquoise Defendants contend that the

Complaint contains no allegations that the Turquoise Defendants—as opposed to the Rio

Defendants—were aware of information that would have indicated to them that the relevant


25
   Defendants also allege that the fact that Quellmann bought stock in Turquoise Hill during the
relevant period negates scienter as to him and asks the Court to take judicial notice of the SEC
form detailing these purchases. Dkt. No. 133 at 29–30 & n.20. Plaintiffs respond that this
argument ignores that (i) Defendant Quellmann was required under his employment agreement
to purchase stock and (ii) Defendant Quellmann “did not have any shares to sell except those he
was required to purchase as a result of his sign-on bonus and shareholding requirement.” Dkt.
135 at 87. Because the Court concludes that Plaintiffs have insufficiently pled motive and
opportunity with respect to Quellmann, regardless of his stock purchases, the Court does not
need to decide whether the stock purchases alone negate scienter. In re Fannie Mae 2008 Sec.
Litig., 891 F. Supp. 2d 458, 477 (S.D.N.Y. 2012) (stock purchases “only address a motive and
opportunity theory of scienter, not a recklessness theory.” (internal quotation marks and citation
omitted)).


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statements they planned to make about OT were false. Dkt. No. 133 at 20. The Turquoise

Defendants note that by Plaintiffs’ own allegations, Turquoise Hill relied on “Rio Tinto, the

project manager, for information and updates concerning the progress of the underground

development, and—as TRQ specifically informed the markets—essentially all of TRQ’s

disclosures consisted of information that the project manager provided.” Dkt. No. 133 at 20; see

also Dkt. No. 127 ¶¶ 52–55.

       Plaintiffs respond that the following allegations in the Complaint raise a strong inference

of the Turquoise Defendants’ conscious misbehavior or recklessness: (1) that the OT Board (on

which all of the Turquoise Executive Defendants sat) approved a $120 million budget increase

for Jacobs, the primary contractor for underground expansion at OT, in August 2018; (2)

Quellmann, Colton, and Lane, as part of their duties, regularly visited the Mine; (3) Quellmann’s

prior positions at Rio Tinto, including serving as a member of the OT Project Executive from

August 2016 to February 2018, gave him access to information about OT; (4) Quellmann,

Colton, and Lane allegedly stated throughout the Class Period that they were “plugged in” and

had “visibility” into what was going on at OT; and (5) the Turquoise Defendants were high-level

executives at a company whose sole asset was OT and sat on the Board of Directors of OT. Dkt.

No. 135 at 64, 71–72.

       “Where a plaintiff seeks to plead scienter by alleging conscious misbehavior or

recklessness, the complaint must ‘allege[ ] that defendants . . . had access to non-public

information contradicting their public statements.’” Wilbush v. Ambac Fin. Grp., Inc., 271 F.

Supp. 3d 473, 485 (S.D.N.Y. 2017) (quoting In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 76

(2d Cir. 2001)). “[W]here plaintiffs contend defendants had access to contrary facts, they must

specifically identify the reports or statements containing this information.” 445 Freight Div.




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Pension Fund v. Dynex Cap. Inc., 531 F.3d 190, 196 (2d Cir. 2008) (quoting Novak, 216 F.3d at

309); see In re Adient plc Sec. Litig., 2020 WL 1644018, at *27 (concluding that scienter was

insufficiently pled where plaintiffs “fail to show what ‘specific contradictory information’ was

available to any Defendant at the time they made any alleged false or misleading statement”).

As the courts have made clear, contrary facts may also be learned in other ways, including

through observation. See, e.g., In re Aphria, Inc. Sec. Litig., 2020 WL 5819548, at *9 (S.D.N.Y.

Sept. 30, 2020).

       Here, Plaintiffs’ Complaint is devoid of allegations of specific “facts, reports, or

statements” that the Turquoise Defendants had access to and which contained information

contrary to Turquoise Hill’s public disclosures. Pirnik v. Fiat Chrysler Autos., N.V., 2017 WL

3278928, at *3 (S.D.N.Y. Aug. 1, 2017) (quoting Wyche v. Advanced Drainage Sys., Inc., 2017

WL 971805, at *14 (S.D.N.Y. Mar. 10, 2017), aff’d, 710 F. App’x 471 (2d Cir. 2017)). While

Plaintiffs allege that, as OT Board members, the Turquoise Executive Defendants were aware of

a large budget increase for OT’s primary contractor in August 2018 (at the beginning of the

Class Period), Plaintiffs fail to specify exactly “how said information ‘contradicted Defendants’

public statements,’ as is required to show scienter.” Maloney v. Ollie’s Bargain Outlet Holdings,

Inc., 518 F. Supp. 3d 772, 781 (S.D.N.Y. 2021) (quoting In re Adient plc Sec. Litig., 2020 WL

1644018, at *28). And this inference is not clear on the face of the Complaint: A $120 million

budget increase for the Mine’s primary contractor would not necessarily indicate to members of

the Board that the project—with an over-$5.3 billion budget—would necessarily incur cost

overruns. Cf. Nat’l Gen. Holdings Corp., 2021 WL 212337, at *9 (finding lack of scienter, in

part, because “Plaintiffs have not alleged that the CPI scorecard or business review decks

included any specific information detailing, for example, an unusually high number of customer




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complaints or an abnormally low number of claims payments.”). Similarly, Plaintiffs’

allegations that Quellmann, Colton, and Lane regularly visited the Mine do not specifically

identify any “contrary facts” that these defendants would have observed or had access to on these

visits or, even for that matter, when those visits occurred. Such “broad allegations” are

insufficient to demonstrate scienter. Maloney, 518 F. Supp. 3d at 781 (“As for the allegations

that Ollie’s executives regularly assessed company inventory, courts have routinely dismissed

similar claims as too vague to support an inference of scienter.” (citation omitted)); see also Gen.

Elec. Co., 445 F. App’x at 370 (finding “vague and general averments” that executives had

access to “real-time customer and sales information” insufficient to demonstrate scienter);

Schaffer v. Horizon Pharma PLC, 2018 WL 481883, at *12 (S.D.N.Y. Jan. 18, 2018)

(concluding that regular visits by the executives to the pharmacies was insufficient to establish

scienter as “there are no allegations that any of the Individual Defendants ever knew or observed

any of the abuses”). Plaintiffs’ allegations that Quellmann’s role at Rio Tinto from August 2016

to February 2018 would have given him “access to and reviewed all relevant documentation”

concerning OT—without more—are similarly too general to support an inference of scienter.

Dkt. No. 127 ¶ 42; see also Gen. Elec. Co., 445 F. App’x at 370; Maloney, 518 F. Supp. 3d at

781. Although Plaintiffs allege that certain individuals at Rio Tinto started to be aware of

potential delays and cost overruns at OT prior to February 2018, see, e.g., Dkt. No. 127 ¶ 109–

111, Plaintiffs never allege that these individuals directly reported to or told Quellmann about

these issues or that Quellmann had access to reports or statements detailing these issues.26



26
   Plaintiffs also note that the Turquoise Executive Defendants would have had access to
progress reports on Shaft 2 that were provided to OT’s CEO; however, Plaintiffs do not plausibly
allege why reports sent to an executive at OT would necessarily have been available to
Turquoise Hill executives. Dkt. No. 135 at 80. Accordingly, this allegation does not support a
finding of scienter.


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       To make up for their lack of allegations that the Turquoise Executive Defendants had

access to contrary facts, Plaintiffs argue that the Turquoise Executive Defendants’ admissions

throughout the Class Period that they were “plugged in” and had “visibility,” combined with the

significance of the problems at OT, necessarily means that they would have been aware of the

contrary facts at issue. Dkt. No. 135 at 72–73. But while such facts undoubtedly weigh in favor

of a finding of scienter, courts have repeatedly found that such allegations alone are not

sufficient. See, e.g., Nat’l Gen. Holdings Corp., 2021 WL 212337, at *11 (holding that scienter

not sufficiently alleged where plaintiffs argued that defendants “privy to information about the

nature and scope of the CPI program because they were hands-on executives of a company that

conducted due diligence and held meetings—before which certain documents were

disseminated—regarding the CPI program”); Maloney, 518 F. Supp. 3d at 781 (finding

allegations “that Ollie’s executives were ‘tight-knit’ and ‘hands-on,’ and therefore must have

been aware ‘of the critical inventory and supply chain issues [Ollie’s] was experiencing during

the Class Period’” were insufficient to show that defendants had access to contrary information).

       Instead, Plaintiff must allege “what specific contradictory information the makers of the

statements had and the connection (temporal or otherwise) between that information and the

statements at issue.” In re Adient plc Sec. Litig., 2020 WL 1644018, at *28 (quoting In re

Lululemon Sec. Litig., 14 F. Supp. 3d 553, 581 (S.D.N.Y. 2014)). Allegations of Defendants’

specific contrary facts are particularly necessary, here, where the allegations relate to an

underground development project being built at a slower rate than scheduled and being

overbudget—facts that would not necessarily have been plainly visible to someone vising the

Mine—and where Plaintiffs fail to allege that Defendants had a motive and opportunity to




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commit securities fraud.27 See Nat’l Gen. Holdings Corp., 2021 WL 212337, at *11 (“Without

showing motive, their uphill battle to plead a strong inference of scienter becomes that much

steeper.”).

        The cases Plaintiffs cite are not to the contrary. For example, in In re Salix

Pharmaceuticals, Ltd., 2016 WL 1629341 (S.D.N.Y. Apr. 22, 2016), while the court noted that

defendants’ alleged statements that they had “accurate knowledge of Salix’s wholesale inventory

levels” as well as the allegations that the process of discerning Salix’s true inventory levels was

straightforward and weighed in favor of scienter, the court also based its decision as to scienter

on plaintiffs’ allegations that one of the individual executive defendants had direct access to

internal reports that included accurate data on Salix’s wholesale inventory levels. Id. at *14.

Similarly, in New Orleans Employees Retirement System v. Celestica, Inc., 455 F. App’x 10, 13–

14 (2d Cir. 2011) (summary order), the complaint included statements from confidential

witnesses stating that they had provided information about rising inventory levels (which was

contrary to the company’s public statements) directly to the executive defendants. See In re

IMAX Sec. Litig., 587 F. Supp. 2d 471, 483 (S.D.N.Y. 2008) (finding allegations of scienter to be

sufficient where plaintiff alleged “existence of extensive documentation indicating the progress

of theater system installations and the IMAX defendants’ knowledge of, or access to, those




27
   Plaintiffs allege that one former employee who worked at OT from October 2016 to May 2017
said that “lack of progress would have been obvious to any TRQ or Rio Tinto leadership who
toured the site.” Dkt. No. 127 ¶ 109. However, the Complaint does not allege how the employee
would have been in a position to know what would have been obvious to leadership and does not
explain why the progress of an underground mine would have been obvious to anyone touring
the site. See Novak, 216 F.3d at 314 (“[T]here is no requirement that [sources] be named,
provided they are described in the complaint with sufficient particularity to support the
probability that a person in the position occupied by the source would possess the information
alleged.”). An inference of scienter based on this comment is therefore “less cogent than” the
“nonculpable explanations for the defendant’s conduct.” Tellabs, 551 U.S. at 314.

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documents”); City of Providence v. Aeropostale, Inc., 2013 WL 1197755, at *18 (S.D.N.Y. Mar.

25, 2013) (detailing “all this information” to which the defendants had access).28

       The Turquoise Defendants’ “high-level positions” also do not cure Plaintiffs’ failure to

allege the contrary facts to which Defendants had access. Lipow v. Net1 UEPS Techs., Inc., 131

F. Supp. 3d 144, 163 & n.11 (S.D.N.Y. 2015). Plaintiffs’ argument appears to invoke the “core

operations doctrine,” which courts in this District have held has been thrown into doubt by the

enactment of the PSLRA in 1995. In re Rockwell Med., Inc. Sec. Litig., 2018 WL 1725553, at

*14 (S.D.N.Y. Mar. 30, 2018) (Sullivan, J.) (“Under the core operations theory, if a plaintiff can

plead that a defendant made false or misleading statements when contradictory facts of critical

importance to the company either were apparent, or should have been apparent, an inference

arises that high-level officers and directors had knowledge of those facts by virtue of their

positions with the company.” (internal quotation marks and citation omitted)). “As a result of

these doubts as to the doctrine’s continuing import, the core operations inference may be

considered as part of a court’s holistic assessment of the scienter allegations, but it is not

independently sufficient to raise a strong inference of scienter.” Id. (cleaned up). Therefore,




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   Several of the cases Plaintiffs cite are also distinguishable because the court found that the
plaintiffs had adequately plead that the defendants possessed motive and opportunity to commit
the fraud. See, e.g., Fresno Cnty. Employees’ Ret. Ass’n v. comScore, Inc., 268 F. Supp. 3d 526,
551 (S.D.N.Y. 2017) (finding sufficient inference of scienter where plaintiffs plausibly alleges
that the individual 10(b) defendants “had the motive and opportunity to overstate comScore’s
revenues”); Citiline Holdings, Inc. v. iStar Fin. Inc., 701 F. Supp. 2d 506, 516 (S.D.N.Y. 2010)
(finding that plaintiffs successfully alleged that defendants had a particularized motive to commit
the fraud). And Shenk v. Karmazin, 867 F. Supp. 2d 379 (S.D.N.Y. 2011) is distinguishable
because, in that case, the executive defendants merely had to follow the logical chain of what
they already knew in order to recognize the falsity of the company’s statements. Id. at 387
(finding that the Sirius executive defendants “could have easily uncovered the falsity” of Sirius’s
statements that the merger would result in lower prices since they knew at that time that the
“combined debt of the merged entities” would create a need to raise revenues, requiring them in
turn to increase prices).

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Plaintiffs’ high-level positions in the company and their positions as board members at OT do

not, standing alone, raise a strong inference of scienter in this case. See Police & Fire Ret. Sys.

of the City of Detroit v. SafeNet, Inc., 645 F. Supp. 2d 210, 234 (S.D.N.Y. 2009) (“Courts may

not infer scienter ‘solely from the fact that, due to the defendants’ board membership or

executive managerial position, they had access to the company’s internal documentation as well

as any adverse information.’” (quoting In re Winstar Commc’ns, 2006 WL 473885, at *7

(S.D.N.Y. Feb. 27, 2006)).

       That the allegations of scienter with respect to the Turquoise Defendants are insufficient

is further bolstered by the “competing inferences rationally drawn from the facts alleged.”

Tellabs, 551 U.S. at 314 (“[T]o determine whether a complaint’s scienter allegations can survive

threshold inspection for sufficiency, a court . . . must engage in a comparative evaluation; it must

consider, not only inferences urged by the plaintiff, . . . but also competing inferences rationally

drawn from the facts alleged.”). Contrary to the notion that Turquoise Hill sought to trick

investors, the allegations of the Complaint, as a general matter, create an inference that

Turquoise Hill was largely at the behest of Rio Tinto in what information was provided to it

about OT and that Rio kept secret the reality of OT’s cost overruns and schedule delays.

According to the Complaint, Rio, through RTIH, managed and exercised “near-total control”

over the underground development project at OT. Dkt. No. 127 ¶ 53.

       In addition, if the allegations in the Complaint are credited, Rio had no motive or reason

to share information with Turquoise Hill if it was bad news, and if Rio was engaged in a massive

fraud, every reason not to share that information. The April 2012 agreement required Turquoise

Hill to make statements consistent with the information provided by Rio Tinto. If Rio Tinto

wanted to control Turquoise Hill’s statements, it was in its interest to limit the access to




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information of the Turquoise Hill officers and directors. The only way that Turquoise Hill could

make statements contrary to the information provided by Rio Tinto’s was if it determined that

such statements were required under the applicable Securities Laws. Turquoise Hill Resources

LTD, General Statement of Acquisition of Beneficial Ownership - Amendment (Form SC

13D/A) (Apr. 20, 2012). Thus, Rio Tinto—if it knew the information it was reporting was

different from the “true” information— would have every reason not to share that “true”

information with Turquoise Hill. Not only would doing so expand improvidently the number of

persons knowledgeable about the fraud (and able to reveal it to others); it would have given

Turquoise Hill both the opportunity and the obligation not to repeat Rio Tinto’s false

information. Indeed, the Complaint itself also includes a sworn statement from Bowley in which

he states that: “Despite repeating those concerns about schedule delay and cost overrun and

proposing solutions, Rio Tinto made no disclosure of the true facts to their partners and investors

or the market.” Id. ¶ 262 (emphasis added).

       Plaintiffs also argue that even if they cannot sufficiently plead the scienter of the

individual executives, the facts sufficiently allege that Turquoise Hill itself had corporate

scienter. Dkt. No. 135 at 64 n.27. In support of this argument, Plaintiffs cite to the Second

Circuit’s decision in Dynex. Id. In Dynex, the Second Circuit held that “[t]o prove liability

against a corporation, of course, a plaintiff must prove that an agent of the corporation

committed a culpable act with the requisite scienter, and that the act (and accompanying mental

state) are attributable to the corporation.” 531 F.3d at 195. It stated that “[i]n most cases, the

most straightforward way to [allege this] will be to plead [scienter] for an individual defendant.”

Id. The court continued, however, that exceptions exist—for example, if a company “announced

that it had sold one million SUVs in 2006, and the actual number was zero,” there “would be a




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strong inference of corporate scienter, since so dramatic an announcement would have been

approved by corporate officials sufficiently knowledgeable about the company to know that the

announcement was false.” Id. at 195–96 (quoting Makor Issues & Rts., Ltd. v. Tellabs Inc., 513

F.3d 702, 710 (7th Cir. 2008)). The Second Circuit has since stated that this exception applies

only in “exceedingly rare instances,” where a statement is “so ‘dramatic.’” Jackson v. Abernathy,

960 F.3d 94, 99 (2d Cir. 2020) (quoting Dynex, 531 F.3d at 195–96).

       While, under this exception, a Plaintiff is excused from proving that a particular

identified corporate official knew the statement was false, it is not satisfied by the factual

allegations here. The facts here, are not as glaring as those discussed in Dynex: the underground

development project was underground and, unlike the sales in Dynex, was not scheduled to be

completed for multiple years. The fact that it was running hundreds of millions of dollars behind

budget and months behind schedule thus would not at any particular moment be as apparent as

the fact that a company which would be expected to sell nearly 100,000 SUVs in a particular

month had sold none. Moreover, it is apparent from the example in Dynex that Plaintiff must

still plead allegations that some corporate official would have “know[n] that the announcement

was false.” Dynex, 531 F.3d at 195; see also Silvercreek Mgmt., Inc. v. Citigroup, Inc., 248 F.

Supp. 3d 428, 440 (S.D.N.Y. 2017) (noting that the example in Dynex “makes clear the

requirement of some connection at the corporation between a misstatement and the requisite

quantum of knowledge of its falsity (in the example, by requiring someone with the required

knowledge to approve the misstatement)”). While this pleading requirement may be relatively

easy to meet for so “dramatic an announcement” in most companies, such as General Motors,

where the corporate executives are involved in the management of the company and would

almost certainly know that millions of SUVs were not being sold, it is less intuitive, here, where




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Plaintiffs allege that corporate executives at Turquoise were not responsible for the day-to-day

management of the Mine and largely received information about the Mine from Rio. In such a

case, it is entirely plausible that the corporate officials would have known only what Rio Tinto

was reporting to them. Accordingly, the Complaint does not raise a strong inference that some

corporate official at Turquoise Hill would have “know[n] that the announcement was false.”

Dynex, 531 F.3d at 195. This “exceedingly rare” exception thus does not apply. Abernathy, 960

F.3d at 99.29

        For these reasons, Plaintiffs fail to raise a strong inference of scienter on the part of the

Turquoise Defendants. Plaintiffs thus cannot state a claim under Section 10(b) or Rule 10b–5,

and those claims against the Turquoise Defendants must be dismissed.

        B.      Rio Defendants

        The Rio Defendants similarly argue that the Complaint does not allege that the Rio

Defendants had a unique motive to defraud the market and contains no particularized allegations

that the Rio Defendants knew that their statements were false when made. Dkt. No. 131 at 34–

45.

        1.      Motive and opportunity

        The Rio Defendants argue that Plaintiffs fail to allege that that the Rio Executive

Defendants possessed any unique motive to defraud the market. Dkt. No. 131 at 34–35.

Plaintiffs allege that the Jacques and Soirat were incentivized to defraud the market in order to:

(i) avoid a renegotiation of the terms of the OT partnership by the Mongolian government; (ii) to


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  That Quellmann and Colton signed SOX certifications that were purportedly false and
misleading, Dkt. No. 127 ¶¶ 411–413, does not change this conclusion. See Nat’l Gen. Holdings
Corp., 2021 WL 212337, at *10 (“Without adequately alleging Defendants’ actual knowledge of
the illegal CPI scheme, ‘SOX certifications do not support an inference of scienter as to any
Defendant.’” (citation omitted)); Das v. Rio Tinto PLC, 332 F. Supp. 3d 786, 816 (S.D.N.Y.
2018).


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avoid potential criminal and civil liability in connection with investigations into OT by the

Mongolian government; and (iii) to promote their own careers. Dkt. No. 127 ¶¶ 194, 279–280,

295–296.

       These allegations of motive and opportunity against the Rio Defendants are insufficient

for the same reasons that they were insufficient against the Turquoise Defendants. See supra

Section IV.A.1. The desire to maintain the profitability of the investment and to avoid

governmental and regulatory scrutiny are neither concrete nor personal to the defendants and are

common to all corporate officers. See JP Morgan Chase Co., 553 F.3d at 198; see also Kinross

Gold Corp., 957 F. Supp. 2d at 295 (“[T]he motives of increased compensation and to assure that

the company completed its announced initiatives are common to corporate officers.”); In re

Sanofi-Aventis Sec. Litig., 2009 WL 3094957, at *7 (finding that a desire to avoid regulatory

scrutiny was too generalized a motive to establish scienter). Similarly, every corporate officer is

incentivized to maximize a core asset of her company in order to benefit her career. See JP

Morgan Chase Co., 553 F.3d at 201 (“If scienter could be pleaded solely on the basis that

defendants were motivated because an inflated stock price or improved corporate performance

would increase their compensation, ‘virtually every company in the United States that

experiences a downturn in stock price could be forced to defend securities fraud actions.’”). For

these reasons, Plaintiffs have not sufficiently pled the Rio Defendant’s scienter through motive

and opportunity.

       2.      Circumstantial evidence of misbehavior or recklessness

       The Rio Defendants also claim that the Complaint fails to state particularized facts

establishing that Jacques or Soirat were aware that any of their statements were false; therefore,

Plaintiffs cannot establish that any of the Rio Defendants acted with scienter. Dkt. No. 131 at

35–36 & n.31. Plaintiffs respond that the Complaint includes “overwhelming” evidence that


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Jacques and Soirat were aware of contrary facts prior to making their statements. Dkt. No. 131

at 62–73. Specifically, Plaintiffs note that the Complaint refers to statements from Rio’s former

employees and contractors about Soirat’s and Jacques’s knowledge about issues at the Mine

prior to the dates they made the allegedly false statements at issue, as well as various reports that

Soirat and/or Jacques received—prior to the statements at issue—on delays and cost overruns at

OT. Id. Plaintiffs also contend that the Complaint’s allegations about Defendants’ retaliation

against whistleblowers supports a strong inference of fraud. Id.

       With regard to Soirat, the Complaint contains a number of allegations relevant to

scienter: approximately one year prior to the Class Period, Soirat, in conjunction with Kinnell,

hired Bowley, a veteran Oyu Tolgoi contractor, to examine the problems at OT; Bowley was told

that he was hired to tell them “the truth about how bad the situation was.” Dkt. No. 127 ¶¶ 111–

112, 114. The SAC alleges that, upon being hired, Bowley soon recognized that the problems,

particularly concerning the lead contractor on the project as well as engineering problems in the

Shaft 2 headframe, would lead to significant schedule and cost overruns without intervention.

Id. ¶¶ 115–121. Accordingly, on February 1, 2018 (months prior to the Class Period), Bowley

reported concerns related to “cost overruns, schedule delays, and Shaft 2 problems” to Rio’s

senior leadership in London, which included Fagen, who reported directly to Defendant Soirat.

Bowley also stated that Fagen “participated in the meeting on behalf of Soirat” and “reported the

substance of the meeting to Defendant Soirat.” Id. ¶ 142. Moreover, Bowley allegedly

“continued to follow up with Defendant Soirat and Fagen about the need for immediate action to

address the cost overruns and delays” and stated that “both of them were aware of the problems

at OT.” Id. ¶ 143. Bowley also allegedly discussed “the problems facing the expansion” with

Defendant Soirat for an hour in May 2018, id. ¶ 143, and he continued to report these problems




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to Fagen and Soirat, including writing on July 19, 2018: “Latest update. 12 months behind

schedule. $300mill capital over budget. Expect this to rapidly escalate,” id. ¶ 143, as well as

repeatedly emailing Fagen about the inaccurate “re-forecast,” see Dkt. No. ¶¶ 166–167. The

Complaint also includes a screenshot of an email from Fagen to Bowley on July 3, 2018—in

response to Bowley’s email related to OT stating “[t]he realization and magnitude of what is

happening is starting to dawn I think on a few”—in which Fagen stated: “Oh don’t worry, we’ve

known it from the start, just haven’t been able to do anything about it. Arnaud [Soirat] has

played a very card [sic] here, which is why you now see ‘things’ surfacing.” Id. ¶¶ 149–150.

        Plaintiffs also allege that in May 2018, Soirat instructed Bowley to stop looking into

delays and cost overruns at OT and, according to Bowley (who was present at the meeting and

presumably in a position to form the lay opinion) Soirat “seemed to be saying that he knew that

there was a big problem with the project but he did not want anyone else to know this.” Id.

¶¶ 281–282. Around this time, Rio instructed Bowley to not come to work, even while he was

kept on Rio’s payroll, and then eventually Bowley was fired in June 2019 without any reason.

Id. ¶ 282.

       The SAC also alleges that Soirat professed in an interview on November 10, 2018 that

“he spent one week every month at Oyu Tolgoi.” Id. ¶ 289. Soirat also allegedly sat on the OT

Board of Directors throughout the Class Period, id. ¶ 50, and he received reports from Rio

Tinto’s executive coaching consultant prior to March 2017, which included reports and concerns

from senior leaders in Mongolia about unethical behavior and “potential overstatements” at OT

in 2016. Id. ¶ 133.

       These allegations, taken collectively, create a strong inference that Soirat knew facts that

contradicted Rio Tinto’s statements that the project was “on plan,” “on budget,” and




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“progressing nicely,” including at the time that he appeared on MBN World on August 15, 2018.

See Tellabs, 551 U.S. at 323 (The inquiry is whether “all of the facts alleged, taken collectively,

give rise to a strong inference of scienter, not whether any individual allegation, scrutinized in

isolation, meets that standard.”). The allegation that Soirat hired Bowley to look into the

problems at OT—over a year before the Class Period—creates a clear inference that Soirat was

aware of the potential existence of problems at OT and valued Bowley’s opinions and ability to

properly assess what was going on at OT. The allegations also support the inference that Soirat

soon learned about that truth—i.e., that the project was months behind schedule and had

significant cost overruns—from Bowley who allegedly reported his concerns over schedule

delays and cost overruns directly to Soirat and, more specifically, to Soirat’s direct report, Fagen.

See Freudenberg v. E*Trade Fin. Corp., 712 F. Supp. 2d 171, 198 (S.D.N.Y. 2010) (“Moreover,

additional direct conversations with Individual Defendants, meetings at which Individual

Defendants were present, and visits by Individual Defendants to EGAM demonstrate their access

to and actual knowledge of facts which contradicted their public statements.”). As alleged, by

July 19, 2018 (only a month before Soirat’s interview on MBN World), Soirat told Fagen that the

project was “12 months behind schedule” and $300mill capital over budget.” Dkt. No. 127

¶ 143.

         The inference of fraudulent intent is further supported by allegations that Soirat warned

Bowley to stop looking into the delays in May 2018 and attempted to sideline Bowley, id. ¶ 206,

as well as allegations that Bowley was terminated one month after emailing Fagen, again

warning her of the delays, which Fagen responded that she would report to Soirat. Id. ¶¶ 219,

222. These allegations create a strong inference that Soirat actively attempted to conceal the

truth about the delays and cost overruns. As courts hold in the employment context, a




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whistleblower complaint “closely followed in time by the adverse [employment] action” creates

an inference that the complaint was a motivating factor in the adverse employment decision. See

Gorman-Bakos v. Cornell Coop. Extension of Schenectady Cnty., 252 F.3d 545, 554 (2d Cir.

2001). Here, too, Bowley’s firing shortly after his concerns were reported to Soirat creates an

inference that the firing was made in retaliation for Bowley’s whistleblowing. These allegations

directly rebut Rio Defendants’ argument that the Complaint fails to allege anything more than a

disagreement among staff regarding whether the project could reach its budget and scheduling

goals. Dkt. No. 131 at 46.

       Allegations that Soirat claimed to spend one week every month at Oyu Tolgoi and sat on

the Board of Directors further support this inference of scienter. According to the allegations in

the Complaint, knowledge of delays and cost overruns at OT were no secret. See, e.g., Dkt. No.

127 ¶ 124 (“Everyone was always talking about the underground delays and overruns. It was a

permanent fact. It was a surprise to no one”). As a result, Soirat’s significant involvement in

overseeing the project—although not alone sufficient to establish scienter—bolsters the inference

that Soirat would have been aware of these delays and overruns. See Maloney, 518 F. Supp. 3d

at 781 (“[E]vidence of a hands-on management style may support an inference of scienter.”); In

re Salix Pharms., Ltd., 2016 WL 1629341, at *14 (concluding that Defendants’ claims that they

had “accurate knowledge of Salix’s wholesale inventory levels” supported inference of scienter).

       Rio Tinto’s arguments to the contrary are not persuasive. First, Rio Tinto argues that the

Complaint does not adequately allege scienter as it largely relies on the opinions of former

employees that scheduling delays and cost overruns were well known and, thus, Defendants must

have been aware of them. Dkt. No. 131 at 36. This argument, however, misstates the allegations

of the Complaint. As noted above, while allegations that scheduling delays and cost overruns




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were well-known bolster the inference of scienter here, the Complaint contains many

allegations—detailed above—that directly connect Soirat to information about the cost overruns

and delays at OT inconsistent with his public statement. Moreover, the relevant inquiry is not

whether individual pieces of evidence on their own create a strong inference of scienter, but

whether “all of the facts alleged, taken collectively, give rise to a strong inference of scienter.”

See Tellabs, 551 U.S. at 32.

       Second, Rio Tinto argues that Plaintiffs cannot adequately allege Soirat’s scienter by

alleging that, Fagen, his subordinate, had information, without alleging facts supporting the

conclusion that the subordinates relayed that information to the Soirat. Dkt. 131 ¶ 131. But the

rule Rio Tinto asks the Court to adopt is too categorical.30 Although a plaintiff must allege facts

supporting the inference that the executive in question received the contrary information, such

facts need not come from any eyewitness or a fly on the wall. They can also come in the form of

allegations supporting that the information and the context were such that the executive would

have had to be informed. Plaintiffs have alleged such facts. The allegations support the

inference that Fagen would have kept Soirat informed of what she learned about delays and cost

overruns at the Mine. Plaintiffs allege that Soirat was one of the two individuals who hired

Bowley to look into the problems at OT. Dkt. No. 127 ¶¶ 111–112, 114. Bowley was hired on a

matter of importance. And Bowley made regular—and alarming—reports back. Id. ¶¶ 14, 115,

141-52. It is natural to infer that Fagen would report what she learned from Bowley about the



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   The cases Rio Tinto cites in support of this proposition do not establish such a blanket rule and
all are distinguishable from the facts here. See Menkes v. Stolt-Nielsen S.A., 2005 WL 3050970,
at *11 (D. Conn. Nov. 10, 2005) (concerning whether allegations of subsidiary company
knowledge were sufficient to support conclusion that this information was then relayed to
holding company management); In re Marsh & Mclennan Cos., Inc. Sec. Litig., 501 F. Supp. 2d
452, 484 (S.D.N.Y. 2006) (finding that subordinates’ implication in fraud does not mean
supervisors knew of their involvement).


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concerning problems back to Soirat. The allegations of the Complaint make it hard to believe

that Fagen could responsibly do otherwise.

       Moreover, the SAC directly supports the inference that Fagen frequently reported her

conversations about cost overruns and schedules delays at OT back to Soirat. For example, after

Bowley wrote to Fagen on December 10, 2018 stating that Rio Tinto could only ignore the truth

for so long “before it will slap us in the face properly along with GOM and other TRQ

shareholders,” Fagen responded: “Hi Richard I hear you!!!! I will have a discussion with Arshad

[Sayed] and Arnaud [Soirat] – again!” Id. ¶ 219 (emphasis added). Fagen’s use of the word

“again” indicates that she had reported similar concerns to Soirat in the past, and that she would

have the conversation once more.

       Finally, Rio Tinto argues that the fact that Soirat hired Bowley to look into the progress

of the OT project once he knew about the delays at OT actually weakens allegations of his

scienter. Dkt. 131 at 44. This argument gets the allegations in the Complaint backward:

Plaintiffs do not principally rely on what Soirat knew prior to hiring Bowley in support of their

allegations of scienter, but instead rely on what Soirat learned about delays and cost overruns

after hiring Bowley to investigate, which Soirat is alleged to have then fraudulently concealed

from investors.

       Accordingly, Plaintiffs have successfully pled scienter as to Soirat and therefore have

also pled corporate scienter as to Rio Tinto. See Dynex, 531 F.3d at 195 (“In most cases, the

most straightforward way to raise [an inference of scienter] for a corporate defendant will be to

plead it for an individual defendant.”); Plumbers & Pipefitters Loc. Union No. 630 Pension-

Annuity Tr. Fund v. Arbitron Inc., 741 F. Supp. 2d 474, 491 (S.D.N.Y. 2010).




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       The Complaint, however, does not raise a strong inference of scienter with respect to

Jacques. The majority of Plaintiffs’ allegations relating to Jacques’s scienter relate to knowledge

that Jacques would have had about the status of the Mine in 2017, see e.g., Dkt. No. 127 ¶¶ 10,

133 (2017 reports received from executive leadership consultant); id. ¶¶ 11, 137 (2017 meeting

with intermediary for Jacques); id. ¶ 278 (statement by former employee, who left position at OT

in March 2017, that Jacques was fully informed about the status of the mine). While these

allegations may support that Jacques knew about delays at the Mine in 2017, they do not

necessarily support the inference that Jacques knew, at the beginning of the Class Period—i.e.,

an entire year later—that progress at the underground development was still delayed and had not

gotten back on track. Not only does the SAC not allege that delays in 2017 were so significant

that the project had no chance of getting back on track, but it actually supports the opposite

inference: the SAC alleges that on February 1, 2018, Bowley made a presentation on cost

overruns, schedule delays, and Shaft 2 problems “and how to fix them,” indicating that, at that

point, these problems were able to be remedied through “immediate action.” Id. ¶¶ 141–143; see

Tellabs, 551 U.S. at 323 (“[T]he court must take into account plausible opposing inferences.”).31

       The SAC also includes allegations that beginning in October 2018, Jacques received

weekly progress reports showing that the underground project was three months behind

schedule, which he demanded because he was so concerned about the delays, id. ¶ 105, and

alleges that Bowley emailed Jacques on April 2, 2019 telling Jacques how behind schedule the




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  The Complaint also alleges that: “According to Duffy, when Defendant Jacques made a
surprise visit to Oyu Tolgoi in January 2018, it was because by that time, he knew the ‘wheels
were coming off’ of the project.” Id ¶ 12. Not only is this allegation not specific enough as to
what Jacques knew about OT to support scienter, but the Complaint also alleges that Duffy
resigned and terminated his firm’s contract with Rio in December 2017, id ¶ 138, and so does not
support that Duffy would know the information alleged.


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project was, id. ¶¶ 228, 277. But, again neither of these allegations support a strong inference of

scienter, as shortly after this information was provided to Jacques, Rio Tinto made updated

disclosures, announcing further delays. See id. ¶¶ 174 (October 16, 2018 re-forecast announcing

that sustainable first production could be delayed by two quarters); 396 (announcing further

delays on April 16, 2019).

       The Complaint’s allegations that Jacques and Jacques’s subordinates received various

reports on the status and causes of delays prior to the Class Period also do not raise a strong

inference of scienter. While Plaintiffs allege that Jacques’s subordinates were informed of the

true status and causes of the delays at the Mine, id ¶¶ 96, 161, 277, Plaintiffs do not allege facts

supporting an inference that these subordinates would have reported what they learned up to

Jacques. To the contrary, the Complaint supports the allegation that individuals associated with

Rio Tinto were advised not to report information about the problems at the Mine to Jacques. See

id. ¶ 11 (“During that meeting, Duffy repeated his concerns about the problems he was hearing

about Oyu Tolgoi to Kirikova—but was told by Kirikova this was information that Defendant

Jacques would not appreciate, and that Duffy would regret reporting it to him.”). In addition, as

to the reports that were allegedly sent and reviewed by Jacques, the Complaint fails to allege

when Jacques would have received them and whether it was before or after Rio Tinto’s alleged

false statements. See id. ¶ 277; see also Frankfurt-Tr. Inv. Luxemburg AG v. United Techs.

Corp., 336 F. Supp. 3d 196, 222 (S.D.N.Y. 2018), aff’d sub nom. Kapitalforeningen Lægernes

Inv. v. United Techs. Corp., 779 F. App’x 69 (2d Cir. 2019) (dismissing complaint where

“[t]here are no descriptions of when these reports would have been provided to the Executive

Defendants”).




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       Finally, as discussed above in relation to the Turquoise Executive Defendants, Jacques’s

senior position at Rio Tinto, the significance of the OT asset to Rio Tinto, as well as Plaintiffs’

conclusory that scheduling delays and cost overruns were well-known are insufficient, without

more, to allege that Jacques possessed the requisite scienter. See, e.g., Maloney, 518 F. Supp. 3d

at 781; In re Rockwell Med., Inc. Sec. Litig., 2018 WL 1725553, at *14; Shemian v. Rsch. In

Motion Ltd., 2013 WL 1285779, at *16 (S.D.N.Y. Mar. 29, 2013) (Sullivan, J.) (“[M]ere

assertions that defendants must have been aware of informants’ concerns are insufficient to

establish that defendants were aware of those concerns. Such allegations simply do not establish

reckless disregard or scienter.”), aff’d, 570 F. App’x 32 (2d Cir. 2014).

V.     Scheme Liability Claims

       Plaintiffs allege that the Defendants are liable under Rule 10b–5(a) and Rule 10b–5(c) for

engaging in deceptive and manipulative acts in a scheme to defraud investors. “To state a claim

for scheme liability, a plaintiff must present facts showing ‘(1) that the defendant committed a

deceptive or manipulative act, (2) in furtherance of the alleged scheme to defraud, (3) with

scienter, and (4) reliance.’” Menaldi, 277 F. Supp. 3d at 517 (quoting In re Alstom SA, 406 F.

Supp. 2d at 474). On that theory, even a defendant who is not a “maker” under Janus could be

liable for a misstatement, and plaintiff would not have to show that the “maker” itself had

scienter. “Scheme liability claims are subject to the PSLRA pleading standard with respect to

scienter.” Id.

       A.        Rio Tinto

       Plaintiffs allege that the Rio Defendants are liable under the Supreme Court’s decision in

Lorenzo v. Securities & Exchange Commission, 139 S. Ct. 1094 (2019), for disseminating false

information through Turquoise Hill and engaging in other deceptive conduct. Dkt. No. 127

¶ 451; see Dkt. No. 135 at 36. The Rio Defendants contend that scheme liability is not


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appropriate in this case as scheme liability claims may not be premised solely on alleged

misstatements and omissions by the defendant. The Rio Defendants also contend that Plaintiffs

do not allege reliance with respect to their allegedly deceptive conduct. Dkt. No. 131 at 19–21.

       The Supreme Court’s decision in Lorenzo and the Second Circuit’s recent decision in

Securities and Exchange Commission v. Rio Tinto plc, 41 F.4th 47, 53 (2d Cir. 2022) answer the

question whether the deceptive or manipulative act for purposes of scheme liability may be

premised solely on alleged a misstatement or omission. In Lorenzo, the Supreme Court

addressed whether those who do not strictly “make” statements,” but who “disseminate false or

misleading statements to potential investors with the intent to defraud, can be found to have

violated” Rule 10b–5(a) and 10b–5(c). 139 S. Ct. at 1099. In that case, Francis Lorenzo, a

director of investment banking at an SEC-registered brokerage firm, sent emails (at the behest of

his boss)32 to prospective investors that described a potential investment in a company. Id. The

description contained false statements about the assets of the company and Lorenzo conceded

that he possessed the requisite scienter. Id. at 1100. The Supreme Court, based on the “natural

meaning” of the provisions, found that the dissemination of false statements “directly to

investors” with the intent to defraud could sustain a claim under the subsections (a) and (c) of

Rule 10b–5. Id. at 1101. In reaching its decision, the Court rejected the view that only

subsection (b) of Rule 10b–5 regulates conduct involving false or misleading statements and

noted that there is “considerable overlap among the subsections of the Rule.” Id. at 1102.




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  The U.S. Court of Appeals of the District of Columbia Circuit found that Lorenzo’s boss was
the “maker” of the statements, and the Supreme Court noted that they took the case “on the
assumption that Lorenzo was not a ‘maker’ under subsection (b) of Rule 10b–5.” Lorenzo, 139
S. Ct. at 1100.


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        The scope of Lorenzo was recently clarified by the Second Circuit in In Rio Tinto plc, in

which the Court was asked to address on interlocutory appeal whether its decision in Lentell v.

Merrill Lynch & Co., 396 F.3d 161, 177 (2d Cir. 2005), which held that “misstatements and

omissions—without more—” cannot form the basis for scheme liability, had been abrogated by

Lorenzo. Rio Tinto plc, 41 F.4th at 49. The Second Circuit concluded that Lorenzo had not

abrogated Lentell, stating that “misstatements or omissions were not the sole basis for scheme

liability in Lorenzo” and “[t]he dissemination of those misstatements was key.” Id. at 53.

Accordingly, the Second Circuit found that the Supreme Court’s decision in Lorenzo was

consistent with its decision in Lentell, and therefore Lentell’s holding that “misstatements and

omissions cannot form the ‘sole basis’ for liability under the scheme subsections” remains valid.

Id.

        The Second Circuit explicitly left open the question what “extra” facts—beyond the

knowing dissemination to the public of a false statement made by another in Lorenzo—would be

sufficient to state a claim for scheme liability. Id. at 54. The court stated: “Whether there are

ramifications or inferences from Lorenzo that blur the distinctions between the misstatement

subsections and the scheme subsections is a matter that awaits further development.” Id. at 53–

54. The court thus raised but did not answer the question “whether corruption of an auditing

process” or “allegations that a corporate officer concealed information from auditors” is

sufficient for scheme liability. Id. at 54. The Second Circuit concluded that “[f]or now, Lentell

tells us that misstatements and omissions alone are not enough for scheme liability, and Lorenzo

tells us that dissemination is one example of something extra that makes a violation a scheme.”

Id.




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       Some guidance regarding the type of “extra” facts that would be necessary to convert a

misstatement case into a scheme case, however, can be gleaned from Lorenzo itself and the

Second Circuit’s decision in Rio Tinto plc, as well as from the Supreme Court’s opinion in

Stoneridge and the opinions of other courts laying out—prior to Lorenzo—the facts that would be

necessary to plead a scheme case. First, it seems clear from Lorenzo and from Rio Tinto plc that

the creation of a false statement that is then disseminated by another who is the “maker” is not

sufficient to create scheme liability. Where the only fraudulent conduct that is alleged is the

making of a false statement to the investing public, a defendant in a private civil action is either

liable as a maker under Rule 10b–5(b) or is not liable to investors at all. In Lorenzo itself, the

Supreme Court specifically addressed whether “applying subsections (a) or (c) of Rule 10b–5 to

conduct like [Lorenzo’s] would render our decision in Janus . . . ‘a dead letter,’” and concluded

that it would not. Id. The Court reaffirmed Janus’s holding that “subsection (b) did not (under

the circumstances) cover an investment adviser who helped draft misstatements issued by a

different entity that controlled the statements’ content,” distinguishing it on the basis that Janus

said “nothing about the Rule’s application to the dissemination of false or misleading

information.” Id. The Court further “assume[d] that Janus would remain relevant (and preclude

liability) where an individual neither makes nor disseminates false information—provided, of

course, that the individual is not involved in some other form of fraud.” Id. (emphasis added).

       The Second Circuit’s discussion in Rio Tinto plc also signals that a plaintiff cannot use

“scheme” allegations under Rules 10b–5(a) and (c) to circumvent the rule of Janus that a person

who drafts a misstatement that is disseminated to the public by another who has ultimate

authority is not liable under Section 10(b). The court made clear that subsections (a) and (b) of

Rule 10b–5 should not be interpreted in a manner that would render Rule 10b–5(b) surplusage




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and that would permit private plaintiffs to repackage any Rule 10b–5(b) claims as Rule 10b–5(a)

or (c) claims and thus avoid the heightened pleading standard in cases involving private

plaintiffs. Rio Tinto plc, 41 F.4th at 54–55; see also In re Alstom SA, 406 F. Supp. 2d at 475.

The Second Circuit also stated that the scope of Rule 10b–5(a) and (c) must be interpreted so as

not to “muddle primary and secondary liability.” Id. at 55. “[A]iding and abetting liability is

authorized in actions brought by the SEC but not by private parties.” Id.; see Cent. Bank of

Denver, 511 U.S. at 180. To respect this congressional decision not to extend aider and abettor

liability to private actions, the Second Circuit stated that scheme liability should be interpreted

“only ‘to state a claim against a defendant for the underlying deceptive devices or frauds

themselves, and not as a shortcut to circumvent Central Bank’s limitations on liability for a

secondary actor’s involvement in making misleading statements.’” Id. at 55 (quoting SEC v.

Lucent Techs., Inc., 610 F. Supp.2d 342, 361 (D.N.J. 2009)). Finally, the Second Court implied

that scheme liability should not be read so broadly that it would undermine the continued vitality

of Janus’s holding regarding who is the “maker” of a misstatement. Id. at 54. The Second

Circuit noted that: “While Lorenzo ‘may have carved out of Janus’ liability for disseminating

false statements, it did not go so far as to create primary liability for ‘participation in the

preparation’ of misstatements.” Rio Tinto plc, 41 F.4th at 54 (quoting Geoffrey A. Orley

Revocable Tr. v. Genovese, 2020 WL 611506, at *7–8 (S.D.N.Y. Feb. 7, 2020)).

        Second, although the creation of a false statement that is then disseminated by another

who is the “maker” is not sufficient to create scheme liability, it is equally clear that scheme

liability is not limited to those who disseminate to investors false or misleading statements that

they have not made; scheme liability is not limited to those facts. As much is made clear by

Lorenzo and the Supreme Court’s earlier decision in Stoneridge. In Lorenzo, the Supreme Court




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held that the capacious words and “expansive language” of “device,” “scheme” and “artifice”

“capture a wide range of conduct.” 139 S. Ct. at 1101–02. A “device” is that which is formed

by design, a “scheme” is a project or plan or program of something to be done, and an “artifice”

is an artful stratagem or trick. Id. at 1101 (internal quotation marks and citations omitted). The

conduct alleged in Lorenzo was not “borderline” but heartland, but it did not exhaust the reach of

the statute.

        Some of the type of conduct that can be reached by scheme allegations, even if the

conduct also involves a misstatement, is described by Stoneridge and its progeny. In Stoneridge,

the Court considered first whether two companies that generated sham agreements (respondents

in the Supreme Court) that a third company (Charter Communications) then used to make false

statements to its investors but who did not make the false statements themselves could be liable

under Section 10(b) and Rule 10b–5, and then second whether plaintiffs had alleged reliance

sufficient to make the two companies liable in a private action. Although the Court held that the

plaintiffs had not alleged reliance—because the sham contracts made it neither necessary nor

inevitable that Charter Communications would mislead its investors, the Court also left no doubt

that the two companies could be subject to liability for a scheme violation in an enforcement

action by the SEC. The Court stated that “it would be erroneous” “to suggest there must be a

specific oral or written statement before there could be liability under § 10(b) or Rule 10b–5.”

552 U.S. at 158. It explained “that if business operations are used, as alleged here, to affect

securities markets, the SEC enforcement power may reach the culpable actors.” Id. at 161. It

added that the “enforcement power is not toothless.” Id. at 166. It thus concluded that

“[c]onduct itself can be deceptive,” rejected the interpretation that manipulation should be




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limited to manipulative trading practices, and held that respondents’ “course of conduct included

both oral and written statements, such as the backdated contracts.” Id. at 158.

       The parameters of scheme liability are further elucidated by the Eighth Circuit’s decision

in West Virginia Pipe Trades Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384 (8th Cir.

2016), Judge Kaplan’s decision in In re Parmalat Securities Litigation, 376 F. Supp. 2d 472, 504

(S.D.N.Y. 2005), and the decision in In re Lernout & Hauspie Securities Litigation, 236 F. Supp.

2d 161 (D. Mass. 2003), among other cases. In Medtronic, Inc., the Eighth Circuit held that

scheme liability claims could be asserted against Medtronic where it paid physicians (but did not

disclose such payments) to publish false statements in medical journals. 845 F.3d at 393. The

Eighth Circuit noted that “Appellants allege conduct beyond mere misrepresentations or

omissions actionable under Rule 10b–5(b)” as “the act of paying physicians to induce their

complicity is the allegation at the heart of the scheme liability claim” and “[p]aying someone

else to make a misrepresentation is not itself a misrepresentation.” Id. Similarly, in In re

Parmalat Securities Litigation, the court found that defendants were liable for engaging in

deceptive transactions (involving the regular factoring and securitization of worthless invoices)

with Parmalat which, in turn, allowed Parmalat to publish misleading financial statements. 376

F. Supp. 2d at 504. Judge Kaplan stated: “[t]he transactions in which the defendants engaged

were by nature deceptive. They depended on a fiction, namely that the invoices had value.” Id.

And in In re Lernout & Hauspie Securities Litigation, the court held that allegations that an

issuer’s business partners had created shell companies, knowing that the issuer would enter into

fraudulent licensing agreements with them in order to inflate its financial results, stated a claim

for scheme liability. 236 F. Supp. 2d at 173. The court concluded that the creation or financing




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of sham entities was a “manipulative or deceptive device . . . intended to mislead investors” apart

from the material misstatement. Id.

       The Court need not lay out the precise metes and bounds of “scheme” liability to resolve

this case. The Supreme Court in Lorenzo directed that the precise outline for scheme liability

would have to await a form of common law development informed by “[p]urpose, precedent, and

circumstance,” 139 S. Ct. at 1101, and the Second Circuit in Rio Tinto plc held the “ramifications

or inferences from Lorenzo” should be the subject of “further development,” 41 F.4th at 53–54.

Both caution against the attempt to elaborate a bright-line test applicable to all facts in all cases

in the future. It is clear in this case that Plaintiffs have not alleged enough for scheme liability.

       As an initial point, Plaintiffs cannot establish the Rio Defendants’ scheme liability solely

on the basis of Turquoise Hill’s misstatements or omissions in light of Rio Tinto plc. Instead,

Plaintiffs must allege “something extra” in order to bring a scheme liability claim against the Rio

Defendants. Id. at 54; see also Puddu v. 6D Glob. Techs., Inc., 2021 WL 1198566, at *11

(S.D.N.Y. Mar. 30, 2021) (Nathan, J.) (“A claim brought under subsection (c) would have to

establish different elements than one brought under subsection (b), including, notably, the

existence of an alleged scheme to defraud.”). Plaintiffs argue that this “something extra” comes

from five sources: (1) the Rio Defendants’ dissemination of false information through Turquoise

Hill; (2) Rio Defendants’ retaliation against employees and consultants who tried to make

Defendants acknowledge the truth about cost overruns and schedule delays; (3) Rio Defendants’

commission of a sham internal investigation by Baker McKenzie that purported to rebut

Bowley’s allegations; (4) Rio Defendants’ concealment and destruction of evidence of their

misconduct, including by destroying documents and instructing employees not to document




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important information; and (5) Rio Defendants’ use of nondisclosure agreements to try to

conceal the truth about the delays and cost overruns.33 Dkt. No. 127 ¶ 451; Dkt. No. 140 at 2.

       As to the first source, while Plaintiffs use the term “dissemination” to describe the Rio

Defendants’ conduct, the Rio Defendants’ conduct with respect to Turquoise Hill’s statements is

distinct from the type of “dissemination” alleged in Lorenzo. In Lorenzo, the defendant was

alleged to have directly transmitted the false statements to prospective investors, 139 S. Ct. at

1104; here, on the other hand, the Complaint does not allege that anyone but Turquoise Hill itself

published or distributed its own allegedly false and misleading statements. That distinction is

dispositive. The Rio Defendants’ alleged conduct therefore is nearly identical to the conduct

Janus stated would not make someone liable for a misstatement or omission under Rule 10b–

5(b): the Rio Defendants, like the nonliable “speechwriter” or “playwright” in Janus, are alleged

to have drafted the statement that Turquoise Hill, a legally separate entity (see supra Section II)

with ultimate authority over the statement, decided to publish to its investors. 564 U.S. at 145,

148. Plaintiffs’ theory that this alone is sufficient for scheme liability would “muddle primary

and secondary liability” and permit scheme liability to be used “as a shortcut to circumvent

Central Bank’s limitations on liability for a secondary actor’s involvement in making misleading

statements.” Rio Tinto plc, 41 F.4th at 55.




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  At oral argument, Plaintiffs’ counsel also appeared to argue that Defendants’ settlement with
Bowley related to his wrongful discharge case—which resulted in his witness statement and
other evidence in the case not becoming publicly available—could constitute the “something
extra” for scheme liability. Transcript of Oral Argument (Aug. 25, 2022) at 72:20–73:1. This
settlement, however, did not occur until after March 16, 2020, almost a year after the end of the
Class Period. Dkt. No. 127 ¶ 284. It is therefore unclear how this allegation could constitute
part of the scheme, or how Plaintiffs could allege that they acted in reliance on it. Regardless,
Plaintiffs do not assert this allegation as a basis for their scheme liability claims in the
Complaint, and therefore the Court declines to consider it. Dkt. No. ¶ 451.


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         Plaintiffs’ allegations do not establish any other “underlying deceptive devices or frauds.”

Id. The Rio Defendants’ dissemination of false information through Turquoise Hill, while

deceptive by nature, is indistinguishable from Turquoise Hill’s alleged misstatement. It would

“create primary liability for ‘participation in the preparation’ of misstatements.” Id. at 54

(quoting Genovese, 2020 WL 611506, at *7–8). Plaintiffs do not allege that the Rio Defendants

tricked Turquoise Hill into publishing the information or paid Turquoise Hill to do so. Instead,

Plaintiffs argue that the Rio Defendants provided the false statement to Turquoise Hill, who then

decided to publish it. The deceptive act is the false statement itself.

         The remaining allegations are insufficient to carry Plaintiffs over the line. Plaintiffs

allege that the contract pursuant to which Bowley was retained to consult with Rio Tinto

contained a confidentiality obligation. Dkt. No. 127 ¶ 262. But it appears that contract was

signed before Bowley began his work and in order for him to have access to the confidential

information from which he generated his reports; if anything, the allegations support that the

purpose of the agreement was for Bowley to help uncover the truth about the delays and cost

overruns and therefore was not signed in furtherance of the alleged fraud. Id. ¶¶ 116–117

(alleging that Bowley reported his concerns after he was hired). Nor do Plaintiffs allege there

was anything deceptive in Rio Tinto asking Bowley to honor that agreement. Plaintiffs simply

allege that Bowley, in connection with an employment dispute, stated that he was “sidelined but

was not released from my contract and the confidentiality obligations that went with it.” Id. ¶

262.

         Plaintiffs also allege that Defendants “retaliated against employees and consultants who

tried to make Defendants acknowledge the truth about the cost overruns and schedule delays” at

OT, id. ¶ 451, but the paragraphs of the Complaint that they cite to for that proposition establish




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only that Rio fired Brinkmann, the senior-most manager of Shaft 2, in or around May 2018 after

work was delayed on Shaft 2 and the “proverbial shit hit the fan,” id. ¶¶ 153–157, and at that

same time terminated the employment of the surface construction manager at the OT project,

after he raised issues with respect to the contractors working on the project, id. ¶¶ 157–159. But

those allegations cannot convert this misstatement case into a scheme case. Although

Brinkmann may have believed that he was being made a scapegoat for Jacobs’s poor

performance, id. ¶ 153, and FE8 may have believed that he was being “thrown under the bus

[for] trying to tell them we should try to sort these things out,” id. ¶ 159, there is no allegation

that either was terminated to prevent them from making a public statement or that there was

anything deceptive or fraudulent in Rio’s conduct. Plaintiffs do not allege that such acts helped

create the appearance that something was different than it was. It would be a rare fraudulent

misstatement case indeed where the “bad news” is sufficiently serious for management to make

public misstatements but where some employees were not fired, reassigned, or subject to

criticism. Plaintiffs’ theory, if accepted, would make virtually every misstatement case into a

scheme case.

       Finally, Plaintiffs allege that Defendants “commissioned a sham internal investigation by

Baker McKenzie” and sought to secure the destruction of documents possessed by Duffy and

instructed employees not to document important information. Id. ¶ 451. The underlying

allegations are remarkably thin. Baker McKenzie’s report allegedly excluded information

learned by Duffy and sought to destroy data his firm had collected from Rio Tinto executives.

Id. ¶¶ 287–288. But if Rio was seeking to engage in a scheme to defraud, why did it hire Baker

McKenzie in the first place and how does an internal investigation reporting to the very persons

allegedly engaged in the fraud constitute an “underlying deceptive device or fraud”? As to the




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allegations regarding destruction of documents and the not documenting of information,

Plaintiffs point to paragraphs 287 and 288, but those paragraphs report that after there was a

nighttime break-in at Duffy’s home in England that investigators believed was an attempt to steal

data and, after the break-in, Rio Tinto’s in-house lawyers demanded that an unspecified data

management company “be allowed to access and collect the reports Duffy’s firm had

documented.” Id. ¶ 288. The request to collect confidential information when a company

believes that it might have been stolen is unexceptional. And there is nothing but speculation

and innuendo behind Plaintiffs’ suggestion that Rio was somehow behind the night-time break-

in.

        These facts are therefore distinct from other cases in which courts have found that

plaintiff successfully stated a claim for scheme liability because the defendants performed an

inherently deceptive act that was distinct from an alleged misstatement: i.e., sham agreements,

sham transactions, sham companies, or undisclosed payments to doctors who appeared

independent. See also Sec. & Exch. Comm'n v. GPL Ventures LLC, 2022 WL 158885, at *10

(S.D.N.Y. Jan. 18, 2022) (finding scheme liability adequately pled where defendants “were the

puppetmasters of a scheme to launder their investments for profit”).

        Moreover, even if Plaintiffs had adequately alleged a scheme based on the other conduct

(e.g., retaliating against whistleblowers, destroying evidence), the claim would fail for lack of

reliance. The Supreme Court held in Stoneridge, “[r]eliance by the plaintiff upon the defendant’s

deceptive acts is an essential element of the § 10(b) private cause of action,” including one

premised on scheme liability, as it ensures that “for liability to arise, the ‘requisite causal

connection between a defendant’s misrepresentation and a plaintiff’s injury’ exists.” 552 U.S. at

159; Pac. Inv. Mgmt. Co. LLC v. Mayer Brown LLP, 603 F.3d 144, 156 (2d Cir. 2010)




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(“Stoneridge stands for the proposition that reliance is the critical element in private actions

under Rule 10b–5.”). In Stoneridge, the Court held that scheme liability claims against two

defendants who were suppliers and customers of a company and who entered into agreements

with the company that helped the company mislead its auditor and issue misleading financial

statements were properly dismissed because even if they alleged a scheme, they did not allege

reliance. 552 U.S. at 152–54. The Court stated that “[n]o member of the investing public had

knowledge, either actual or presumed, of respondents’ deceptive acts during the relevant times,”

and “[p]etitioner, as a result, cannot show reliance upon any of respondents’ actions except in an

indirect chain that we find too remote for liability.” Id. at 159. The Court rejected plaintiff’s

argument that liability was appropriate because “the financial statement Charter released to the

public was a natural and expected consequence of respondents’ deceptive acts; had respondents

not assisted Charter, Charter’s auditor would not have been fooled, and the financial statement

would have been a more accurate reflection of Charter’s financial condition.” Id. at 160. It

noted that “[i]t was Charter, not respondents, that misled its auditor and filed fraudulent financial

statements; nothing respondents did made it necessary or inevitable for Charter to record the

transactions as it did.” Id. at 161.

        Under Stoneridge then, claims under subsections (a) and (c) of Rule 10b–5(a) are

properly dismissed for lack of reliance where the undisclosed deceptive or manipulative conduct

did not make it “necessary or evitable” that the false statement (upon which Plaintiffs relied)

would be made. See, e.g., Menaldi, 277 F. Supp. 3d at 518–19; In re Adelphia Commc’ns Corp.

Sec. & Derivative Litig., 2009 WL 1686896, at *4 (S.D.N.Y. June 16, 2009). For example, in

Mayer Brown LLP, the Second Circuit affirmed the district court’s holding that the law firm

defendants could not be liable for scheme liability based on allegations that they had participated




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in drafting the documents to create the fraudulent transactions. 603 F.3d at 160. Quoting the

district court, the Second Circuit stated that: “[a]s was the case in Stoneridge, it was Refco, not

the Mayer Brown Defendants, that filed fraudulent financial statements; nothing the Mayer

Brown Defendants did made it necessary or inevitable for Refco to record the transactions as it

did.” Id. (quoting In re Refco, Inc. Sec. Litig., 609 F. Supp. 2d 304, 316 (S.D.N.Y. 2009)).

       Plaintiffs do not allege that any product of Rio’s retaliation against whistleblowers,

commission of an internal investigation, concealment and destruction of evidence, and use of

nondisclosure agreements was made known to or relied upon by investors outside of its

tangential relationship to Turquoise Hill’s false statements. And while some of this conduct may

have made it easier for Turquoise Hill to continue making misrepresentations, none of it can be

said to have made such misstatements “necessary or inevitable.” See Menaldi, 277 F. Supp. 3d

at 519 (“[T]he New Complaint does not adequately allege that Plaintiffs relied on Cohen’s

alleged cover-up.”).

       Therefore, Plaintiffs’ scheme liability claims against the Rio Defendants must be

dismissed.

       B.      Turquoise Hill

       Plaintiffs allege that the Turquoise Defendants are liable under SEC Rule 10b–5(a) and

(c) for disseminating the purportedly false statements made by Rio and RTIH. Dkt. No. 127

¶ 451. As discussed supra Section IV.A, Plaintiffs have not sufficiently pled scienter with

respect to the Turquoise Defendants. See Menaldi, 277 F. Supp. 3d at 517 (“[T]o state a scheme

liability claim, a plaintiff must plead facts demonstrating ‘a strong inference that the defendant

acted with the required state of mind.’” (citation omitted)). Plaintiffs’ scheme liability claims

against the Turquoise Defendants therefore fail on this basis.




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VI.      Control Person Claims Under Section 20(a)

         Plaintiffs also bring claims of control person liability under Section 20(a) of the

Exchange Act against the Turquoise Executive Defendants, Rio Tinto, as well as the Rio

Executive Defendants, alleging that each was a controlling person of Turquoise Hill within the

meaning of Section 20(a) of the Exchange Act. Dkt. No. 127 ¶¶ 455–468.

         Section 20(a) provides:

         Every person who, directly or indirectly, controls any person liable under any
         provision of [the Exchange Act] or of any rule or regulation thereunder shall also
         be liable jointly and severally with and to the same extent as such controlled person
         to any person whom such controlled person is liable, unless the controlling person
         acted in good faith and did not directly or indirectly induce the act or acts
         constituting the violation or cause of action.

15 U.S.C. § 78t(a). The section permits plaintiffs to hold the controller secondarily liable if the

person controlled has committed a primary violation. “To establish a prima facie case of control

person liability, a plaintiff must show (1) a primary violation by the controlled person, (2)

control of the primary violator by the defendant, and (3) that the defendant was, in some

meaningful sense, a culpable participant in the controlled person’s fraud.” Kraft v. Third Coast

Mistream, 2021 WL 860987, at *26 (S.D.N.Y. Mar. 8, 2021) (quoting ATSI Commc’ns, Inc. v.

Shaar Fund, Ltd., 493 F.3d 87, 108 (2d Cir. 2007)). “Because fraud is not an essential element

of a Section 20(a) claim, Plaintiffs need not plead control in accordance with the particularity

required under Rule 9(b).” Tecku v. Yieldstreet, Inc., 2022 WL 1322231, at *15 (S.D.N.Y. May

3, 2022); see In re Virtus Inv. Partners, Inc. Sec. Litig., 195 F. Supp. 3d 528, 542 (S.D.N.Y.

2016).

         Section 20(a) thus does not permit a parent always to avoid responsibility for its

subsidiary’s wrongdoing. “In cases involving parent-subsidiary relationships, courts have

regularly based findings of control person liability on allegations of substantial stock ownership



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and common principals.” STMicroelectronics v. Credit Suisse Grp., 775 F. Supp. 2d 525, 536

(E.D.N.Y. 2011) (quoting Kalin v. Xanboo, Inc., 526 F. Supp. 2d 392, 406 (S.D.N.Y. 2007)). If

the controller has the “power to direct or cause the direction of management and policies through

ownership of voting securities, by contract, or in any other way,” and if the controller has “actual

control over the transaction in question,” the controller may be liable for the subsidiary’s primary

violation assuming culpable participation. In re Alstom SA, 406 F. Supp. 2d at 487 (“[T]he

Section 20(a) defendant must not only have actual control over the primary violator, but have

‘actual control over the transaction in question.’” (quoting In re Global Crossing, 2005 WL

1875445, at *3))

       It is admittedly a close question whether Plaintiffs’ allegations satisfy the second prong

of the test for control person liability. The Complaint alleges that Rio Tinto has a majority

interest in Turquoise Hill and, according to the allegations in the Complaint, has control over the

election of all members of Turquoise Hill’s Board of Directors and the election and appointment

of Turquoise Hill’s executive officers, all but one of whom have been employees of Rio Tinto.

Dkt. No. 127 ¶ 39. At the same time, however, Rio Tinto’s contract with Turquoise Hill makes

clear that Turquoise Hill had the power and the responsibility to reject any statements that Rio

Tinto asked it to make if Turquoise Hill believed those statements to be false or misleading.

The Court need not reach the question, however, whether Plaintiffs have satisfied prong two,

because they have failed prong one. Plaintiffs fail to allege a primary violation by Turquoise

Hill. Plaintiff thus cannot establish control person liability against the Turquoise Executive

Defendants, the Rio Executive Defendants, RTIH, or Rio for Turquoise Hill’s misstatements.

See ATSI Commc’ns, Inc., 493 F.3d at 108; In re Alstom SA, 406 F. Supp. 2d at 486.




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         Plaintiffs also allege that the Rio Executive Defendants were controlling persons of Rio

and RTIH within the meaning of Section 20(a) of the Exchange Act. Dkt. No. 127 ¶¶ 461–463.

The Rio Defendants only move to dismiss this claim on the basis that “[b]ecause Plaintiffs have

failed to plead [an underlying violation by Rio and RTIH], the Section 20(a) claim should also be

dismissed.” Dkt. No. 131 at 47. Although Plaintiffs have failed to plead an underlying violation

by RTIH,34 they have successfully pled an underlying violation of Rule 10b–5(b) by Rio. Thus,

while claims under Section 20(a) related to the Rio Executive Defendants’ control over RTIH

will be dismissed for this reason, see ATSI Commc’ns, Inc., 493 F.3d at 108; In re Alstom SA,

406 F. Supp. 2d at 486, Plaintiffs’ Section 20(a) claims against the Rio Executive Defendants

related to their control over Rio will not.

VII.     Loss Causation

         The Rio Defendants also move to dismiss Plaintiffs’ claims on the basis that Plaintiffs do

not adequately allege loss causation. Dkt. No. 131 at 45. Under the PSLRA, “the plaintiff [has]

the burden of proving that the act or omission of the defendant alleged . . . caused the loss for

which the plaintiff seeks to recover damages.” 15 U.S.C.A. § 78u-4. “To establish loss

causation, Plaintiffs must show that ‘the subject of the fraudulent statement or omission was the

cause of the actual loss suffered.’” Abramson v. Newlink Genetics Corp., 965 F.3d 165, 179 (2d

Cir. 2020) (quoting In re Vivendi, S.A. Securities Litigation, 838 F.3d at 261). “Plaintiffs must

allege not only the but-for causation of their losses but also the proximate causation, or that the

fraud ‘concealed something from the market that, when disclosed,’ would foreseeably and

‘negatively affect[ ] the value of the security.’” Id. (quoting Lentell., 396 F.3d at 173). To meet

this standard, “a plaintiff can allege either (1) ‘the existence of a cause-in-fact on the ground that


34
  As discussed supra footnote 6, RTIH is not the “maker” of Turquoise Hill’s statements and
Plaintiffs do not plead that RTIH made any statements of its own.


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the market reacted negatively to a corrective disclosure of the fraud’ or (2) ‘that the loss was

foreseeable and caused by the materialization of the risk concealed by the fraudulent statement.’”

Aclaris Therapeutics, Inc., 2021 WL 1177505, at *25 (quoting Carpenters Pension Tr. Fund of

St. Louis v. Barclays PLC, 750 F.3d 227, 233–34 (2d Cir. 2014)).

       Plaintiffs adequately allege loss causation through evidence that the market reacted

negatively to corrective disclosures of the alleged fraud. The SAC alleges that the Turquoise

Hill’s stock price dropped in a statistically significant manner when the prior misrepresentations

and risks concealed by Defendants’ fraudulent conduct were disclosed to the market. Dkt. No.

127 ¶ 425. On February 27, 2019, when the Defendants first disclosed that sustainable first

production would be delayed by several months, Turquoise Hill’s shares dropped nearly 13%

that day and again by nearly 7% on the following day. Id. ¶¶ 426–427. Plaintiffs allege that

additional information concerning the true extent of the delays and cost-overruns at OT were

revealed in April, May, and June and caused further declines in the price of Turquoise Hill

shares. For example, the SAC alleges that on July 16, 2019, Defendants revealed what they had

long known, which was that the underground expansion would be delayed for over a year and

was over a billion dollars over-budget. Id. ¶¶ 242–245. These disclosures prompted a near 44%

price decline and caused analysts to slash their ratings. Id. Such allegations are sufficient to

plausibly allege that these stock drops were the result, in part, of Defendants’ disclosures about

the true extent of delays and cost overruns at the Mine. See, e.g., DoubleLine, 323 F. Supp. 3d at

458; see also In re Barrick Gold Corp. Sec. Litig., 341 F. Supp. 3d at 380 (describing the burden

of pleading loss causation as “a low one at the pleading stage”); Gross v. GFI Grp., Inc., 162 F.

Supp. 3d 263, 269 (S.D.N.Y. 2016) (burden to plead loss causation is “not a heavy one,” and

“when it is unclear whether the plaintiff’s losses were caused by the fraud or some other




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intervening event, ‘the chain of causation is . . . not to be decided on a Rule 12(b)(6) motion to

dismiss’” (quoting Loreley Financing (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC, 797 F.3d

160, 187 (2d Cir. 2015))).

       In response, the Rio Defendants contend that Plaintiffs fail to adequately plead loss

causation because the risks they allege “materialized” had been disclosed to the market. Dkt.

No. 131 at 46. But Plaintiffs allege that Defendants “concealed far more than the possibility” of

delay and cost overruns, they allege that Defendants concealed that the delays and cost overruns

were no longer a risk but a near certainty, of which Defendants were aware even prior to the

Class Period. See Aclaris Therapeutics, Inc., 2021 WL 1177505, at *26 (finding loss causation

adequately plead because, while the fact that “ESKATA might not be commercialized

successfully was extensively disclosed before the Class Period,” “[d]efendants here have also

concealed ‘far more’ than the possibility that ESKATA would not be commercially viable—it

concealed the truth about its misleading advertising”); see In re Braskem S.A. Securities

Litigation, 246 F. Supp. 3d 731 (S.D.N.Y. 2017) (rejecting defendant’s claim that the complaint

failed to plead loss causation because it did not plead the defendant concealed the relevant risk).

       The Rio Defendants also contend that the disclosure of a failure to meet a forecasted

schedule and budget alone cannot establish loss causation, as while revisions of budgets and

schedules may have a negative on stock prices, they do not imply that defendants concealed a

scheme. Dkt. No. 131 at 46–47 (citing In re Initial Pub. Offering Sec. Litig., 399 F. Supp. 2d

261 (S.D.N.Y. 2005)). This argument, however, mischaracterizes Plaintiffs’ allegations.

Plaintiffs do not allege that the failure to meet forecasts alone establishes a scheme; instead, they




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allege that Defendants knew all along that they would not meet these forecasts and yet continued

to publicly affirm their validity to investors.35

                                           CONCLUSION

        The Rio Defendants’ motion to dismiss is GRANTED in part and DENIED in part as to

Defendants Rio Tinto, Soirat, and Jacques. The Rio Defendants’ motion to dismiss is

GRANTED as to Defendant RTIH. The Turquoise Defendants’ motion to dismiss is

GRANTED.

        The Clerk of Court is respectfully directed to close Dkt. Nos. 129 and 132.


        SO ORDERED.


Dated: September 2, 2022                              __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




35
  The case Defendants cite in support of this argument is distinguishable. In In re Initial Public
Offering Securities Litigation, the court found that plaintiffs had not adequately alleged that the
scheme was ever disclosed to the market and thus did not sufficiently allege loss causation. 399
F. Supp. 2d at 266.


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